22-2908 (L); 22-2933; 22-2987; 22-3237
Antonyuk; Hardaway; Christian; Spencer v. Chiumento

                       UNITED STATES COURT OF APPEALS
                            FOR THE SECOND CIRCUIT
                              ____________________

                                    August Term, 2022

             Argued: March 20, 2023                Decided: December 8, 2023

         Docket Nos. 22-2908 (L), 22-2972 (Con); 22-2933; 22-2987; 22-3237
                             ____________________

    IVAN ANTONYUK, COREY JOHNSON, ALFRED TERRILLE, JOSEPH MANN, LESLIE
                       LEMAN, LAWRENCE SLOANE,

                                                Plaintiffs-Appellees,

                                              v.

DOMINICK L. CHIUMENTO, in his official capacity as the Acting Superintendent of
   the New York State Police, MATTHEW J. DORAN, in his official capacity as the
Licensing Official of Onondaga County, JOSEPH CECILE, in his Official Capacity as
                         the Chief of Police of Syracuse,

                                                Defendants-Appellants,

 KATHLEEN HOCHUL, in her official capacity as the Governor of the State of New
  York, WILLIAM FITZPATRICK, in his official capacity as the Onondaga County
   District Attorney, EUGENE CONWAY, in his official capacity as the Sheriff of
    Onondaga County, P. DAVID SOARES, in his official capacity as the District
   Attorney of Albany County, GREGORY OAKES, in his official capacity as the
 District Attorney of Oswego County, DON HILTON, in his official capacity as the
   Sheriff of Oswego County, JOSEPH STANZIONE, in his official capacity as the
                       District Attorney of Greene County,

                                                Defendants.
                            ____________________

   JIMMIE HARDAWAY, JR., LARRY A. BOYD, FIREARMS POLICY COALITION, INC.,
                SECOND AMENDMENT FOUNDATION, INC.,

                                        Plaintiffs-Appellees,

                                       v.

DOMINICK L. CHIUMENTO, in his official capacity as the Acting Superintendent of
                        the New York State Police,

                                        Defendant-Appellant,

BRIAN D. SEAMAN, in his official capacity as the District Attorney for the County
  of Niagara, New York, JOHN J. FLYNN, in his official capacity as the District
                Attorney for the County of Erie, New York,

                                      Defendants-Appellees.
                            ____________________

   BRETT CHRISTIAN, FIREARMS POLICY COALITION, INC., SECOND AMENDMENT
                            FOUNDATION, INC.,

                                        Plaintiffs-Appellees,

                                 JOHN BROWN,

                                        Plaintiff,

                                       v.

DOMINICK L. CHIUMENTO, in his official capacity as the Acting Superintendent of
                        the New York State Police,

                                        Defendants-Appellants,


                                       2
JOHN J. FLYNN, in his official capacity as District Attorney for the County of Erie,
                                     New York,

                                            Defendant-Appellee.
                                  ____________________

             MICHEAL SPENCER, HIS TABERNACLE FAMILY CHURCH, INC.,

                                               Plaintiffs-Appellees,

                                              v.

DOMINICK L. CHIUMENTO, Acting Superintendent of the New York State Police, in
    his official capacity, and STEVEN A. NIGRELLI in his individual capacity,

                                               Defendants-Appellants,

WEEDEN A. WETMORE, District Attorney for the County of Chemung, New York,
   in his official and individual capacities, MATTHEW VAN HOUTEN, District
Attorney for the County of Tompkins, New York, in his official and individual
                                    capacities,

                                            Defendants. *
                                  ____________________

                    Before: JACOBS, LYNCH, and LEE, Circuit Judges.
                                  ____________________

      In these four cases, heard and now decided in tandem, Plaintiffs raise First
and Second Amendment challenges to many provisions of New York’s laws

       *The Clerk of Court is respectfully directed to amend the caption to conform to the
above. Steven A. Nigrelli, formerly Superintendent of the New York State Police, was sued in his
oﬃcial capacity. By operation of Federal Rule of Appellate Procedure 43(c)(2), Dominic L.
Chiumento was automatically substituted upon assuming the oﬃce of Acting Superintendent of
the New York State Police on October 5, 2023, following Nigrelli’s retirement.

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regulating the public carriage of firearms. In Antonyuk, the U.S. District Court for
the Northern District of New York (Suddaby, J.) enjoined enforcement of more
than a dozen such provisions. In Hardaway, Christian, and Spencer, the U.S.
District Court for the Western District of New York (Sinatra, J.) separately
enjoined a subset of the laws previously enjoined in Antonyuk, though based on
slightly different reasoning. We stayed the various injunctions pending appeal,
expedited the appeals, and in light of the substantial overlap among the cases,
heard argument in tandem on March 20, 2023.
       We now AFFIRM the injunctions in part, VACATE in part, and REMAND
for proceedings consistent with this opinion. In summary, we uphold the district
court’s injunctions with respect to N.Y. Penal L. § 400.00(1)(o)(iv) (social media
disclosure); N.Y. Penal L. § 265.01-d (restricted locations) as applied to private
property held open to the general public; and N.Y. Penal L. § 265.01-e(2)(c) as
applied to Pastor Spencer, the Tabernacle Family Church, its members, or their
agents and licensees. We vacate the injunctions in all other respects, having
concluded either that the district court lacked jurisdiction or that the challenged
laws do not violate the Constitution on their face.
                               ____________________

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DENNIS JACOBS, GERARD E. LYNCH, AND EUNICE C. LEE, Circuit Judges:

      In these four cases, heard and now decided in tandem, Plaintiffs raise First

and Second Amendment challenges to many provisions of New York’s laws

regulating the public carriage of firearms. In Antonyuk, the U.S. District Court for

the Northern District of New York (Suddaby, J.) enjoined enforcement of more

than a dozen such provisions. In Hardaway, Christian, and Spencer, the U.S.

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for proceedings consistent with this opinion. In summary, we uphold the district

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disclosure); N.Y. Penal L. § 265.01-d (restricted locations) as applied to private

property held open to the general public; and N.Y. Penal L. § 265.01-e(2)(c) as

applied to Pastor Spencer, the Tabernacle Family Church, its members, or their

agents and licensees. We vacate the injunctions in all other respects, having



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concluded either that the district court lacked jurisdiction or that the challenged

laws do not violate the Constitution on their face.

                                     BACKGROUND

       Plaintiﬀs are several individuals, one church, and two advocacy groups.

They raise numerous challenges to provisions of New York’s Concealed Carry

Improvement Act (“CCIA”), primarily on Second Amendment grounds. We

begin with a description of that statute and then outline the Plaintiﬀs’ challenges

in the district court and the issues on appeal. Because the Second Amendment

dominates this appeal, we conclude this background section with a discussion of

the Supreme Court’s three 21st-century precedents addressing that Amendment:

District of Columbia v. Heller, 554 U.S. 570 (2008); McDonald v. City of Chicago, 561

U.S. 742 (2010); and New York State Riﬂe & Pistol Ass’n, Inc. v. Bruen, 597 U.S. 1,

142 S. Ct. 2111 (2022). 1

I.     Regulatory Background

       New York adopted the CCIA in the wake of the Supreme Court’s decision

in Bruen, which struck down New York’s former “proper cause” requirement for

carrying a concealed ﬁrearm. 142 S. Ct. at 2122. Beginning with passage of the


       1Some Plaintiﬀs raise claims based on other constitutional provisions. The law
governing those claims will be described in connection with those particular claims.

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Sullivan Law in 1911 and its subsequent amendments, see 1911 N.Y. Laws ch. 195,

§ 1, p. 443; 1913 N.Y. Laws ch. 608, § 1, p. 1629, New York conditioned the right to

carry a concealed ﬁrearm in public on a license that could be obtained only if the

applicant demonstrated “good moral character” and a “proper cause” to carry

the ﬁrearm “without regard to employment or place of possession,” N.Y. Penal L.

§ 400.00(1)(b), (2)(f) (eﬀective Apr. 3, 2021, to July 5, 2022). Proper cause was

deﬁned as “a special need for self-protection distinguishable from that of the

general community or of persons engaged in the same profession.” In re

Klenosky, 75 A.D.2d 793, 793 (1980), aﬀ’d, 53 N.Y.2d 685 (1981). No such proper

cause was required to possess a ﬁrearm at one’s home. N.Y. Penal L.

§ 400.00(2)(a) (eﬀective Apr. 3, 2021, to July 5, 2022). 2 An applicant for an in-

home license needed only to show good moral character and to satisfy certain

other statutory requirements, such as being at least 21 years old and having no

felony convictions. Id. § 400.00(1)(a)–(c), (2)(a).




       2  Nor was proper cause a requirement for certain classes of people to possess a concealed
ﬁrearm under certain conditions. See, e.g., N.Y. Penal L. § 400.00(2)(b)-(e) (eﬀective Apr. 3, 2021,
to July 5, 2022) (“a merchant or storekeeper” “in his place of business”; “a messenger employed
by a banking institution or express company” “while so employed”; “a justice of the supreme
court in the ﬁrst or second judicial departments,” or “a judge of the New York city civil court or
the New York city criminal court”; certain employees of correctional or detention institutions, as
approved by an appropriate supervisor).

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      Addressing only New York’s proper-cause requirement, the Supreme

Court in Bruen held that that requirement violated the Second Amendment

because there was no 18th- or 19th-century tradition of conditioning the right to

carry a ﬁrearm in public on a state oﬃcial’s assessment of special need or

justiﬁcation. 142 S. Ct. at 2135–36, 2156. “We know of no other constitutional

right,” the Supreme Court explained, whose exercise depends on an individual

“demonstrating to government oﬃcers some special need.” Id. at 2156.

      Following the decision in Bruen, New York Governor Kathy Hochul

convened an Extraordinary Legislative Session, see N.Y. CONST. art. IV, § 3

(authorizing the governor “to convene the legislature, or the senate only, on

extraordinary occasions”), during which the New York legislature passed the

CCIA. Signed into law on July 1, 2022, the CCIA amended various ﬁrearms-

related provisions of New York’s Penal Law, General Business Law, Executive

Law, and State Finance Law, as those laws relate to ﬁrearms. These appeals

concern the CCIA’s Penal Law amendments related to “licensing,” “sensitive

locations,” and “restricted locations.”




                                          18
      A.     Licensing

      Under the CCIA, applicants for both in-home and concealed-carry licenses

must have “good moral character” to obtain a license. N.Y. Penal L.

§ 400.00(1)(b) (2023). The CCIA deﬁnes “good moral character” as “the essential

character, temperament and judgement necessary to be entrusted with a weapon

and to use it only in a manner that does not endanger oneself or others.” Id. As

noted above, the good-moral-character requirement for both in-home and

concealed-carry licenses pre-dates Bruen and the CCIA, but that standard had not

previously been deﬁned by statute. See § 400.00(1)(b) (eﬀective Apr. 3, 2021, to

July 5, 2022).

      The CCIA added other relevant requirements that are particular to the

issuance of concealed-carry licenses. An applicant for a concealed-carry license

must attend an in-person meeting with a licensing oﬃcer and disclose to the

oﬃcer: (1) the “names and contact information for the applicant’s current spouse,

or domestic partner, any other adults residing in the applicant’s home, including

any adult children of the applicant, and whether or not there are minors residing,

full time or part time, in the applicant’s home”; (2) the “names and contact

information of . . . four character references who can attest to the applicant’s



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good moral character”; (3) a list of all former and current social media accounts

from the preceding three years; and (4) such other information as the licensing

oﬃcer may require “that is reasonably necessary and related to the review of the

licensing application.” Id. § 400.00(1)(o)(i)–(ii), (iv)–(v).

      The applicant must also provide the licensing oﬃcer with a certiﬁcate

verifying that he has completed certain required training. Id. § 400.00(1)(o)(iii).

To obtain a concealed-carry license, the applicant must “complete an in-person

live ﬁrearms safety course conducted by a duly authorized instructor with

curriculum approved by the division of criminal justice services and the

superintendent of state police.” Id. § 400.00(19). Among other things, the course

must provide “a minimum of sixteen hours of in-person live curriculum”

addressing various speciﬁed topics, like general ﬁrearm safety, safe-storage

requirements, situational awareness, conﬂict de-escalation and management, the

use of deadly force, and suicide prevention. Id. § 400.00(19)(a)(i)–(ii), (iv)–(v),

(viii)–(x). The course must also provide “a minimum of two hours of a live-ﬁre

range training.” Id. § 400.00(19)(b). To obtain a certiﬁcate of completion, the

applicant must pass a written test and show proﬁciency in live-ﬁre range

training. Id. § 400.00(19).



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      B.     Sensitive Locations

      The CCIA makes it a crime to carry a ﬁrearm in a number of “sensitive

locations,” even for individuals with concealed-carry licenses. N.Y. Penal L.

§ 265.01-e(1); cf. Bruen, 142 S. Ct. at 2133 (recognizing a “longstanding” tradition

of “laws forbidding the carrying of ﬁrearms in sensitive places such as schools

and government buildings” (quoting Heller, 554 U.S. at 626)). The CCIA

designates twenty categories of places as sensitive locations. N.Y. Penal L.

§ 265.01-e(2)(a)–(t). For example, ﬁrearms are prohibited in “any place owned or

under the control of federal, state or local government, for the purpose of

government administration, including courts,” id. § 265.01-e(2)(a); in nursery

schools, preschools, public schools, and certain licensed private schools, § 265.01-

e(2)(f), (m); and “any location being used as a polling place,” id. § 265.01-e(2)(q).

More relevant to these appeals, an individual may not carry a ﬁrearm in “any

location providing health, behavioral health, or chemical depend[e]nce care or

services,” id. § 265.01-e(2)(b); any place of worship, id. § 265.01-e(2)(c); zoos and

public parks, id. § 265.01-e(2)(d); any place holding a license for on-premise

alcohol consumption, id. § 265.01-e(2)(o); “any place used for . . . performance,

art[,] entertainment, gaming, or sporting events such as theaters, . . . conference



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centers, [and] banquet halls,” id. § 265.01-e(2)(p); and “any gathering of

individuals to collectively express their constitutional rights to protest or

assemble,” id. § 265.01-e(2)(s). 3

       C.     Restricted Locations

       In addition to prohibiting the carriage of ﬁrearms in any designated

sensitive location, the CCIA makes it a crime to possess ﬁrearms in a “restricted

location”:

              A person is guilty of criminal possession of a weapon in
              a restricted location when such person possesses a
              ﬁrearm, riﬂe, or shotgun and enters into or remains on or
              in private property where such person knows or
              reasonably should know that the owner or lessee of such
              property has not permitted such possession by clear and
              conspicuous signage indicating that the carrying of
              ﬁrearms, riﬂes, or shotguns on their property is
              permitted or has otherwise given express consent.

N.Y. Penal L. § 265.01-d(1) (2023). It is undisputed that the restricted-locations

provision eﬀectively prohibits entrance with a ﬁrearm onto another person’s

private property – whether that property is generally open to the public, like a


       3 The CCIA was amended on May 3, 2023, during the pendency of these appeals, to
narrow its provisions applicable to places of worship and public parks. See Ch. 55, pt. F, § 1,
2023 N.Y. Laws. In particular, persons “responsible for security” at places of worship are now
exempt from the place-of-worship prohibition, and the term “public parks” has been deﬁned to
exclude specially-deﬁned forest preserves and privately-owned land within public parks. Id.
Those amendments took immediate eﬀect. Id. § 4. We discuss the impact of those amendments
on these appeals below.

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gas station or grocery store, or is generally closed to the public, like a personal

residence – unless the owner or lessee of the property provides aﬃrmative,

express consent to armed entry. Id.

II.   Procedural History

      As noted, we are concerned with four appeals: Antonyuk v. Chiumento, 22-

2908-cv, 22-2972-cv; Hardaway v. Chiumento, 22-2933-cv; Christian v. Chiumento,

22-2987-cv; and Spencer v. Chiumento, 22-3237-cv. While we discuss the district

courts’ analyses in more detail during our discussion of the challenged

provisions of the CCIA, here we simply outline the events in the district courts

and those courts’ decisions, to provide context to that discussion.

      A.     Antonyuk

      In Antonyuk, six individual Plaintiﬀs sued several defendants in their

oﬃcial capacity on September 20, 2022 in the United States District Court for the

Northern District of New York, challenging aspects of the CCIA’s licensing,

sensitive-locations, and restricted-locations provisions. The Plaintiﬀs are Ivan

Antonyuk, Corey Johnson, Alfred Terrille, Joseph Mann, Leslie Leman, and

Lawrence Sloane. Sloane, the only Plaintiﬀ who does not already have a

concealed-carry license, brought a Second Amendment challenge to the



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character, in-person interview, disclosure, and ﬁrearm-training requirements of

the CCIA licensing regime. The other ﬁve Plaintiﬀs challenged certain of the

CCIA’s sensitive-locations provisions on Second Amendment grounds. All six

Plaintiﬀs challenged the CCIA’s restricted-locations provision on First

Amendment compelled-speech and Second Amendment grounds. Altogether,

the Plaintiﬀs sued Governor Hochul, Steven A. Nigrelli, at that time the

Superintendent of the New York State Police, 4 the Superintendent of the New

York State Police, and various local oﬃcials responsible for enforcing the CCIA in

their respective jurisdictions: Matthew J. Doran, the licensing oﬃcial of

Onondaga County; William Fitzpatrick, the District Attorney of Onondaga

County; Eugene Conway, the Sheriﬀ of Onondaga County; Joseph Cecile, the

Chief of Police of Syracuse; P. David Soares, the District Attorney of Albany

County; Gregory Oakes, the District Attorney of Oswego County; Don Hilton,

the Sheriﬀ of Oswego County; and Joseph Stanzione, the District Attorney of

Greene County.




       4By operation of Federal Rule of Appellate Procedure 43(c)(2), Defendant-Appellant
Dominick L. Chiumento was automatically substituted as a Defendant-Appellant after assuming
the oﬃce of Acting Superintendent of the New York State Police on October 5, 2023. He replaced
previous Defendant-Appellant Steven A. Nigrelli. Because former-Superintendent Nigrelli was
a Defendant-Appellant when briefs were ﬁled, the opinion cites to briefs ﬁled on Nigrelli’s behalf.

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       On September 22, 2022, the Plaintiﬀs moved for preliminary injunctive

relief. On November 7, 2022, the district court (Suddaby, J.) granted their motion

in part and denied it in part. See Antonyuk v. Hochul, 639 F. Supp. 3d 232, 349

(N.D.N.Y. 2022).

       First, the court held that Sloane had standing to challenge the CCIA’s

licensing requirements, id. at 261; that each Plaintiﬀ had standing to challenge the

restricted-locations provision, id. at 293–94; and that at least one Plaintiﬀ had

standing to challenge the following sensitive-location provisions: (1) any location

providing behavioral health or chemical dependence care or services; (2) any

place of worship; (3) public playgrounds, public parks, and zoos; (4) nursery

schools and preschools; (5) buses and airports; (6) any place that is licensed for

on-premise alcohol consumption; (7) theaters, conference centers, and banquet

halls; and (8) any gathering of individuals to collectively express their

constitutional rights to protest or assemble, id. at 266–67, 269–72, 275, 282–83, 285,

288, 291–92. 5


       5  The Antonyuk Plaintiﬀs do not challenge the district court’s ruling that they lacked
standing to challenge the sensitive-locations provision as applied to: (1) any place under the
control of federal, state, or local government for purposes of government administration;
(2) libraries; (3) the location of any program that provides services to children and youth, or any
legally exempt childcare provider; (4) summer camps; (5) the location of any program
regulated, operated, or funded by the Oﬃce for People with Developmental Disabilities; (6) the


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       Second, the court held that the CCIA violated the Second Amendment by

conditioning the issuance of a license on an applicant’s good moral character and

disclosure of a list of the applicant’s current spouse and all adult cohabitants, a

list of all former and current social media accounts from the preceding three

years, and such other information as the licensing oﬃcer may require. Id. at 305,

308, 311–12. The court declined, however, to enjoin the requirements that an

applicant attend an in-person meeting, provide four character references, and

undergo ﬁrearms training. Id. at 306–07, 314, 316. Sloane does not challenge the

latter aspects of the district court’s decision.

       Third, the court enjoined the sensitive-locations provisions as applied to

each place a Plaintiﬀ had standing to challenge except for polling places, public

areas restricted from general public access for a limited time by a governmental

entity, public playgrounds, nursery schools, and preschools. Id. at 288, 327–28,



location of any program regulated, operated, or funded by the Oﬃce of Addiction Services and
Supports; (7) the location of any program regulated, operated, or funded by the Oﬃce of Mental
Health; (8) the location of any program regulated, operated, or funded by the Oﬃce of
Temporary and Disability Assistance; (9) homeless shelters, family shelters, domestic violence
shelters, and emergency shelters; (10) residential settings licensed, certiﬁed, regulated, funded,
or operated by the Department of Health; (11) any building or grounds of any educational
institutions, colleges, school districts, and private schools; and (12) the area commonly known
as Times Square. Antonyuk, 639 F. Supp. 3d at 261, 267, 273–74, 275, 276–79, 292. Also
unchallenged is the district court’s ruling that Governor Hochul was not a proper defendant
because she does not have or exercise suﬃcient enforcement authority over the CCIA. Id. at
295–96.

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349. The Plaintiﬀs do not challenge the court’s refusal to enjoin the CCIA’s

enforcement as to these ﬁve places.

      Fourth, and ﬁnally, the court enjoined the restricted-locations provision in

its entirety on First Amendment compelled-speech and Second Amendment

grounds. Id. at 340–47, 78–85.

      B.    Hardaway

      In Hardaway, the Plaintiﬀs are Reverend Dr. Jimmie Hardaway, Jr., Bishop

Larry A. Boyd, and two advocacy organizations: the Firearms Policy Coalition,

Inc. (“FPC”) and the Second Amendment Foundation (“SAF”). Reverend

Hardaway is the Pastor at Trinity Baptist Church in Niagara Falls, New York,

and Bishop Boyd is the Pastor at Open Praise Full Gospel Baptist Church in

Buﬀalo, New York. Both possess concealed-carry licenses. On October 13, 2022,

those Plaintiﬀs ﬁled suit in the Western District of New York against

Superintendent Nigrelli, Brian D. Seaman, the District Attorney of Niagara

County, and John J. Flynn, the District Attorney of Erie County. The Plaintiﬀs

claimed that the CCIA’s sensitive-locations provision violates the Second

Amendment by prohibiting ﬁrearms in Reverend Hardaway’s and Bishop Boyd’s

respective churches—two places of worship.



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      The next day, they moved for preliminary injunctive relief. On November

3, 2022, the district court (Sinatra, J.) granted their motion in part and denied it in

part. Hardaway v. Nigrelli, 639 F. Supp. 3d 422, 426 (W.D.N.Y. 2022). While the

court held that the two organizational plaintiﬀs lacked standing to bring a 42

U.S.C. § 1983 claim under this Circuit’s precedents, id. at 427 n.3, that conclusion

did not alter the scope of relief because the court enjoined the place-of-worship

provision facially, in all of its applications, id. at 444–46.

      C.     Christian

      In Christian, the Plaintiﬀs are Brett Christian, an individual licensed to

carry a concealed ﬁrearm, and FPC and SAF, the same two organizational

Plaintiﬀs as in Hardaway. On September 13, 2022, those Plaintiﬀs sued

Superintendent Nigrelli and District Attorney Flynn in the Western District of

New York, challenging the restricted-locations provision on Second Amendment

grounds. A little more than two weeks later, the Plaintiﬀs moved for preliminary

injunctive relief.

      On November 22, 2022, the district court (Sinatra, J.) granted the motion in

part and denied it in part. Christian v. Nigrelli, 642 F. Supp. 3d 393, 398 (W.D.N.Y.

2022). As it did in Hardaway, the court held that the two organizational Plaintiﬀs



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lacked standing under this Circuit’s precedents, id. at 399 n.4, but that the

restricted-locations provision violated the Second Amendment, enjoining

enforcement of that provision only “with respect to private property open to the

public,” id. at 410–11.

      D.     Spencer

      Finally, in Spencer, the Plaintiﬀs are Pastor Micheal Spencer, an individual

licensed to carry a concealed ﬁrearm, and His Tabernacle Family Church, the

church at which Spencer is the Senior Pastor. On November 3, 2023, those

Plaintiﬀs sued Superintendent Nigrelli, Weeden A. Wetmore, the District

Attorney of Chemung County, and Matthew Van Houten, the District Attorney

of Tompkins County, in the Western District of New York, challenging the

CCIA’s places-of-worship provision. In addition to a Second Amendment

challenge, they raise First Amendment challenges under the Establishment and

Free Exercise Clauses, on the theory that the CCIA substantially burdens Pastor

Spencer’s belief that he has a religious obligation to protect his congregation.

      On November 8, 2022, the Plaintiﬀs moved for preliminary injunctive

relief. On December 22, 2022, the district court (Sinatra, J.) held a hearing on the

motion, during which Pastor Spencer testiﬁed about, among other things, his



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religious beliefs concerning self-defense and the defense of his congregation.

One week later, the district court granted the Plaintiﬀs’ motion and enjoined the

places-of-worship provision on grounds that it violated the Free Exercise Clause,

the Establishment Clause, and the Second Amendment. Spencer v. Nigrelli, 648 F.

Supp. 3d 451 (W.D.N.Y. 2022). As it did in Hardaway, the district court enjoined

that provision facially. Id. at 470–71.

      E.     Summary

      Altogether, the district courts enjoined the CCIA’s:

      (1) licensing requirements that

             (a) an applicant have good moral character and

             (b) disclose to a licensing oﬃcer

                    (i) a list of the applicant’s current spouse and all adult
                    cohabitants,

                    (ii) a list of all former and current social media accounts from
                    the preceding three years, and

                    (iii) such other information as the oﬃcer may require;

      (2) sensitive-locations provisions concerning

             (a) locations providing behavioral health or chemical dependence
             care or services;

             (b) places of worship;


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             (c) public parks and zoos;

             (d) buses and airports;

             (e) places that are licensed for on-premise alcohol consumption;

             (f) theaters, conference centers, and banquet halls; and

             (g) gatherings of individuals to collectively express their
             constitutional rights to protest or assemble; and

       (3) restricted-locations provision.

       The State timely appealed and moved this Court for stays pending appeal

in Antonyuk, Hardaway, and Christian, which were granted. The State challenges

each aspect of the injunctions except for the Antonyuk court’s injunction against

the CCIA’s application to buses and airports. No Plaintiﬀ cross-appeals or

otherwise challenges any aspect of the district courts’ decisions adverse to them.

III.   Legal Standards Governing the Right to Keep and Bear Arms

       With that background, we now outline the Supreme Court’s trilogy of 21st-

century cases interpreting the right to keep and bear arms: District of Columbia v.

Heller, 554 U.S. 570 (2008); McDonald v. City of Chicago, 561 U.S. 742 (2010); and

New York State Riﬂe & Pistol Ass’n, Inc. v. Bruen, 597 U.S. 1, 142 S. Ct. 2111 (2022).

We also outline our former circuit precedent and the historical framework that




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we understand Supreme Court precedent requires be applied to Second and

Fourteenth Amendment challenges asserting the right to keep and bear arms.

       A.      Heller

       The Second Amendment provides: “A well regulated Militia, being

necessary to the security of a free State, the right of the people to keep and bear

Arms, shall not be infringed.” U.S. CONST. amend. II. In Heller, the Supreme

Court held for the ﬁrst time that the Second Amendment codiﬁes a pre-existing

individual right to keep and bear arms for self-defense in case of confrontation—

a right that is not limited to service in an organized militia. 554 U.S. at 592, 595. 6




       6  Before Heller, Second Amendment issues were rarely litigated in federal court. Not
until passage of the Fourteenth Amendment was it understood that any provision of the Bill of
Rights applied to the States, see Barron v. City of Baltimore, 32 U.S. 243, 250–51 (1833), and even
after passage of the Fourteenth Amendment, the Supreme Court reaﬃrmed that the Second
Amendment “means no more than that it shall not be infringed by Congress,” United States v.
Cruikshank, 92 U.S. 542, 553 (1875). Shortly after Congress began passing ﬁrearms regulations in
the ﬁrst half of the 20th century, most notably in the National Firearms Act of 1934 and then the
Federal Firearms Act of 1938, the Supreme Court instructed courts and litigants that the Second
Amendment “must be interpreted and applied” in light of its “obvious purpose to assure the
continuation and render possible the eﬀectiveness” of the well-regulated militia. United States v.
Miller, 307 U.S. 174, 178 (1939). To that end, the Supreme Court in Miller rejected a Second
Amendment challenge to a federal prohibition on possessing sawed-oﬀ shotguns because there
was no evidence that such weapons had “some reasonable relationship to the preservation or
eﬃciency of a well regulated militia.” Id. Dissenting in Heller, Justice Stevens pointed out that
“hundreds of judges ha[d] relied on [Miller’s] view of the Amendment,” and that the Court had
in fact reaﬃrmed that view in 1980. Heller, 554 U.S. at 638 & n.2 (Stevens, J., dissenting) (citing
Lewis v. United States, 445 U.S. 55, 65–66 n.8 (1980)).

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      But that right, the Court twice cautioned, is “not unlimited,” just as no

other right in the Bill of Rights is unlimited. Id. at 595, 626. Historically, “the

right was not a right to keep and carry any weapon whatsoever in any manner

whatsoever and for whatever purpose.” Id. at 626. Nor has the right ever been

understood to “protect those weapons not typically possessed by law-abiding

citizens for lawful purposes.” Id. at 625. Stated diﬀerently, the Second

Amendment protects the right to keep and bear “the sorts of weapons” that are

“‘in common use’”—a “limitation [that] is fairly supported by the historical

tradition of prohibiting the carrying of ‘dangerous and unusual weapons.’” Id. at

627 (ﬁrst quoting United States v. Miller, 307 U.S. 174, 179 (1939); then quoting 4

Commentaries on the Laws of England 148–49 (1769)). And, the Court made

clear, “nothing in [its] opinion should be taken to cast doubt on longstanding

prohibitions on the possession of ﬁrearms by felons and the mentally ill, or laws

forbidding the carrying of ﬁrearms in sensitive places such as schools and

government buildings, or laws imposing conditions and qualiﬁcations on the

commercial sale of arms.” Id. at 626–27. The Court identiﬁed those “regulatory

measures” as “presumptively lawful,” noting too that those “examples” were not




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an “exhaustive” list of constitutional regulations governing ﬁrearms. Id. at 627

n.26.

        Ultimately, however, the Court had no occasion to “undertake an

exhaustive historical analysis . . . of the full scope of the Second Amendment.”

Id. at 626. At issue in Heller was a District of Columbia law that “totally ban[ned]

handgun possession in the home” and “require[d] . . . any lawful ﬁrearm in the

home [to] be disassembled or bound by a trigger lock at all times, rendering it

inoperable.” Id. at 628. The Court held that requirement was a major intrusion

on “the inherent right of self-defense,” because “[t]he handgun ban amount[ed]

to a prohibition of an entire class of ‘arms’ that is overwhelmingly chosen by

American society for that lawful purpose,” and because the “prohibition

extend[ed] . . . to the home, where the need for defense of self, family, and

property is most acute.” Id. “Under any of the standards of scrutiny that [the

Court] ha[s] applied to enumerated constitutional rights,” the challenged District

of Columbia law “would fail constitutional muster.” Id. at 628–29. The Second

Amendment, if nothing else, “elevates above all other interests the right of law-

abiding, responsible citizens to use arms in defense of hearth and home.” Id. at

635.



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      Heller did not oﬀer much guidance to lower courts analyzing future

Second Amendment claims. There would come a day, the Court explained, for it

to “expound upon the historical justiﬁcations for the exceptions [it had]

mentioned if and when those exceptions come before [it].” Id. But the Court

ruled out the standard of rational-basis review, id. at 628 n.27, or an “interest-

balancing inquiry” that assesses the proportionality of the law’s burden to the

state’s interest, id. at 634, because no other enumerated constitutional right is

subject to such standards, id. at 628 n.27, 634–35.

      B.     McDonald

      Two years later came McDonald, which held that the Second Amendment is

“fully applicable to the States.” 561 U.S. at 750. A plurality reached that

conclusion via the Due Process Clause of the Fourteenth Amendment, id. at 791

(plurality opinion), while Justice Thomas reached the same conclusion relying on

the Privileges or Immunities Clause of the Fourteenth Amendment, id. at 806

(Thomas, J., concurring in part and concurring in the judgment).

      Like Heller, McDonald did not survey the full scope of the Second

Amendment. But the plurality instructed that the Second Amendment is not

“subject to an entirely diﬀerent body of rules than the other Bill of Rights



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guarantees.” Id. at 780 (plurality opinion). And incorporating the Second

Amendment to apply to the States, the Supreme Court assured us, would “not

imperil every law regulating ﬁrearms”:

                It is important to keep in mind that Heller, while striking
                down a law that prohibited the possession of handguns
                in the home, recognized that the right to keep and bear
                arms is not “a right to keep and carry any weapon
                whatsoever in any manner whatsoever and for whatever
                purpose.” We made it clear in Heller that our holding did
                not cast doubt on such longstanding regulatory
                measures as “prohibitions on the possession of ﬁrearms
                by felons and the mentally ill,” “laws forbidding the
                carrying of ﬁrearms in sensitive places such as schools
                and government buildings, or laws imposing conditions
                and qualiﬁcations on the commercial sale of arms.” We
                repeat those assurances here.

Id. at 786 (quoting Heller, 554 U.S. at 626–27). McDonald also repeated Heller’s

clariﬁcation that “self-defense [i]s ‘the central component of the right itself.’” Id. at

787 (emphasis in original) (quoting Heller, 554 U.S. at 599).

        C.      Post-Heller and -McDonald Circuit Precedent

        In the wake of Heller and McDonald, this Circuit, as well as every other

regional circuit, 7 employed a two-part test to assess Second Amendment


        7 Gould v. Morgan, 907 F.3d 659, 668–69 (1st Cir. 2018); United States v. Marzzarella, 614
F.3d 85, 89 (3d Cir. 2010); United States v. Chester, 628 F.3d 673, 680–83 (4th Cir. 2010); National
Riﬂe Ass’n of Am., Inc. v. Bureau of Alcohol, Tobacco, Firearms, and Explosives, 700 F.3d 185, 194–95
(5th Cir. 2012); United States v. Greeno, 679 F.3d 510, 518 (6th Cir. 2012); Ezell v. City of Chicago,


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challenges. E.g., Libertarian Party of Erie County v. Cuomo, 970 F.3d 106, 118 (2d

Cir. 2020). At step one, we asked whether a challenged law burdened conduct

that fell within the scope of the Second Amendment based on its text and history.

Id. If so, we proceeded to step two, assessing whether the challenged law

burdened the core of the Second Amendment, deﬁned by Heller as self-defense in

the home. Id. at 119. If the burden was de minimis, the law was subject to

intermediate scrutiny; if the burden was substantial and aﬀected the core of the

right, the law was subject to strict scrutiny. Id. at 119, 128.

       For example, applying that two-part test in Kachalsky v. County of

Westchester, we upheld New York State’s proper-cause requirement to obtain a

license to carry a concealed ﬁrearm outside the home without regard to

employment or place of possession. 701 F.3d 81, 101 (2d Cir. 2012). As noted, an

applicant had proper cause for such a license if he had “a special need for self-

protection distinguishable from that of the general community or of persons

engaged in the same profession.” Klenosky, 75 A.D.2d at 793. In Kachalsky, we

assumed the ﬁrst step of the two-part test in favor of the challenger: speciﬁcally,



651 F.3d 684, 700–04 (7th Cir. 2011); Young v. Hawaii, 992 F.3d 765, 783 (9th Cir. 2021) (en banc),
United States v. Reese, 627 F.3d 792, 800–01 (10th Cir. 2010), GeorgiaCarry.Org, Inc. v. Georgia, 687
F.3d 1244, 1260 n.34 (11th Cir. 2012); Heller v. District of Columbia (Heller II), 670 F.3d 1244, 1252
(D.C. Cir. 2011).

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that the Second Amendment protects the right to keep and bear arms outside the

home. 701 F.3d at 89, 93. Indeed, all we could tell from Heller and McDonald was

“that Second Amendment guarantees are at their zenith within the home,” and

“[w]hat we d[id] not know [wa]s the scope of that right beyond the home and the

standards for determining when and how the right can be regulated by a

government.” Id. at 89 (emphasis added). Proceeding to step two, we assessed

the proper-cause requirement under intermediate scrutiny, because that

requirement did not burden the core right of armed self-defense in the home. Id.

at 94–96. We upheld the requirement under intermediate scrutiny because New

York had “substantial, indeed compelling, governmental interests in public

safety and crime prevention,” id. at 97, and because a limitation on “handgun

possession in public to those who have a reason to possess the weapon for a

lawful purpose is substantially related” to that interest, id. at 98.

Later, in Libertarian Party of Erie County, we upheld New York’s character

requirement, which at that time was statutorily undeﬁned, against a facial

challenge. 970 F.3d at 127–28. We acknowledged that the requirement

“aﬀect[ed] the core Second Amendment right” identiﬁed in Heller because it

prohibited individuals lacking good moral character from possessing ﬁrearms



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for self-defense in the home. Id. at 127. But the requirement “d[id] not burden

the ability of ‘law-abiding, responsible citizens to use arms in defense of hearth and

home.’” Id. (quoting Heller, 554 U.S. at 635). We therefore applied intermediate

scrutiny because “the conditions placed on the core Second Amendment right

[we]re not onerous.” Id. at 127–28. Applying intermediate scrutiny, we found

that the challenger’s complaint itself “reveal[ed] a close relationship between the

licensing regime and the State’s interests in public safety and crime prevention –

as well as solicitude for the Second Amendment rights of citizens who are

responsible and law abiding.” Id. at 128.

      D.     Bruen

      Fourteen years after Heller and twelve years after McDonald, the Supreme

Court decided Bruen, abrogating our circuit precedent, both the speciﬁc holding

of Kachalsky and the general approach we took to Second Amendment claims.

      Bruen rejected step two of “the predominant framework” described above

and set out a new “test rooted in the Second Amendment’s text, as informed by

history.” 142 S. Ct. at 2127. Thus, a court must now consider whether “the

Second Amendment’s plain text covers an individual’s conduct.” Id. at 2129–30.

If so, “the Constitution presumptively protects that conduct.” Id. at 2130. To



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overcome that presumption, “[t]he government must then justify its regulation

by demonstrating that it is consistent with the Nation’s historical tradition of

ﬁrearm regulation.” Id. Stated diﬀerently, “the government must aﬃrmatively

prove that its ﬁrearms regulation is part of the historical tradition that delimits

the outer bounds of the right to keep and bear arms.” Id. at 2127. Like the Fifth,

Eighth, and Eleventh Circuits, we read Bruen as setting out a two-step

framework, with the ﬁrst step based on text and the second step based on

history. See United States v. Sitladeen, 64 F.4th 978, 985–86 & n.3 (8th Cir. 2023);

Nat’l Riﬂe Ass’n v. Bondi, 61 F.4th 1317, 1321 (11th Cir.), vacated pending reh’g en

banc, 72 F.4th 1346 (11th Cir. 2023); United States v. Rahimi, 61 F.4th 443, 453 (5th

Cir. 2023), cert. granted, 143 S. Ct. 2688 (2023).

      Applying that two-step framework, the Supreme Court struck down New

York’s proper-cause requirement. First, the Court held that the plain text of the

Second Amendment protected the petitioners’ right to carry handguns outside

the home. Bruen, 142 S. Ct. at 2134–35. Like the challengers in Heller and

McDonald, the petitioners were “ordinary, law-abiding, adult citizens” and “part

of ‘the people’ whom the Second Amendment protects,” id. at 2134 (quoting

Heller, 554 U.S. at 580), and they wished to carry handguns that were “weapons



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‘in common use’ today for self-defense,” id. (quoting Heller, 554 U.S. at 627). The

Court also held that the Second Amendment protected their right to carry those

ﬁrearms outside the home: the Second Amendment does not draw a

“home/public distinction”; the word “‘bear’ naturally encompasses public carry”

because even though people “keep” ﬁrearms in their homes, they do not

typically “‘bear’ (i.e., carry) them in the home beyond moments of actual

confrontation”; and “conﬁning the right to ‘bear’ arms to the home would make

little sense” because self-defense is central to the right and “[m]any Americans

hazard greater danger outside the home than in it.” Id. at 2134–35.

      Second, New York failed to demonstrate that the proper-cause

requirement was consistent with the Nation’s historical tradition of ﬁrearm

regulation. Id. at 2156. In reaching that conclusion, the Court emphasized the

exceptional nature of the proper-cause requirement. “We know of no other

constitutional right that an individual may exercise only after demonstrating to

government oﬃcers some special need.” Id. Historically, only two states, Texas

and West Virginia, had laws in the late-19th century that remotely resembled

New York’s proper-cause requirement, and those states “‘contradict[ed] the

overwhelming weight of other evidence regarding the right to keep and bear



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arms for defense’ in public.” Id. at 2153 (quoting Heller, 554 U.S. at 632). The

overwhelming weight of the historical evidence revealed that legislatures did not

require a showing of special need to exercise the right to public carry but instead

enacted laws that “limited the intent for which one could carry arms, the manner

by which one carried arms, or the exceptional circumstances under which one

could not carry arms, such as before justices of the peace and other government

oﬃcials.” Id. at 2156. Thus, the Second Amendment does not tolerate a “may

issue” licensing regime, like New York’s former regime, that conditions the

issuance of a concealed-carry license on a discretionary assessment of need or

justiﬁcation. Id.

      The Court, however, made clear that “nothing in [its] analysis should be

interpreted to suggest the unconstitutionality of the . . . ‘shall-issue’ licensing

regimes” applicable in 43 States. Id. at 2138 n.9. In “‘shall issue’ jurisdictions,’”

licensing “authorities must issue concealed-carry licenses whenever applicants

satisfy certain threshold requirements.” Id. at 2123. “Because these licensing

regimes do not require applicants to show an atypical need for armed self-

defense, they do not necessarily prevent ‘law-abiding, responsible citizens’ from

exercising their Second Amendment right to public carry.” Id. at 2138 n.9



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(quoting Heller, 554 U.S. at 635). “Rather, it appears that these shall-issue

regimes, which often require applicants to undergo a background check or pass a

ﬁrearms safety course, are designed to ensure only that those bearing arms in the

jurisdiction are, in fact, ‘law-abiding, responsible citizens.’” Id. (quoting Heller,

554 U.S. at 635). And those regimes do so by applying “‘narrow, objective, and

deﬁnite standards’ guiding licensing oﬃcials.” Id. (quoting Shuttlesworth v.

Birmingham, 394 U.S. 147, 151 (1969)).

      The Court also made clear that New York’s proper-cause requirement did

not resemble the “[t]hree States – Connecticut, Delaware, and Rhode Island –

[that] have discretionary criteria but appear to operate like ‘shall issue’

jurisdictions.” Id. at 2123 n.1. For example, “[a]lthough Connecticut oﬃcials

have discretion to deny a concealed-carry permit to anyone who is not a ‘suitable

person,’ the ‘suitable person’ standard precludes permits only to those

‘individuals whose conduct has shown them to be lacking the essential character

o[r] temperament necessary to be entrusted with a weapon.’” Id. (ﬁrst quoting

CONN. GEN. STAT. § 29-28(b) (2021); then quoting Dwyer v. Farrell, 475 A.2d 257,

260 (1984)). Likewise, the Court explained that, while “Rhode Island has a

suitability requirement, . . . the Rhode Island Supreme Court has ﬂatly denied



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that the ‘[d]emonstration of a proper showing of need’ is a component of that

requirement.” Id. (quoting Gadomski v. Tavares, 113 A.3d 387, 392 (2015); citing R.

I. GEN. LAWS § 11-47-11).

       The Supreme Court’s simultaneous endorsement of Connecticut and

Rhode Island’s suitability regimes and criticism of state laws that give licensing

oﬃcials “discretion to deny licenses based on a perceived lack of need or

suitability,” id. at 2123, suggests that States cannot grant or deny licenses based

on suitable need or purpose but may do so based on the applicant having a

suitable character or temperament to handle a weapon. 8




       8  Justice Kavanaugh, joined by Chief Justice Roberts, emphasized that “[t]he Court’s
decision addresses only the unusual discretionary licensing regimes, known as ‘may-issue’
regimes, that are employed by 6 States including New York,” under which a licensing oﬃcial
has “open-ended discretion” to deny concealed-carry licenses and may deny a license for a
failure to “show some special need apart from self-defense.” Bruen, 142 S. Ct. at 2161
(Kavanaugh, J., concurring). “Those features,” Justice Kavanaugh wrote, “in eﬀect deny the
right to carry handguns for self-defense to many ordinary, law-abiding citizens.” Id. (internal
quotation marks omitted). Accordingly, the Court did not address “objective shall-issue
licensing regimes,” under which the State “may require a license applicant to undergo
ﬁngerprinting, a background check, a mental health records check, and training in ﬁrearms
handling and in laws regarding the use of force, among other possible requirements.” Id. at
2162. “Unlike New York’s may-issue regime, those shall-issue regimes do not grant open-ended
discretion to licensing oﬃcials and do not require a showing of some special need apart from
self-defense.” Id. Shall-issue regimes are constitutional, Justice Kavanaugh explained, so long
as they “operate in [an objective] manner in practice.” Id.

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      E.     History and Tradition

      Bruen requires courts to engage in two analytical steps when assessing

Second Amendment challenges: ﬁrst, by interpreting the plain text of the

Amendment as historically understood; and second, by determining whether the

challenged law is consistent with this Nation’s historical tradition of ﬁrearms

regulation, as “that delimits the outer bounds of the right to keep and bear

arms.” Id. at 2127. We focus here on the history-and-tradition prong.

      As we understand it, history and tradition give content to the

indeterminate and underdetermined text of the Second Amendment: “the right

of the people to keep and bear Arms.” U.S. CONST. amend. II. “As James

Madison wrote, ‘a regular course of practice’ can ‘liquidate & settle the meaning

of’ disputed or indeterminate ‘terms & phrases.’” Chiafalo v. Washington, 140 S.

Ct. 2316, 2326 (2020) (quoting Letter to S. Roane (Sept. 2, 1819), in 8 Writings of

James Madison 450 (G. Hunt ed. 1908)). That is especially true of the Second

Amendment: like the First Amendment, the Second Amendment codiﬁes a pre-

existing right, see Heller, 554 U.S. at 592, 603; Bruen, 142 S. Ct. at 2130, 2135, 2145,

and therefore can fairly be read to incorporate “traditional limitations” that

existed at or around ratiﬁcation, unless historical context suggests otherwise, cf.



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R.A.V. v. City of St. Paul, 505 U.S. 377, 383 (1992) (explaining that “‘the freedom of

speech’ . . . does not include a freedom to disregard . . . traditional limitations”).

Thus, while the literal text of the Second Amendment, like that of the First

Amendment, contains no exception and therefore appears to be “unqualiﬁed,”

Bruen, 142 S. Ct. at 2126, 2130 (quoting Konigsberg v. State Bar of Cal., 366 U.S. 36,

50 n.10 (1961)), its indeterminate text is “not unlimited,” as the Supreme Court

has repeatedly observed, id. at 2128 (quoting Heller, 554 U.S. at 626).

Accordingly, “reliance on history” and tradition “inform[s] the meaning of” the

“pre-existing right” to keep and bear arms. Bruen, 142 S. Ct. at 2130 (emphasis

omitted).

      That conclusion carries several implications. First, when used to interpret

text, “not all history is created equal.” Id. at 2136. While ancient practices and

postenactment history remain “critical tool[s] of constitutional interpretation,”

Heller, 554 U.S. at 605, they must be examined with some care because while

history and tradition shed light on the meaning of the right to keep and bear

arms – they do not create it. “Constitutional rights are enshrined with the scope

they were understood to have when the people adopted them.” Bruen, 142 S. Ct. at

2136 (quoting Heller, 554 U.S. at 634–35). Thus, historical practices that long



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predate or postdate codiﬁcation of the relevant constitutional provision may not

have much bearing on the provision’s scope if the practices were obsolete or

anomalous. See id. For example, a one-oﬀ and short-lived territorial law,

military decree, or local law, while no doubt relevant, will not carry the day if it

contradicts the overwhelming weight of other evidence. See id. at 2152 n.26,

2154–55. What matters is “our whole experience as a Nation.” Chiafalo, 140 S. Ct.

at 2326 (quoting NLRB v. Noel Canning, 573 U.S. 513, 557 (2014)).

       Second, in examining history and tradition, a court must identify the

“societal problem” that the challenged regulation seeks to address and then ask

whether past generations experienced that same problem and, if so, whether

those generations addressed it in similar or diﬀerent ways. Bruen, 142 S. Ct. at

2131. 9 “For instance, when a challenged regulation addresses a general societal

problem that has persisted since the 18th century,” that regulation might more

likely be unconstitutional if there is a “lack of a distinctly similar historical

regulation addressing that problem,” or if “earlier generations addressed the

societal problem . . . through materially diﬀerent means,” or if state courts struck




       9 The Court left open the question as to how to identify the level of generality at which to
compare the problems addressed by contemporary legislatures with those being addressed in
1791 or 1868 to determine whether those problems are the same.

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down similar regulations addressing the same problem on “constitutional

grounds.” Id. Conversely, “where a governmental practice has been open,

widespread, and unchallenged since the early days of the Republic, the practice

should guide [a court’s] interpretation of an ambiguous constitutional

provision.” Id. at 2137 (quoting Noel Canning, 573 U.S. at 572 (Scalia, J.,

concurring in the judgment)). And if courts during that period upheld similar

governmental practices against similar constitutional challenges, that is strong

evidence of constitutionality. Id. at 2155 & n.30.

       Third, the absence of a distinctly similar historical regulation in the

presented record, though undoubtedly relevant, can only prove so much.

Legislatures past and present have not generally legislated to their constitutional

limits. Reasoning from historical silence is thus risky; it is not necessarily the

case that, if no positive legislation from a particular place is in the record, it must

be because the legislators there deemed such a regulation inconsistent with the

right to bear arms. 10 There are many reasons why the historical record may not

evince statutory prohibitions on a given practice. For example, lawmakers are




       10 See Jacob D. Charles, The Dead Hand of a Silent Past: Bruen, Gun Rights, and the Shackles
of History, 73 DUKE L.J. 67, 153 (2023) (criticizing such an inference because it “elevates mere
unregulated conduct to the status of inviolate constitutional right”).

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not moved to forbid behavior that is governed by custom, universal practice, or

private warning. No legislation is needed to forbid zoo patrons from entering

the lion’s enclosure; similarly, a town with only a single daycare facility that

privately bans ﬁrearms from its premises has no need to pass a regulation

prohibiting guns in daycare centers. Thus, “[t]he paucity of eighteenth century

gun control laws might have reﬂected a lack of political demand rather than

constitutional limitations.” Binderup v. Att’y Gen. United States of Am., 836 F.3d

336, 369 (3d Cir. 2016) (en banc) (Hardiman, J., concurring in part and concurring

in the judgments) (quoting Nelson Lund, The Second Amendment, Heller, and

Originalist Jurisprudence, 56 UCLA L. REV. 1343, 1354 (2009)). Stated diﬀerently,

“novelty does not mean unconstitutionality.” Id. at 368. That is so even if the

problems faced by past generations could be described, at a high level of

generality, as similar to the problems we face today.

      Fourth, courts must be particularly attuned to the reality that the issues we

face today are diﬀerent than those faced in medieval England, the Founding Era,

the Antebellum Era, and Reconstruction. To put it plainly, our era does not

resemble those. Thus, the lack of a distinctly similar historical regulation, though

(again) no doubt relevant, may not be reliably dispositive in Second Amendment



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challenges to laws addressing modern concerns. Such a lack of precedent was, to

be sure, dispositive in Bruen. But that was due to the exceptional nature of New

York’s proper-cause requirement, which conditioned the exercise of a federal

constitutional right on the rightsholder’s reasons for exercising the right. As the

Supreme Court explained, and as we repeated earlier, “[w]e know of no other

constitutional right that an individual may exercise only after demonstrating to

government oﬃcers some special need.” Bruen, 142 S. Ct. at 2156. “[A] more

nuanced approach” will often be necessary in cases challenging less exceptional

regulations. Id. at 2132. The Supreme Court emphasized in Bruen that such a

“more nuanced approach” is necessary in cases concerning “new circumstances”

or “modern regulations that were unimaginable at the founding,” such as

regulations addressing “unprecedented societal concerns or dramatic

technological changes.” Id.

      Fifth, under the more nuanced approach, the “historical inquiry that courts

must conduct will often involve reasoning by analogy.” Id. When reasoning by

analogy, a court should ask whether the challenged regulation and the proposed

historical analogue are “relevantly similar.” Id. (quoting Cass Sunstein, On

Analogical Reasoning, 106 HARV. L. REV. 741, 773 (1993)). In making that



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determination, a court must identify an appropriate metric by which to compare

the two laws. Id. Without “provid[ing] an exhaustive survey of the features that

render regulations relevantly similar under the Second Amendment,” Bruen

identiﬁed “at least two metrics: how and why the regulations burden a law-

abiding citizen’s right to armed self-defense.” Id. at 2132–33. Thus, under the

more nuanced approach, “whether modern and historical regulations impose a

comparable burden on the right of armed self-defense and whether that burden

is comparably justiﬁed are ‘central’ considerations when engaging in an

analogical inquiry.” Id. at 2133 (quoting McDonald, 561 U.S. at 767).

      Bruen emphasized that “analogical reasoning . . . is neither a regulatory

straightjacket nor a regulatory blank check.” Id. A court should not uphold

modern laws simply because they remotely resemble historical outliers. Id.

Conversely, a court should not search in vain for a “historical twin”; “a well-

established and representative historical analogue” is suﬃcient. Id. Thus, “even if

a modern-day regulation is not a dead ringer for historical precursors, it still may

be analogous enough to pass constitutional muster.” Id. As an “example” of

how modern regulations can be justiﬁed through analogical historical analysis,

Bruen analogized regulations regarding schools and government buildings to



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more historically precedented “sensitive place” regulations regarding legislative

assemblies, polling places, and courthouses:

             Consider, for example, Heller’s discussion of
             “longstanding” “laws forbidding the carrying of
             ﬁrearms in sensitive places such as schools and
             government buildings.” 554 U.S. at 626. Although the
             historical record yields relatively few 18th- and 19th-
             century “sensitive places” where weapons were
             altogether prohibited–e.g., legislative assemblies, polling
             places, and courthouses–we are also aware of no
             disputes regarding the lawfulness of such prohibitions.
             See D. Kopel & J. Greenlee, The “Sensitive Places”
             Doctrine, 13 CHARLESTON L. REV. 205, 229–236, 244–247
             (2018); see also Brief for Independent Institute as Amicus
             Curiae 11–17. We therefore can assume it settled that
             these locations were “sensitive places” where arms
             carrying could be prohibited consistent with the Second
             Amendment. And courts can use analogies to those
             historical regulations of “sensitive places” to determine
             that modern regulations prohibiting the carry of ﬁrearms
             in new and analogous sensitive places are
             constitutionally permissible.

Id.

      Sixth, just as the existence vel non of a distinctly similar historical regulation

is not dispositive, it is likewise not dispositive whether comparable historical

regulations exist in signiﬁcant numbers. The Bruen court’s rejection of certain

historical analogues due to the “miniscule territorial populations who would

have lived under them” occurred in the exceptional context of a regulation that


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“‘contradic[ted] the overwhelming weight’ of other, more contemporaneous

historical evidence.” Id. at 2154–55 (quoting Heller, 554 U.S. at 632). In less

exceptional contexts lacking such countervailing historical evidence, the absence

in other jurisdictions of positive legislation distinctly similar to a proﬀered

historical analogue does not command the inference that legislators there

deemed such a regulation inconsistent with the right to bear arms. In a similar

vein, while evidence that “some jurisdictions actually attempted to enact

analogous regulations” that “were rejected on constitutional grounds . . . surely

would provide some probative evidence of constitutionality,” Id. at 2131, the lack

of any “disputes regarding the lawfulness of such prohibitions” may lead to the

inference that it was “settled” that states could prohibit or regulate arms in that

manner “consistent with the Second Amendment.” Id. at 2133.

      Consider, for example, Bruen’s reference to legislative assemblies, polling

places, and courthouses. In ﬁnding those places supported by the historical

record, Bruen cited a law review article and amicus curiae brief that cited a few

laws existing around the time of the adoption of the Second Amendment.

Amicus curiae, for example, cited one law prohibiting arms at legislative

assemblies, see 1647 Md. Laws 216; two laws prohibiting arms at polling places,



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see Del. Const. of 1776, art. 28; 1787 N.Y. Laws 345; and one law prohibiting arms

in courthouses, see 1786 Va. Acts 33, ch.21. Although the law review article

treated those laws as aberrational, see Kopel & Greenlee, supra, at 235–36, the

Bruen Court examined those few prohibitions in context and explained that it

was “aware of no disputes regarding the lawfulness of such prohibitions,” 142 S.

Ct. at 2133. Thus, depending on the historical context, comparable historical

laws need not proliferate to justify a modern prohibition. 11

       Seventh, as we noted above, the right to keep and bear arms is applicable

to the States through the Fourteenth Amendment, see McDonald, 561 U.S. at 750,

which was adopted in 1868. Acknowledging as much, however, Bruen expressly

declined to decide “whether courts should primarily rely on the prevailing

understanding of an individual right when the Fourteenth Amendment was

ratiﬁed in 1868 when deﬁning its scope.” 142 S. Ct. at 2138.




       11 While the law review article also cited several more 19th-century and Reconstruction
Era laws supporting prohibitions at polling places and courthouses, see Kopel & Greenlee, supra,
at 245–47, Bruen’s analysis was independent of those laws, cf. 142 S. Ct. at 2138 (declining to
address “whether courts should primarily rely on the prevailing understanding of” the right to
keep and bear arms from around 1791 (the Second Amendment’s ratiﬁcation) or 1868 (the
Fourteenth Amendment’s ratiﬁcation)). And, to the extent Bruen did rely on those later
prohibitions, that conﬁrms our conclusion that courts–rather than ignoring laws because they
are “too old” or not “old enough”–should consider this Nation’s whole tradition.

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       Because the CCIA is a state law, the prevailing understanding of the right

to bear arms in 1868 and 1791 are both focal points of our analysis. See Bruen,

142 S. Ct. at 2136 (“Constitutional rights are enshrined with the scope they were

understood to have when the people adopted them.” (quoting Heller, 554 U.S. at

634–35)); McDonald, 561 U.S. at 778 (plurality opinion) (“[I]t is clear that the

Framers and ratiﬁers of the Fourteenth Amendment counted the right to keep and

bear arms among those fundamental rights necessary to our system of ordered

liberty.” (emphasis added)). The time periods in close proximity to 1791 and

1868 are also relevant to our analysis. True, the farther we depart from these key

dates, the greater the chance we stray from the original meaning of the

constitutional text. See Bruen, 142 S. Ct. at 2137. Nevertheless, it is implausible

that the public understanding of a fundamental liberty would arise at a historical

moment, rather than over the preceding era. 12 And it is implausible that such

public understanding would promptly dissipate whenever that era gave way to

another. In this way, sources from the time periods close around these dates



       12 Although this may suggest that the values articulated in Bruen would tolerate
reference to a more expansive sweep of time, we are careful to limit our analysis to the two
relevant historical moments and the periods close around them. See 142 S. Ct. at 2136 (“[W]e
must also guard against giving postenactment history more weight than it can rightly bear.”).
This is a useful discipline, and maybe necessary, for thinking about the Second Amendment in a
way that avoids inconsistency, cherry-picking, and special pleading.

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“illuminat[e] the understanding of those steeped in the contemporary

understanding of a constitutional provision.” Duncan v. Bonta, 83 F.4th 803, 819

(9th Cir. Oct. 10, 2023) (Butamay, J., dissenting).

        “McDonald conﬁrms” that understanding. Ezell, 651 F.3d 684, 702 (7th Cir.

2011). As some scholars urged the Court to do, 13 the McDonald plurality looked

to evidence of the pre-Civil War and Reconstruction Eras to hold that right to

keep and bear arms was a fundamental right fully applicable to the States. See

561 U.S. at 770–78 (plurality opinion). In so holding, the plurality gave particular

emphasis to how “the Framers and ratiﬁers of the Fourteenth Amendment counted

the right to keep and bear arms among those fundamental rights necessary to our

system of ordered liberty.” Id. at 778 (emphasis added). It would be

incongruous to deem the right to keep and bear arms fully applicable to the




       13 See Josh Blackman & Ilya Shapiro, Keeping Pandora’s Box Sealed: Privileges or Immunities,
the Constitution in 2020, and Properly Extending the Right to Keep and Bear Arms to the States, 8 GEO.
J.L. & PUB. POL’Y 1, 52 (2010) (“Analyzing the meaning of the right to keep and bear arms in 1791
was proper in Heller, because the Second Amendment in that case only applied to the federal
government. In McDonald, however, the key year is 1868, and the Court should look at evidence
from the time of Reconstruction, not the time of the Revolution.”); Steven G. Calabresi & Sarah
E. Agudo, Individual Rights Under State Constitutions When the Fourteenth Amendment Was Ratiﬁed
in 1868: What Rights Are Deeply Rooted in American History and Tradition?, 87 TEX. L. REV. 7, 115–
16 (2008) (“We think [Akhil] Amar is exactly right that for those wondering about incorporation
or judicial protection against the states of unenumerated rights in federal constitutional law, the
question is controlled not by the original meaning of the ﬁrst ten Amendments in 1791 but
instead by the meaning those texts and the Fourteenth Amendment had in 1868.”).

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States by Reconstruction standards but then deﬁne its scope and limitations

exclusively by 1791 standards.

      We therefore agree with the decisions of our sister circuits – emphasizing

“the understanding that prevailed when the States adopted the Fourteenth

Amendment” – is, along with the understanding of that right held by the

founders in 1791, a relevant consideration. Bondi, 61 F.4th at 1322; see also Range

v. Att’y Gen. United States of Am., 69 F.4th 96, 112 (3d Cir. 2023) (en banc) (Ambro,

J., concurring) (observing that if the relevant period extends beyond the

Founding era, “then Founding-era regulations remain instructive unless

contradicted by something speciﬁc in the Reconstruction-era”); Drummond v.

Robinson Twp., 9 F.4th 217, 227 (3d Cir. 2021) (“[T]he question is if the Second and

Fourteenth Amendments’ ratiﬁers approved regulations barring training with

common weapons in areas where ﬁrearms practice was otherwise permitted.”

(emphasis added)); Ezell, 651 F.3d at 702, 705–06 (explaining that a “wider

historical lens” is required for a local—or state—regulation, and considering

evidence from both the Founding-era and Reconstruction).

                              LICENSING REGIME

      Plaintiﬀs’ ﬁrst set of challenges are to provisions of New York’s law

governing licensure of ﬁrearms. “New York maintains a general prohibition on

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the possession of ‘ﬁrearms’ absent a license.” Kachalsky, 701 F.3d at 85.

Individuals holding a ﬁrearm license are exempt from most (but not all) of New

York’s criminal prohibitions on ﬁrearm possession. N.Y. Penal L. § 265.20(a)(3).

“Section 400.00 of the Penal Law ‘is the exclusive statutory mechanism for the

licensing of ﬁrearms in New York State.’” Kachalsky, 701 F.3d at 85 (quoting

O’Connor v. Scarpino, 83 N.Y. 2d 919, 920 (1994)). Section 400.00 provides for

many types of ﬁrearm licenses, see generally N.Y. Penal L. § 400.00(2), but this case

focuses on “concealed carry licenses,” which allow the holder to “have and carry

[a pistol or revolver] concealed, without regard to employment or place of

possession.” Id. § 400.00(2)(f).

      Before us are facial Second Amendment challenges to four components of

New York’s ﬁrearm licensing regime:

• N.Y. Penal L. § 400.00(1)(b) — To receive a ﬁrearm license, the applicant must
   be “of good moral character.” Following the enactment of the CCIA, “good
   moral character” means “having the essential character, temperament and
   judgment necessary to be entrusted with a weapon and to use it only in a
   manner that does not endanger oneself or others.” We refer to this provision
   as the “character requirement” or “character provision.” “Good moral
   character” appears to be a prerequisite for all types of ﬁrearm licenses, but
   since both the district court and the Plaintiﬀs discuss the character
   requirement only with respect to concealed carry licenses, and since the sole
   Plaintiﬀ claiming he is injured by the licensing regime asserts a desire to



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   obtain only a concealed carry license, we conﬁne our discussion to that
   context.

• N.Y. Penal L. § 400.00(1)(o)(i) — An applicant for a concealed carry license
   must “submit to the licensing oﬃcer . . . names and contact information for
   the applicant’s current spouse, [] domestic partner, [and] any other adults
   residing in the applicant’s home, including any adult children of the
   applicant.” The applicant must further disclose “whether or not there are
   minors residing, full time or part time, in the applicant’s home.” We refer to
   this provision as the “cohabitants requirement.”

• N.Y. Penal L. § 400.00(1)(o)(iv) — An applicant for a concealed carry license
   must “submit . . . a list of former and current social media accounts of the
   applicant from the past three years to conﬁrm the information regarding the
   applicant[’]s character and conduct.” We refer to this provision as the “social
   media requirement.”

• N.Y. Penal L. § 400.00(1)(o)(v) — An applicant for a concealed carry license
   must “submit . . . such other information required by the licensing oﬃcer that
   is reasonably necessary and related to the review of the licensing application.”
   We refer to this provision as the “catch-all” requirement.

       Plaintiﬀs argue that these requirements interfere with their right to carry a

gun publicly and violate the Second Amendment because they lack a suﬃcient

basis in the “Nation’s historical tradition of ﬁrearm regulation.” Bruen, 142 S. Ct.

at 2126. The district court agreed and enjoined defendants from enforcing these

four requirements. 14


       14Plaintiﬀs challenged other aspects of the licensing regime in the district court,
including provisions that require concealed carry applicants to attend an in-person interview


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       First, we conclude that at least one Plaintiﬀ has presented a justiciable

challenge to the licensing regime. The cohabitants, social media, and “catch-all”

requirements have deterred Plaintiﬀ Lawrence Sloane from obtaining a

concealed carry license, a cognizable injury traceable to the enforcement of those

provisions and redressable by an injunction. And given the close relationship

between the disclosure requirements and the character requirement, Sloane’s

injury is attributable to the character provision itself and redressable by an

injunction against enforcement. Although a plaintiﬀ who challenges a rule that

renders him ineligible to receive a license must ﬁrst either seek a license or show

that his application would be denied, a plaintiﬀ (like Sloane) who challenges a

component of the application process itself is not required to subject himself to

that process in order to present a justiciable constitutional claim.

       Second, on the merits, we aﬃrm the district court’s injunction in part and

vacate it in part. We reject Sloane’s challenges to the character, catch-all, and

cohabitants requirements. The character requirement, we conclude, is not facially



with the licensing oﬃcer, submit a list of four character references, and complete 18 hours of in-
person ﬁrearms training. The district court concluded that Plaintiﬀs had not demonstrated
substantial likelihood of success on these claims and accordingly denied preliminary relief with
respect to those provisions. See Antonyuk, 639 F. Supp. 3d at 307, 314, 316. Plaintiﬀs have not
cross-appealed from or otherwise challenged those rulings here, so we express no view on
them.

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unconstitutional. A reasoned denial of a carry license to a person who, if armed,

would pose a danger to themselves, others, or to the public is consistent with the

well-recognized historical tradition of preventing dangerous individuals from

possessing weapons. We do not foreclose as-applied challenges to particular

character-based denials, but the provision is not invalid in all of its applications.

      Nor does the bounded discretion aﬀorded to licensing oﬃcers by the

character provision render it invalid. On the contrary, Bruen explains that

several licensing regimes with arguably discretionary criteria identical to New

York’s are consistent with its analysis. Similarly, although it is possible that a

licensing oﬃcer could make an unconstitutional demand for information

pursuant to the catch-all, we cannot conclude that there are no questions a

licensing oﬃcer might constitutionally ask an applicant under that provision.

Since the catch-all has a “plainly legitimate sweep,” we cannot strike it down on

its face. Finally, the cohabitants requirement is consonant with the long tradition

of considering an applicant’s character and reputation when deciding whether to

issue a ﬁrearm license.

      But we aﬃrm the preliminary injunction against enforcement of the social

media requirement: although the review of public social media posts by a



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licensing oﬃcer poses no constitutional diﬃculties, requiring applicants to

disclose even pseudonymous names under which they post online imposes an

impermissible infringement on Second Amendment rights that is unsupported

by analogues in the historical record and moreover presents serious First

Amendment concerns.

I.    Standing

      We must ﬁrst consider our jurisdiction. E.g., Sinochem Int’l Co. v. Malaysia

Int’l Shipping Corp., 549 U.S. 422, 430–31 (2007). Article III courts have power to

decide only “Cases” or “Controversies.” U.S. CONST. art. III, § 2, cl. 1. “‘The

doctrine of standing gives meaning to these constitutional limits,’ by requiring a

plaintiﬀ to ‘allege such a personal stake in the outcome of the controversy as to

warrant his invocation of federal-court jurisdiction and to justify exercise of the

court’s remedial powers on his behalf.’” Knife Rights, Inc. v. Vance, 802 F.3d 377,

383 (2d Cir. 2015) (alteration adopted) (ﬁrst quoting Susan B. Anthony List v.

Driehaus, 573 U.S. 149, 157 (2014); then quoting Warth v. Seldin, 422 U.S. 490, 498–

99 (1975)). “To establish Article III standing, a plaintiﬀ must have ‘(1) suﬀered an

injury in fact, (2) that is fairly traceable to the challenged conduct of the

defendant, and (3) that is likely to be redressed by a favorable judicial decision.’”



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Silva v. Farrish, 47 F.4th 78, 86 (2d Cir. 2022) (quoting Spokeo, Inc. v. Robins, 578

U.S. 330, 338 (2016)).

      Lawrence Sloane, a Plaintiﬀ in the Antonyuk case, is the sole Plaintiﬀ in the

cases before us who claims standing to challenge New York’s licensing regime.

Sloane avers that he has long wanted to obtain a New York concealed carry

license and “intended to apply for [his] carry license” after the Supreme Court

decided Bruen. J.A. 144 (Sloane Decl. ¶¶ 3–4). But the CCIA caused him to

reconsider because he is unwilling to “provide the government of New York with

information about [his] family[] on the carry license application,” id. at 146

(Sloane Decl. ¶ 10); to submit “information about [his] associates, so some

licensing oﬃcial can interrogate them about [his] life,” id. at 147 (Sloane Decl.

¶ 16); or to “turn over [his] ‘social media’ . . . to the government[] as a condition

of applying for a license,” lest he be forced to “self-censor . . . knowing that the

state’s prying anti-gun eye is looking over [his] shoulder,” id. at 145 (Sloane Decl.

¶¶ 8–9). He also objects to the required interview with the licensing oﬃcer

“because there do not appear to be any limits on the questions [he can be]

asked,” an objection we understand as relating also to the oﬃcer’s ability to

request supplemental information pursuant to the catch-all disclosure



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requirement. Id. at 147 (Sloane Decl. ¶ 17). Sloane does not have the option to

omit this information, as incomplete applications “will not be processed.” Id. at

148 (Sloane Decl. ¶ 21 & n.2) (quoting Onondaga County Sheriﬀ’s website). But

“[i]f these unconstitutional requirements were removed from the application,”

Sloane declares, he “would immediately submit [an] application for a concealed

carry license, something [he] greatly desire[s] to obtain and, but for the CCIA’s

unconstitutional demands, [he] would seek to obtain.” Id. at 151 (Sloane Decl.

¶ 30).

         Sloane has standing to challenge the disclosure requirements (which for

standing purposes we assume to be unconstitutional) based on these averments.

Sloane is deterred from seeking—and thereby prevented from obtaining—a

concealed carry license; he is injured by the consequent inability to exercise his

Second Amendment rights; that injury is traceable to the defendants’

enforcement of these provisions (their refusal to process applications omitting

the required information); and the injury is redressable by the injunction that

Sloane seeks, because he would apply if the requirements were stricken.

         True, Sloane’s injury stems from his own unwillingness to comply with the

challenged requirements; but so long as the interest at stake is cognizable (as



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Sloane’s interest in carrying a ﬁrearm surely is), a plaintiﬀ suﬀers an injury-in-

fact if the defendant’s allegedly unlawful conduct impairs that interest, even if it

does so by deterring the plaintiﬀ due to his individual, but reasonable,

sensibilities. In Friends of the Earth, Inc. v. Laidlaw Environmental Services. (TOC),

Inc., 528 U.S. 167 (2000), members of an environmental organization had

standing to sue the operator of a wastewater treatment plant for discharging

contaminants. Plaintiﬀs who wanted to visit the river for recreation had become

unwilling to do so because of their own anxiety about the defendant’s pollution.

See id. at 181–83. The Court explained that the plaintiﬀs had a cognizable interest

in their enjoyment and use of the river, and “Laidlaw’s discharges . . . directly

aﬀected those aﬃants’ recreational, aesthetic, and economic interests” by way of

their “reasonable concerns about the eﬀects of those discharges.” Id. at 183–84.

Since the plaintiﬀs had alleged that “they would use the [river] for recreation if

Laidlaw were not discharging pollutants into it,” they had Article III standing.

Id. at 184.

       Sloane has standing with respect to the three disclosure requirements

because defendants’ enforcement of the (allegedly unlawful) requirements

impairs Sloane’s interest in obtaining a license by deterring him from applying.



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However, the character requirement presents a slightly diﬀerent question: rather

than being a component of the application itself, the character provision

determines who can receive a concealed carry license. And it is unclear at best

whether Sloane is deterred by the character requirement itself, as opposed to the

investigation it might prompt.

       But the CCIA’s character requirement is inextricable from its disclosure

requirements. The State explains that the required disclosures are solely

“intended to inform a licensing oﬃcer’s assessment of good moral character”—

they merely implement the character requirement. Antonyuk Nigrelli Br. at 29. 15

Sloane’s injury is thereby traceable to the character requirement itself, even if he

is directly deterred only by the disclosure requirements. And an injunction

against considering “good moral character” would redress Sloane’s injury: if

character ceased to determine the licensing decision, the State would have no

reason for the invasive inquiries that deter Sloane from applying for a license.

See J.A. 145–47 (Sloane Decl. ¶¶ 9, 10, 15). Thus, in these particular circumstances

and on the record before us, we can decide his claims on the merits because we




       15 The appellants in Antonyuk ﬁled two briefs: one on behalf of former defendant Nigrelli
and defendant Doran, and one on behalf of defendant Cecile. We cite the former as “Antonyuk
Nigrelli Br.” and the latter as “Antonyuk Cecile Br.”

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are satisﬁed that Sloane is suﬀering a cognizable injury that is traceable to the

challenged provisions and redressable by the injunction he seeks.

      Unsurprisingly, the State sees things diﬀerently. Relying on our decisions

in United States v. Decastro, 682 F.3d 160 (2d Cir. 2012), and Libertarian Party of Erie

County, the State contends that a litigant who wishes to challenge a licensing

regime must either apply for a license and be denied or make a substantial

showing that his application would be futile. But challenging a rule that limits

eligibility for a license is diﬀerent from challenging a component of the

application process itself. This case is an example of the latter, while the Decastro

rule governs only the former.

      In Decastro, the criminal defendant challenged his conviction for unlawful

transport of a ﬁrearm across state lines: New York’s licensing regime was so

restrictive, he argued, that the only way he could exercise his Second

Amendment rights was to purchase a gun in another state and bring it into New

York. See 682 F.3d at 163–64. We treated his claim as “tantamount to a challenge

to [New York’s licensing] scheme” on the theory that the New York regime was

“constitutionally defective” because it barred too many individuals from gun

ownership. Id. Given the nature of this claim, we concluded that he “lack[ed]



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standing to challenge the licensing laws of the state” because he had failed to

show that he was one of those individuals rendered ineligible for a permit, i.e.,

that he had been or would have been denied a license under the allegedly-

unconstitutional rules. 16 Id. at 164; cf. id. at 163 (“‘[A] person to whom a statute

may constitutionally be applied will not be heard to challenge that statute on the

ground that it may conceivably be applied unconstitutionally to others.’”

(quoting Parker v. Levy, 417 U.S. 733, 759 (1974)). We applied Decastro to

conceptually identical claims in Libertarian Party, in which the plaintiﬀs argued

that New York had impermissibly restricted eligibility for ﬁrearm licenses. See

970 F.3d at 114–15. But since many of the plaintiﬀs had neither applied for

licenses nor demonstrated futility, we dismissed their claims for lack of standing.

Id. at 121–22.




       16  Decastro can be read as a case about injury—and failure to apply for a license is
sometimes best understood that way—but Decastro’s criminal conviction surely qualiﬁed as an
Article III injury-in-fact. Instead, we understand his standing to have faltered on traceability:
his refusal to use the state’s licensing procedure severed the causal chain connecting the
challenged rule to his conviction. Similarly, Jackson-Bey v. Hanslmaier, 115 F.3d 1091 (2d Cir.
1997)—a case on which Decastro and many other decisions in this area rely—also sounds in
traceability. There, a prison had forbidden an inmate from wearing certain religious garb to his
father’s funeral. We acknowledged that while the plaintiﬀ had been injured, he lacked standing
because he had neither registered his religious aﬃliation (enabling him to wear the garb) or
shown that such registration would have been futile. Accordingly, any injury was traceable not
to the defendants but to “his own decision not to follow the simple procedure of registering his
religion.” 115 F.3d at 1095.

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      Decastro governs only challenges to a licensing rule regarding eligibility.

Bruen also exempliﬁes this sort of challenge: the plaintiﬀs asserted a desire (and

right) to carry a gun publicly, sought a license to do so, and were denied based

on an eligibility rule—the proper cause requirement—which they alleged was

unconstitutionally restrictive. See Bruen, 142 S. Ct. at 2125. Since the plaintiﬀ’s

injury in such a case stems from his personal ineligibility for a license, the

plaintiﬀ must prove up that premise either by applying for a license or by

making a substantial showing of futility. In this context, then, “futility” refers to

the outcome of the contemplated application, i.e., whether the result is

preordained. See Decastro, 682 F.3d at 164 (suﬃciency of a futility showing is

judged on whether plaintiﬀ has shown that his application would have been

denied); Bach v. Pataki, 408 F.3d 75, 82–83 (2d Cir. 2005) (application was futile

where applicant “was statutorily ineligible for [the] carry license”); Image Carrier

Corp. v. Beame, 567 F.2d 1197, 1201–02 (2d Cir. 1977) (bid for contract was futile

“since it is obvious that [the potential bidder] could not have been awarded a

contract”). The district court therefore erred in concluding that Sloane’s

application was futile because it would not have been processed in a timely




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manner. See Antonyuk, 639 F. Supp. 3d at 260. Futility refers to the denial of an

application; delays in receiving a decision do not render an application futile.

       Sloane’s challenge is of a diﬀerent type. Rather than challenge eligibility

criteria, Sloane argues that a portion of the application process is unconstitutional.

His injury ﬂows from the application itself, not from his asserted ineligibility for

a license. Indeed, he pleads the opposite: “Lawrence Sloane . . . is a law-abiding

person . . . and is (aside from not having a license) eligible to possess and carry

ﬁrearms in the state of New York.” J.A. 19 (Compl. ¶ 7). The State’s reliance on

Decastro is thus premised on its misapprehension of the nature of Sloane’s claim.

The State even asserts that “the license application ‘denial . . . is [the] distinct

injury’” whenever a plaintiﬀ challenges a licensing regime. 17 Antonyuk Nigrelli Br.

at 26 (alterations in original) (quoting Parker v. District of Columbia, 478 F.3d 370,

376 (D.C. Cir. 2007)). But when the plaintiﬀ challenges the application itself (or

as here, a portion thereof), he is not required to ﬁrst apply for and be refused a


       17 The full quote from Parker—which the Supreme Court aﬃrmed as District of Columbia
v. Heller—makes clear that the D.C. Circuit was opining on Heller’s injury, not making a blanket
statement about all licensing challenges: “[Heller] is not asserting that his injury is only a
threatened prosecution, nor is he claiming only a general right to handgun ownership; he is
asserting a right to a registration certiﬁcate, the denial of which is his distinct injury.” 478 F.3d
at 376 (emphasis added). And the D.C. Circuit was correct: Heller’s constitutional claim
centered on his ineligibility for a license and was thus akin to those in Decastro, Libertarian Party,
and Bruen. See id. (“[Heller] invoked his rights under the Second Amendment to challenge the
statutory classiﬁcations used to bar his ownership of a handgun under D.C. law.”).

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license. See Brokamp v. James, 66 F.4th 374, 387–89 (2d Cir. 2023) (no application

or futility required when mental health counselor challenged licensing

requirement as violation of First Amendment right to give counsel); Desiderio v.

National Ass’n of Securities Dealers, Inc., 191 F.3d 198, 202 (2d Cir. 1999) (would-be

securities dealers’ challenge to mandatory arbitration consent as condition to

licensure). 18

       By eliding the distinction between challenges to eligibility rules and to the

application process, the State in eﬀect argues that the only way a plaintiﬀ can

challenge an application process is to do exactly what the plaintiﬀ claims that he

may not be required to do. Such a rule contravenes common sense. An applicant

who challenges an application itself is not required to ﬁrst comply with the




       18  Desiderio and Sammon are framed in terms of ripeness rather than standing, but we
understand them to apply the same justiciability principles as failure-to-apply cases using a
standing framing. See Nat’l Org. for Marriage, Inc. v. Walsh, 714 F.3d 682, 688 (2d Cir. 2013)
(“Often, the best way to think of constitutional ripeness is as a speciﬁc application of the actual
injury aspect of Article III standing.”); 13B WRIGHT & MILLER, FED. PRAC. & PROC. JURIS.
§ 3531.12 (3d ed.) (“Although discrete names have been given to the several nominate categories
of justiciability, they are tied closely together. . . . The most direct connections run between
standing and ripeness.”). We have expressly noted that arguments of this type sound in both
standing and ripeness. Bach, 408 F.3d at 82 & n.15 (defendants’ “‘standing’ objection” regarding
plaintiﬀ’s failure to apply for license “might also be understood as a ripeness challenge”); see
also Image Carrier, 567 F.2d at 1201–02 (construing argument that plaintiﬀ “should have bid for
City work and been turned down in order to present a justiciable claim” as sounding in ripeness
instead of standing).

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objected-to component before bringing suit. Therefore, Sloane may challenge the

disclosure requirements without ﬁrst making the required disclosures.

II.    Merits

       Having assured ourselves of our jurisdiction, we consider whether the

challenged portions of New York’s licensing regime violate the Constitution.

       A.      The Character Requirement

       To recapitulate, the character requirement states that “[n]o license shall be

issued or renewed except for an applicant . . . of good moral character.” N.Y.

Penal L. § 400.00(1)(b). Since 1913, New York has required concealed carry

licensees to possess “good moral character,” 19 but this phrase was left statutorily

undeﬁned until the CCIA added the following deﬁnition: “having the essential

character, temperament and judgement necessary to be entrusted with a weapon

and to use it only in a manner that does not endanger oneself or others.” Id.

       Between them, Sloane and the district court put forward three reasons why

the character requirement is unconstitutional. First, Sloane contends that the

character requirement is, despite its century-long history, facially inconsistent




       19See 1913 N.Y. Laws ch. 608, § 1, p. 1629 (“It shall be lawful for any magistrate, upon
proof before him that the person applying therefor is of good moral character . . . to issue to
such person a license to have and carry concealed a pistol or revolver . . . .”).

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with the history and tradition of ﬁrearm regulation. Second, the district court

concluded that the discretion baked into the character provision is unsupported

by history and tradition, and is therefore impermissible. Finally, Sloane argues

that statements in Bruen categorically forbid states from conferring any discretion

on licensing oﬃcers.

      We reject all three arguments and vacate the district court’s injunction

against enforcement of the character requirement. First, the requirement is not

facially invalid because it is not unconstitutional in all its applications. The

CCIA’s deﬁnition of “character” is a proxy for dangerousness: whether the

applicant, if licensed to carry a ﬁrearm, is likely to pose a danger to himself,

others, or public safety. And there is widespread consensus (notwithstanding

some disputes at the margins) that restrictions which prevent dangerous

individuals from wielding lethal weapons are part of the nation’s tradition of

ﬁrearm regulation. We therefore cannot conclude that every denial on grounds of

“good moral character” as deﬁned by New York will violate the Second

Amendment, though various avenues lie open for as-applied challenges.

      Next, we disagree with the district court’s conclusion that aﬀording

licensing oﬃcers a modicum of discretion to grant or deny a concealed carry



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permit is inconsistent with the nation’s tradition of ﬁrearm regulation. For as

long as licensing has been used to regulate privately-owned ﬁrearms, issuance

has been based on discretionary judgments by local oﬃcials. Licensing that

includes discretion that is bounded by deﬁned standards, we conclude, is part of

this nation’s history and tradition of ﬁrearm regulation and therefore in

compliance with the Second Amendment.

      Finally, Bruen does not forbid discretion in licensing regimes—on the

contrary, the Bruen Court speciﬁcally stated that its decision did not imperil the

validity of more than a dozen licensing schemes that confer discretion materially

identical to the CCIA. At most, the Court indicated that the practical operation of

a licensing scheme is relevant to whether it is impermissibly discretionary. It

was therefore error to strike down New York’s scheme on a facial challenge.

             1.     Facial Second Amendment Challenge

      At the outset, the State argues that the character requirement does not

actually implicate the Second Amendment and therefore may be upheld without

reference to historical analysis. Bruen instructs that history is relevant only if

“the Second Amendment’s plain text covers an individual’s conduct,” 142 S. Ct.

at 2126, and this threshold inquiry requires courts to consider three issues:

whether the conduct at issue is protected, whether the weapon concerned is “in

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common use,” and whether the aﬀected individuals are “ordinary, law-abiding,

adult citizens” and thus “part of ‘the people’ whom the Second Amendment

protects.” See id. at 2134 (resolving all three of these questions before proceeding

to historical analysis). The State contends that, because the character

requirement requires only that licensees can be entrusted to wield a gun

responsibly, it does not infringe the rights of “law-abiding, responsible citizens”

and so need not be assessed for consistency with history and tradition.

       This potentially dispositive argument bears upon the scope of the Second

Amendment right. The State reasons that the character provision impairs the

ability to bear arms only of those individuals who do not have Second Amendment

rights in the ﬁrst place: the irresponsible. That is a controversial supposition.

Though the Supreme Court has suggested that “law-abiding,” “responsible,”

and/or “ordinary” individuals are protected by the Second Amendment, 20 it is far


       20  See Heller, 554 U.S. at 635 (“[W]hatever else it leaves to future evaluation, [the Second
Amendment] surely elevates above all other interests the right of law-abiding, responsible
citizens to use arms in defense of hearth and home.”); Bruen, 142 S. Ct. at 2122 (summarizing
Heller and McDonald as “recogniz[ing] that the Second and Fourteenth Amendments protect the
right of an ordinary, law-abiding citizen to possess a handgun in the home for self-defense,” and
framing its own holding as extending only that right to public carry (emphasis added)); id. at
2138 n.9 (suggesting that licensing regimes which “do not necessarily prevent ‘law-abiding,
responsible citizens’ from exercising their Second Amendment right to public carry” and
instead “are designed to ensure only that those bearing arms in the jurisdiction are, in fact, ‘law-
abiding, responsible citizens’” are consistent with Bruen’s analysis); id. at 2156 (“Nor . . . have
American governments required law-abiding, responsible citizens to [show proper cause] . . . in


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from clear whether these adjectives describe individuals who stand outside the

Second Amendment or instead those who may be disarmed consistent with that

Amendment. See Kanter v. Barr, 919 F.3d 437, 452 (7th Cir. 2019) (Barrett, J.,

dissenting) (summarizing these two positions and explaining that “one uses

history and tradition to identify the scope of the right, and the other uses that

same body of evidence to identify the scope of the legislature’s power to take it

away”). Indeed, the Fifth Circuit, the Third Circuit en banc, and then-Judge

Barrett in a Seventh Circuit dissent have advocated the latter view (contrary to

the State’s position here). See id. at 453 (Barrett, J., dissenting); Rahimi, 61 F.4th at

451–53; Range, 69 F.4th at 101–03.

       But we may resolve this appeal without opining on a tricky question with

wide-ranging implications. The character requirement has not been enforced

against a Plaintiﬀ, nor has any Plaintiﬀ alleged that he would be denied a license

on character grounds—Sloane therefore brings only a facial challenge to the




order to carry arms in public.”); see also United States v. Jimenez, 895 F.3d 228, 234–35 (2d Cir.
2018) (“The Supreme Court thus identiﬁed the core of Second Amendment protections by
reference not only to particular uses and particular weapons but also to particular persons,
namely, those who are ‘law-abiding and responsible.’”); United States v. Bryant, 711 F.3d 364, 369
(2d Cir. 2013) (“We read [Heller’s] exegesis as an implicit limitation on the exercise of the Second
Amendment right to bear arms for ‘lawful purposes,’ and a limitation on ownership to that of
‘law-abiding, responsible citizens.’” (alteration adopted) (quoting Heller, 554 U.S. at 628, 630,
635)).

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character provision. See N.Y. State Riﬂe & Pistol Ass’n, Inc. v. Cuomo, 804 F.3d 242,

265 (2d Cir. 2015) (“Because plaintiﬀs pursue this ‘pre-enforcement’ appeal

before they have been charged with any violation of law, it constitutes a ‘facial,’

rather than ‘as-applied,’ challenge.”) And even assuming that the character

requirement does impair Second Amendment rights, Sloane has failed to

demonstrate that it is unconstitutional on its face.

      “[C]lassifying a lawsuit as facial or as-applied aﬀects the extent to which

the invalidity of the challenged law must be demonstrated . . . .” Bucklew v.

Precythe, 587 U.S. ----, 139 S. Ct. 1112, 1127 (2019). To mount a successful facial

challenge, the plaintiﬀ “must ‘establish that no set of circumstances exists under

which the [law] would be valid,’ or show that the law lacks ‘a plainly legitimate

sweep.’” Ams. for Prosperity Found. v. Bonta, 594 U.S. ----, 141 S. Ct. 2373, 2387

(2021) (alteration in original) (ﬁrst quoting United States v. Salerno, 481 U.S. 739,

745 (1987); then quoting Wash. State Grange v. Wash. State Republican Party, 552

U.S. 442, 449 (2008)). In other words, “[a] facial challenge is really just a claim

that the law or policy at issue is unconstitutional in all its applications.” Bucklew,

139 S. Ct. at 1127; accord Cmty. Hous. Improvement Program v. City of New York, 59

F.4th 540, 548 (2d Cir. 2023). For this reason, facial challenges are “the most



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diﬃcult to mount successfully.” City of Los Angeles v. Patel, 576 U.S. 409, 415

(2015) (alteration adopted and quotation omitted).

       There are applications of the character provision that would be

constitutional. The Second Amendment does not preclude states from denying a

concealed-carry license based on a reasoned determination that the applicant, if

permitted to wield a lethal weapon, would pose a danger to himself, others, or to

public safety. There is widespread agreement among both courts of appeals and

scholars that restrictions forbidding dangerous individuals from carrying guns

comport with “this Nation’s historical tradition of ﬁrearm regulation,” Bruen, 142

S. Ct. at 2126. Indeed, the Supreme Court has repeatedly admonished that the

Second Amendment protects the rights of law-abiding and responsible citizens 21

and has approved of “shall-issue” licensing regimes that deny ﬁrearms licenses

to individuals who lack good moral character in the sense that they are not law-

abiding and responsible and pose a danger to the community if licensed to carry




       21 See Heller, 554 U.S. at 635 (“[W]hatever else [the Second Amendment] leaves to future
evaluation, it surely elevates above all other interests the right of law-abiding, responsible
citizens to use arms in defense of hearth and home.”); Bruen, 142 S. Ct. at 2122, 2135 (“[T]he
Second and Fourteenth Amendments protect the right of an ordinary, law-abiding citizen to
possess a handgun in the home for self-defense . . . [and] publicly for their self-defense.”).

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ﬁrearms in public. 22 The Court’s statements reﬂect a recognition that such

regulations are not inherently inconsistent with the Second Amendment or our

historical traditions. Whether the relevant tradition is limited to dangerousness,

or more broadly permits the disarmament of all law-breakers or “unvirtuous”

individuals is the subject of considerable debate, but the use of dangerousness as

a disqualiﬁer does not appear controversial. 23 However this tradition is


       22 Bruen, 142 S. Ct. at 2138 n.9 (“[N]othing in our analysis should be interpreted to
suggest the unconstitutionality of the 43 States’ ‘shall-issue’ licensing regimes” as “they do not
necessarily prevent ‘law-abiding, responsible citizens’ from exercising their Second Amendment
right to public carry” and “are designed to ensure only that those bearing arms in the
jurisdiction are, in fact, ‘law-abiding, responsible citizens.’”) (quoting Heller, 554 U.S. at 635).
       23  Compare Kanter, 919 F.3d at 451, 454–64 (Barrett, J., dissenting) (“History is consistent
with common sense: it demonstrates that legislatures have the power to prohibit dangerous
people from possessing guns. But that power extends only to people who are dangerous.”);
Binderup, 836 F.3d at 369 (Hardiman, J., concurring in part and concurring in the judgments)
(“[T]he public understanding of the scope of the Second Amendment was tethered to the
principle that the Constitution permitted the dispossession of persons who demonstrated that
they would present a danger to the public if armed.”); Folajtar v. Att’y Gen. of the U.S., 980 F.3d
897, 914 (3d Cir. 2020) (Bibas, J., dissenting) (similar); Range, 69 F.4th at 110 (Ambro, J.,
concurring) (federal prohibition on felons possessing guns is constitutional in almost all
applications “because it ﬁts within our Nation’s history and tradition of disarming those
persons who legislatures believed would, if armed, pose a threat to the orderly functioning of
society”); Joseph G.S. Greenlee, The Historical Justiﬁcation for Prohibiting Dangerous Persons from
Possessing Arms, 20 WYO. L. REV. 249 (2020), with United States v. Jackson, 69 F.4th 495, 502–05 (8th
Cir. 2023) (describing this debate and holding that either view supports the federal prohibition
on all felons possessing guns: “[L]egislatures traditionally employed status-based restrictions to
disqualify categories of persons from possessing ﬁrearms. Whether those actions are best
characterized as restrictions on persons who deviated from legal norms or persons who
presented an unacceptable risk of dangerousness, Congress acted within the historical tradition
when it enacted § 922(g)(1) and the prohibition on possession of ﬁrearms by felons.”); Range v.
Att’y Gen. of U.S., 53 F.4th 262, 273–74 (3d Cir. 2022), rev’d en banc 69 F.4th 96 (3d Cir. 2023)
(concluding that the Second Amendment permits disarmament not just of dangerous
individuals but also “those who have demonstrated disregard for the rule of law through the


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characterized, the Supreme Court’s approving references to “good moral

character” licensing requirements, as imposed in states with requirements that

deﬁne “good moral character” essentially as New York now deﬁnes it,

demonstrate that such requirements are permissible. 24

       Such dangerousness is the core of New York’s character requirement, as

clariﬁed in the CCIA. The gravamen of the “character” inquiry is whether the




commission of felony and felony-equivalent oﬀenses, whether or not those crimes are violent.”);
Binderup, 836 F.3d at 348 (lead opinion) (“People who have committed or are likely to commit
‘violent oﬀenses’ . . . undoubtedly qualify as ‘unvirtuous citizens’ who lack Second Amendment
rights. . . . The category of ‘unvirtuous citizens’ is . . . broader than violent criminals; it covers
any person who has committed a serious criminal oﬀense, violent or nonviolent.”); United States
v. Carpio-Leon, 701 F.3d 974, 979–80 (4th Cir. 2012) (characterizing tradition in terms of
“virtuousness”); United States v. Yancey, 621 F.3d 681, 684–85 (7th Cir. 2010) (same); United States
v. Vongxay, 594 F.3d 1111, 1118 (9th Cir. 2010) (same); Saul Cornell & Nathan DeDino, A Well
Regulated Right: The Early American Origins of Gun Control, 73 FORDHAM L. REV. 487, 491–92
(2004); Glenn Harlan Reynolds, A Critical Guide to the Second Amendment, 62 TENN. L. REV. 461,
480 (1995); Don B. Kates, Jr., The Second Amendment: A Dialogue, LAW & CONTEMP. PROBS., Winter
1986, at 143, 146. See also Petition for Writ of Certiorari at 8–11, United States v. Rahimi, No. 22-
915 (S. Ct. Mar. 17, 2023) (expressing the federal government’s view that “the Second
Amendment allows the government to disarm dangerous individuals—that is, those who
would pose a serious risk of harm to themselves or to others if allowed to possess a ﬁrearm”).
       24  For this reason, we disagree with the Fourth Circuit’s conclusion in Maryland Shall
Issue, Inc. v. Moore, -- F.4th --, 2023 WL 8043827 (4th Cir. Nov. 21, 2023), that ﬁrearm licensing
regimes based on a determination of “dangerousness” are constitutionally impermissible. The
majority’s conclusion, by “invalidating an entire shall-issue statute as facially unconstitutional
without any discussion [of] whether the statute’s requirements infringe every permit
applicant’s constitutional rights, . . . runs directly against Bruen’s clear guidance on shall-issue
regimes.” Id. at *15 (Kennan, J., dissenting). We ﬁnd it especially diﬃcult to square the court’s
conclusion that a thirty-day review period is per se an unconstitutional temporary deprivation
of Second Amendment rights, Moore, 2023 WL 8043827 at *9, with Bruen’s contrasting
statements that “lengthy wait times . . . [would] deny ordinary citizens their right to public
carry.” 142 S. Ct. at 2138 n.9 (emphasis added).

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applicant can “be entrusted with a weapon and to use it only in a manner that

does not endanger oneself or others.” N.Y. Penal L. § 400.00(1)(b) (emphasis

added). The denial of a license to an individual deemed likely to pose such a

danger (by, for instance, using a weapon unlawfully against another or by

refusing to take safety precautions) is an application squarely within the

provision’s heartland. Such a denial would clearly fall within the historical

tradition of preventing dangerous individuals from carrying guns. Since at least

some possible applications of the character requirement would not violate the

Constitution, it is not unconstitutional on its face.

      The district court eﬀectively acknowledged as much, concluding that it

would be constitutional to deny a license to “applicants who have been found,

based on their past conduct, to be likely to use the weapon in a manner that

would injure themselves or others (other than in self-defense).” Antonyuk, 639 F.

Supp. 3d at 305. The court found that the provision was facially invalid because

of the possibility of license denials in other situations that the court deemed

unconstitutional. Id. That does not support a facial challenge. The denials the

district court described as constitutional are likely (at least) applications of the

character provision as enacted; the prospect that the scheme might also permit a



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licensing oﬃcer to deny a license unconstitutionally is insuﬃcient to strike the

provision down in all of its applications.

      The district court’s reasoning seems to rely in part on its view that Bruen

“create[d]” an “exception” to the normal rules regarding facial and as-applied

challenges, wherein it would “defy [the Bruen] standard for [a court] to ﬁnd that

such a law is inconsistent with history and tradition, just to watch it be saved by

the one possible application that makes it constitutional.” See id. at 305. We do

not agree. It is highly unlikely that the Court upended longstanding principles

of constitutional litigation by mere implication. Indeed, Bruen itself recognized

the viability of as-applied challenges to licensing regimes, see 142 S. C.t at 2138

n.9, a curious statement if the Court meant to eliminate the facial vs. as-applied

distinction in Second Amendment cases.

      Bruen was a facial challenge and proceeded accordingly. But, unlike the

character requirement here, the premise of the proper-cause rule at issue in Bruen

(that “ordinary, law-abiding, adult citizens,” 142 S. Ct. at 2134, can be prohibited

from carrying a gun if they lack a good reason to do so) was unsupported by

history and thus violated the Second Amendment. How that rule was applied in

particular cases was irrelevant given its facial constitutional ﬂaw.



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        We recognize that “good moral character” is a spongy concept susceptible

to abuse, but such abuses, should they become manifest, can still be vindicated in

court as they arise. A licensing oﬃcer who denies an application on character (or

any other) grounds must provide “a written notice to the applicant setting forth

the reasons for such denial,” N.Y. Penal L. § 400.00(4-a). A notice that does not

articulate the evidence underlying the character determination or that fails to

connect that evidence to the applicant’s untrustworthiness to responsibly carry a

gun may well be deemed arbitrary and thus subject to vacatur under Article 78 of

the New York Civil Practice Law and Rules, see N.Y. C.P.L.R. §§ 7801–06, and

possibly the Second Amendment as well. 25

        Likewise, a licensing decision that uses “good moral character” as a

smokescreen to deny licenses for impermissible reasons untethered to

dangerousness, such as the applicant’s lifestyle or political preferences, would

violate the Constitution by relying on a ground for disarmament for which there




        25It is worth mentioning that a rejected applicant can ﬁle an internal administrative
appeal of his denial. See N.Y. Penal L. § 400.00(4-a). Indeed, such an appeal is likely a
prerequisite to an Article 78 proceeding, which does not permit review of “determination[s] []
which . . . can be adequately reviewed by appeal . . . to some other body.” N.Y. C.P.L.R.
§ 7801(1); see, e.g., Essex County v. Zagata, 91 N.Y. 2d 447, 453 (1998). Similarly, it is doubtful that
a plaintiﬀ who brings a federal suit challenging an initial denial before seeking administrative
review would present a ripe case or controversy.

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is no historical basis. 26 And we further agree with Sloane (and the district court)

that it would violate the Second Amendment to deny a license because the

applicant is willing to use a weapon in lawful self-defense (and thereby be said to

“endanger . . . others”). See Antonyuk, 639 F. Supp. 3d at 299, 303 (noting this

problem). But this observation is insuﬃcient to enjoin the law. Contrary to the

district court’s views, see id. at 304 (faulting the character provision for “fail[ing]

to expressly remind the licensing oﬃcer to make an exception for actions taken in

self-defense” (emphasis omitted)), so long as the law has a “plainly legitimate

sweep”—as this one does—the law need not catalog and expressly forbid

potential abuses.

       Plaintiﬀs assume that licensing oﬃcers will act in bad faith, but facial

challenges require the opposite assumption. Permissible outcomes are possible

(and we think likely) under the statute. “Facial challenges are disfavored”

because they “often rest on speculation,” “raise the risk of ‘premature

interpretation of statutes on the basis of factually barebones records,’” and



       26 We also leave open challenges based on a de facto pattern of denials or de jure
interpretation of the provision which impermissibly restricts the right to carry a gun in public.
Cf. Bruen, 142 S. Ct. at 2138 n.9 (“[B]ecause any permitting scheme can be put toward abusive
ends, we do not rule out constitutional challenges to shall-issue regimes where, for example,
lengthy wait times in processing license applications or exorbitant fees deny ordinary citizens
their right to public carry.”).

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“threaten to short circuit the democratic process by preventing laws embodying

the will of the people from being implemented in a manner consistent with the

Constitution.” Wash. State Grange, 552 U.S. at 450–51 (quoting Sabri v. United

States, 541 U.S. 600, 609 (2004)). These principles conﬁrm that a facial injunction

against the character provision is inappropriate at this stage.

             2.    Historical Challenge to Licensing Oﬃcer Discretion

      The district court deemed the character requirement facially invalid for a

further reason: that the statutorily bounded discretion baked into the provision is

inconsistent with the history of ﬁrearm regulation in the United States and thus

violates the Second Amendment. See Antonyuk, 639 F. Supp. at 301–02. We

disagree as a matter of historical fact. For as long as American jurisdictions have

issued concealed-carry-licenses, they have permitted certain individualized,

discretionary determinations by decisionmakers.

      It is important at the outset to be clear about the possible meanings of the

term “discretion.” Professor Ronald Dworkin long ago distinguished between

strong and weak senses of the term. He emphasized that discretion “does not

exist except as an area left open by a surrounding belt of restriction. It is

therefore a relative concept. It always makes sense to ask ‘Discretion under

which standards?’” Ronald Dworkin, Taking Rights Seriously 31 (1977). A

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statutory scheme that gave oﬃcials discretion in the strong sense, such that they

could grant or deny licenses as they saw ﬁt, would plainly not pass muster. But

almost any regime that describes standards that must be applied to a wide

variety of individual cases creates a certain bounded area of discretion, in a

weaker sense, in determining whether those standards are met. As the Supreme

Court recognized in Bruen, licensing statutes that require “good moral

character,” deﬁned in terms of a person’s ability to carry weapons without

creating danger to themselves or others based on whether they are law abiding

and responsible persons, are permissible, even if they inevitably rely on the

judgment of the licensing authorities in determining whether than criterion has

been met. As we explain below, moreover, statutes that grant that kind of

limited discretion in applying deﬁned criteria are consistent with our tradition of

ﬁrearms regulation.

      The State has identiﬁed ﬁrearm licensing schemes from the years

immediately following ratiﬁcation of the Fourteenth Amendment that authorized

a local oﬃcial to issue permits in his limited discretion without the kind of




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objective criteria the district court deemed necessary. 27 There are a lot of them. 28

Many schemes omit criteria altogether, requiring only “written permission from

the mayor,” 29 or a “special written permit from the Superior Court.” 30 See, e.g.,

Helena, Mont., Ordinance No. 43: Concealed Weapons, § 1 (June 14, 1883), in The

Charter and Ordinances of the City of Helena, Montana 103–04 (Alexander C. Botkin

ed., 1887); Fresno, Cal., Ordinance No. 6, § 25 (Nov. 5, 1885), printed in The Fresno

Weekly Republican, Nov. 7, 1885, at 3; Monterey, Cal., Ordinance No. 49: To

Prohibit the Carrying of Concealed Weapons, § 1 (Jan. 5, 1892), printed in The

Ordinances of the City of Monterey 112 (1913).



       27 As we explained supra, evidence from Reconstruction regarding the scope of the right
to bear arms incorporated by the Fourteenth Amendment is at least as relevant as evidence from
the Founding Era regarding the Second Amendment itself. The period of relevance extends
past 1868 itself. Laws enacted in 1878 or even 1888 were likely drafted or voted on by members
of the same generation that ratiﬁed the Fourteenth Amendment and thus remain probative as to
the meaning of that Amendment.
       28 The State—and this Court—relies on and incorporates by reference the catalog of 43
licensing ordinances compiled in an amicus brief ﬁled with the Supreme Court in Bruen by
historian Patrick J. Charles. See Brief of Amicus Curiae Patrick J. Charles in Support of Neither
Party, App’x 1, N.Y. State Riﬂe and Pistol Ass’n v. Bruen, 142 S. Ct. 2111 (2022) (No. 20-843)
(hereinafter, “Charles Amicus Br.”). We cite only a sample of Mr. Charles’s list, which he in
turn represents to be “only a sample of the nearly 300 laws governing the carrying of concealed
and dangerous weapons that [he] has researched.” Id. at App’x 1. We also note a (partially co-
extensive) list of discretionary city licensing regimes in Patrick J. Charles, The Faces of the Second
Amendment Outside the Home, Take Two: How We Got Here and Why It Matters, 64 CLEV. ST. L. REV.
373, 419 n.245 (2016).
       29   THE MUNICIPAL CODE OF ST. LOUIS § 8 (1881).
        Spokane, Wash., Ordinance No. A544, § 1 (Jan. 2, 1895), reprinted in THE MUNICIPAL
       30

CODE OF THE CITY OF SPOKANE, WASHINGTON 309–10 (Rose M. Denny ed., 1896).

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      Other schemes placed limits on eligibility that embedded a certain amount

of discretion. For instance, an inﬂuential scheme in California authorized “[t]he

Police Commissioners [to] grant written permission to [certain] peaceable

person[s] . . . to carry concealed deadly weapons for [their] own protection.” San

Francisco, Cal., Order No. 1,226: Prohibiting the Carrying of Concealed Deadly

Weapons § 1 (July 9, 1875), reprinted in SAN FRANCISCO MUNICIPAL REPORTS 886

(1875); accord, e.g., Sacramento, Cal., Ordinance No. 84: Prohibiting the Carrying

of Concealed Deadly Weapons, Apr. 24, 1876, reprinted in CHARTER AND

ORDINANCES OF THE CITY OF SACRAMENTO 173 (R.M. Clarken ed., 1896); Oakland,

Cal., Ordinance No. 1141: An Ordinance to Prohibit the Carrying of Concealed

Weapons, § 1 (May 15, 1890), reprinted in GENERAL MUNICIPAL ORDINANCES OF

THE CITY OF OAKLAND, CAL. (Fred L. Burton ed., 1895). Indeed, the United States


Congress enacted a similar scheme in 1892. See An Act to Punish the Carrying or

Selling of Deadly or Dangerous Weapons Within the District of Columbia, and

for Other Purposes, 27 Stat. 116, 116–17, ch. 159 (1892).

      The State draws special attention to the history of discretionary licensing

regimes in New York. Decades before the state-wide Sullivan Act in 1911,

localities from around New York were enacting permitting schemes that



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depended on individualized assessments by local oﬃcials. See, e.g., J.A. 441–42

(New York, N.Y., An Ordinance to Regulate the Carrying of Pistols in the City of

New York, § 2 (Feb. 12, 1878), printed in PROCEEDINGS OF THE BOARD OF

ALDERMEN OF THE CITY OF NEW YORK 612–16 (1878)) (“1878 New York

Ordinance”) (“Any person . . . who has occasion to carry a pistol for his

protection, may apply of the oﬃcer in command at the station-house of the

precinct where he resides, and such oﬃcer, if satisﬁed that the applicant is a

proper and law-abiding person, shall give said person a recommendation to the

Superintendent of Police . . . who shall issue a permit to the said person allowing

him to carry a pistol of any description.”); J.A. 475 (Brooklyn, N.Y., Ordinance to

Regulate the Carrying of Pistols, §§ 2, 4 (Oct. 25, 1880), printed in BROOKLYN

DAILY EAGLE, Oct. 26, 1880) (“1880 Brooklyn Ordinance”) (similar); J.A. 482

(Elmira, N.Y., Oﬃcial Notice (July 18, 1892), printed in ELMIRA DAILY GAZETTE

AND FREE PRESS, July 22, 1892) (similar); J.A. 478–79 (An Act to Revise the Charter


of the City of Buﬀalo, 1891 N.Y. Laws 127, 176–77, ch. 105, § 209) (“The

superintendent [of police] may, upon application in writing, setting forth under

oath suﬃcient reasons, issue to any person a permit in writing to carry any pistol

or pistols in the city. . . . No person . . . shall, in the city, carry concealed upon or



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about his person, any pistol or revolver . . . without having ﬁrst obtained a

permit, as hereinbefore provided.”).

       These regimes were among the earliest concealed-carry-licensing schemes

enacted in the nation. 31 For as long as licenses to carry concealed weapons have

been issued in this country, the oﬃcials administering those systems have been

tasked with making individualized assessments of each applicant. See also

Clayton E. Cramer & David B. Kopel, Shall Issue: The New Wave of Concealed

Handgun Permit Laws, 62 TENN. L. REV. 679, 681 (1995) (noting that the ﬁrst

permitting statutes “were broadly discretionary; while the law might specify

certain minimum standards for obtaining a permit, the decision whether a permit

should be issued was not regulated by express statutory standards”). Nor was

discretionary licensing a transient measure: cities and states continued enacting

such schemes into the early-twentieth century and beyond. See generally Charles




       31   Licensing schemes were a post-Civil War phenomenon. E.g., Brief of Amici Curiae
Profs. of Hist. & L. in Supp. of Resps. at 22, N.Y. State Riﬂe and Pistol Ass’n v. Bruen, 142 S. Ct.
2111 (2022) (No. 20-843) (hereinafter, “Profs.’ Amicus Br.”) (“In the latter half of the nineteenth
century, many municipalities also began to enact licensing schemes, pursuant to which
individuals had to obtain permission to carry dangerous weapons in public.”); Charles Amicus
Br. at 7–9; Saul Cornell, History and Tradition or Fantasy and Fiction: Which Version of the Past Will
the Supreme Court Choose in NYSRPA v. Bruen?, 49 HASTINGS CONST. L.Q. 145, 168–71 (2022). See
also infra.

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Amicus Br. at 13–17 & App’x 2. 32 Indeed, the record thus suggests that the kind

of purely “objective” licensing scheme which the district court deemed required

by history and tradition is in fact a historical outlier. 33

       The geographical breadth of licensing schemes that confer a measure of

discretion likewise demonstrates their place in “our whole experience as a


       32   Twentieth-century evidence is not as probative as nineteenth century evidence because
it is less proximate to the ratiﬁcation of the 14th Amendment. Bruen cautions “against giving
postenactment history more weight than it can rightly bear.” 142 S. Ct. at 2136. But such laws
are not weightless. The Bruen Court’s concern was with temporally distant laws inconsistent
with prior practices. See id. at 2137 (“[P]ost-ratiﬁcation adoption or acceptance of laws that are
inconsistent with the original meaning of the constitutional text obviously cannot overcome or
alter that text.” (quotation omitted); see also id. at 2138 (“[T]o the extent later history contradicts
what the text says, the text controls.” (emphasis added)). In contrast, when laws which
otherwise might be too recent when considered in isolation nonetheless reﬂect previously
settled practices and assumptions, they remain probative as to the existence of an American
tradition of regulation.
       33  “Laws granting the authorities discretion over the issue of concealed carry permits,
‘may issue’ laws, predominated in the early post-World War II period: by 1960, only two states,
Vermont and New Hampshire, had ‘shall issue’ laws.” Richard S. Grossman & Stephen A. Lee,
May Issue Versus Shall Issue: Explaining the Pattern of Concealed Carry Handgun Laws, 1960–2001, 26
CONTEMP. ECON. POL. 198, 200 (2008); see also Robert J. Spitzer, Gun Law History in the United
States and Second Amendment Rights, 80 L. & CONTEMP. PROBS. 55, 62 (2017) (“[A]s late as 1981,
only two states of the union had loose, ‘shall issue’ carry laws . . . . Nineteen states barred
concealed gun carrying entirely, and twenty-eight states had ‘may issue’ laws, where states
have great discretion as to whether to issue carry permits. (footnotes omitted)); Cramer &
Kopel, supra, at 680 (noting that in 1995 “[a]bout one-third of all states have adopted laws or
practices . . . requir[ing] that after passing a background check (and sometimes a ﬁrearms safety
class), eligible persons must be granted [a concealed-carry] permit if they apply”).
         The district court appears to have based its conclusion that purely objective licensing
schemes are required by history on Bruen’s statement that non-discretionary licensing regimes
are dominant now. See Antonyuk, 639 F. Supp. 35 at 302 But Bruen made no historical claim
about discretionary licensing; the fact that a given form of regulation is popular now is
irrelevant to whether a diﬀerent regulation is part of the nation’s tradition of ﬁrearm regulation.
In any event, as we explain below, we count at least twenty-three licensing regimes that still call
for discretionary judgments by licensing oﬃcers.

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Nation,” Chiafalo, 140 S. Ct. at 2326 (quoting NLRB v. Noel Canning, 573 U.S. 513,

557 (2014)); see supra Background § III.E. Cities from across the country, from San

Francisco and Eureka to New York and Elmira, adopted similar discretionary

permitting schemes. That widespread adoption by diverse and distant localities

under varying circumstances suggests that these policies enjoyed broad popular

support and were understood at the time to be consistent with the Second and

Fourteenth Amendments. See Saul Cornell, The Right to Regulate Arms in the Era of

the Fourteenth Amendment: The Emergence of Good Cause Permit Schemes in Post-Civil

War America, 33 U.C. DAVIS. L. REV. ONLINE 65, 85 (2021).

      Strikingly, moreover, these laws and ordinances did not merely exist –

they appear to have existed without constitutional qualms or challenges.

Plaintiﬀs cite, and we are aware of, no case in which laws of this type were found

by courts to be inconsistent with federal or state constitutional provisions

guaranteeing the right to bear arms before the Supreme Court’s 21st century

reinvigoration of the Second Amendment in Heller. Indeed, the record not only

lacks any successful challenges to licensing schemes on such grounds, but it also

lacks any challenges at all.




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      It is unnecessary to consider whether licensing was a uniform practice in

this period, nor whether oﬃcials’ limited discretion was unanimously allowed.

Bruen instructs us to determine whether a given modern law is part of the

nation’s tradition of ﬁrearm regulation, not the sum of it. That tradition is

multiplicitous, consisting of many diﬀerent attempts to balance individual

freedom with public safety. And based on the evidence presented here, a branch

of the tradition—dating to the years immediately following the ratiﬁcation of the

Fourteenth Amendment—has employed laws that condition the ability to

lawfully carry a concealed weapon on obtaining a permit based in part on

individualized assessment by a local oﬃcial, frequently under lesser constraints

than those in the CCIA or in the very similar statutes that the Bruen Court cited

as acceptable. Given the frequency of such regulations, and the absence of

successful constitutional challenges to them, we ﬁnd it impossible to read out of

our historical tradition the longstanding and established restriction of concealed

carry licenses by those who present a danger to themselves or others, or who

otherwise cannot be characterized as “law abiding, responsible citizens” simply

because such regulations require some individualized application of a clearly

delineated standard.



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                                       *       *      *

       The district court discounted the evidence discussed above based on

categorical rules it derived from Bruen. For instance, the district court relied on

the “rule” that city ordinances are of lesser weight than state laws, Antonyuk, 639

F. Supp. 3d at 300, 306 n.81, and that the relevant laws are those that governed a

certain percentage of the nation’s population, id. at 301. 34 But Bruen merely

warns against allowing “the bare existence of . . . localized restrictions” to

“overcome the overwhelming evidence of an otherwise enduring American

tradition.” 142 S. Ct. at 2154. It does not suggest that local laws are not

persuasive in illuminating part of the nation’s tradition of ﬁrearm regulation.

Similarly, the number of people subject to a given law is only one clue to whether

said law may have been an outlier unable to refute a contrary tradition. See id. at

2154–56.

       The district court also seemed to draw strong and speciﬁc inferences from

historical silence, reasoning that, if the submitted record lacks legislation from a

particular place, it must be because the legislators there deemed such a


       34 The district court reasonably sought methodological guidance in Bruen, a challenge
undertaken only a few short months after that decision was handed down. We have no doubt
that the court’s analysis was driven by a desire to apply Bruen faithfully—we now play our part
by oﬀering further guidance for how to assess the historical record future in cases.

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regulation inconsistent with the right to bear arms. That inference is not

commanded by Bruen, nor is it sound. There are many reasons why the

historical record may not evince statutory prohibitions on a given practice. See

supra Background § III.E; see also Binderup, 836 F.3d at 369 (Hardiman, J.,

concurring in part and concurring in the judgments) (“The paucity of eighteenth

century gun control laws might have reﬂected a lack of political demand rather

than constitutional limitations.” (quoting Nelson Lund, The Second Amendment,

Heller, and Originalist Jurisprudence, 56 UCLA L. REV. 1343, 1354 (2009)).

Moreover, our national tradition of ﬁrearms regulation has taken a multiplicity

of forms, and a jurisdiction’s use of another type of regulation may have

obviated the need to enact a regulation analogous to the contemporary one at

issue. For example, the city of Oakland operated a permitting system that

restricted armed carriage, under which only seventy Oakland residents, out of a

population of around 48,000, held a license in 1889. Carry Arms: Those Who Have

Permits to Carry Concealed Weapons, OAKLAND TRIBUNE (Cal.), July 20, 1889, at 1;

Oakland Census Data for 1860–1940, BAY AREA CENSUS,

http://www.bayareacensus.ca.gov/cities/Oakland40.htm [https://perma.cc/JJM2-

3W3T]. Given the relatively small population that was licensed to be armed



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within the city’s limits, Oakland’s legislators likely would not have seen the need

to also designate certain locations as sensitive places where armed carriage was

absolutely prohibited. Bruen calls on courts to undertake an inquiry that sounds

fundamentally in history rather than law: a court must ask itself what people of

the past thought (or even assumed) about the right to bear arms and the

regulations that comport with that right. And the Supreme Court understood

that such historical analysis is marked by skepticism and nuance, rather than

authority and precept. “[H]istorical analysis can be diﬃcult; it sometimes

requires resolving threshold questions, and making nuanced judgments about

which evidence to consult and how to interpret it.” Bruen, 142 S. Ct. at 2130

(quoting McDonald, 561 U.S. at 803–804 (Scalia, J., concurring)). It proceeded

accordingly, declining to establish ironclad rules and instead noting

considerations which would be “relevant evidence,” id. at 2131, or “could be

evidence,” id., or “may not illuminate the scope of the right if” certain conditions

are present, id. at 2136.

      With that perspective, we are not troubled that many licensing schemes

originated in the cities of the post-Civil War period. Licensing was the result of

changes in American society in the nineteenth century, including urbanization



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and concomitant shifts in norms of governance. The post-Civil War world was

transformed by rapid urbanization. 35 And city people have long had a diﬀerent

relationship with guns than their rural neighbors, a relationship generally

marked by greater concern about interpersonal violence. See Joseph Blocher,

Firearm Localism, 123 YALE L. J. 82, 98–103, 112–21 (2013).

       That was true in the Reconstruction era as well: New York’s 1878

concealed-carry ordinance made explicit the connection between the new urban

environment and the bearing of arms as a potential problem; it warned that the

disorderly and the intoxicated were going about carrying pistols, “insult[ing]




       35 In 1790, the nation’s largest urban area (New York City) had a population of 33,000. In
1880, the census counted 1,206,299 people, not to mention a further half-million across the East
River in still-independent Brooklyn. See Campbell Gibson, Population of the 100 Largest Cities and
Other Urban Places In The United States: 1790 to 1990, tbls. 2 & 11 (U.S. Census Working Paper No.
POP-WP027), available at https://www.census.gov/library/working-papers/1998/demo/POP-
twps0027.html#urban [https://perma.cc/KK43-HBEA]. The nation was 5.1% urban in 1790;
28.2% in 1880. Urban expansion was especially concentrated in the Northeast, where 50.8% of
people were city-dwellers in 1880. U.S. Census Bureau, United States Summary: 2010 —
Population and Housing Unit Counts, at 20 tbl. 10 (Sept. 2012), available at
https://www2.census.gov/library/publications/decennial/2010/cph-2/cph-2-1.pdf
[https://perma.cc/ZJF5-976W]. As historian Eric Monkkonen summarized it:
               In both structure and form, the modern American city was born in
               the nineteenth century, a century of dramatic transformation on
               practically every front. . . . [T]he century-long period of local
               economic and population growth from 1830 to 1930 saw a dynamic
               and historically unprecedented expansion of cities—in absolute
               size, in proportion, and in number.
ERIC H. MONKKONEN, AMERICA BECOMES URBAN 4–5 (1988).

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respectable citizens, and draw[ing] a pistol on any and every occasion, while the

better and law-abiding class try to obey the laws and protect themselves with

nothing but nature’s weapons.” J.A. 443; see also J.A. 440 (New York, N.Y., An

Ordinance to Regulate the Carrying of Pistols in the City of New York, committee

report) (“As to the necessity for the passage of the ordinance there can be no

question. The reckless use of ﬁre-arms by the dangerous classes in this city is

proverbial, and this measure of repression seems to be necessary.”). The

problem was made more serious by the increased lethality of ﬁrearms in the

latter decades of the nineteenth century, see Profs.’ Amicus Br. at 19

(“[T]echnological advances spurred by the Civil War made guns more lethal and

available.”): one military historian has estimated that ﬁrearms became ten times

more lethal over the course of the nineteenth century, Trevor Nevitt Dupuy, The

Evolution of Weapons and Warfare 92, 286–89 (1984). 36



       36Similarly, historian Jack Rakove has questioned whether the Founders would have
even recognized the problem confronting policymakers of today (or of the post-Civil War
period):
              [B]ecause eighteenth-century ﬁrearms were not nearly as
              threatening or lethal as those available today, we . . . cannot expect
              the discussants of the late 1780s to have cast their comments about
              keeping and bearing arms in the same terms that we would. . . .
              Guns were so diﬃcult to ﬁre in the eighteenth century that the very
              idea of being accidentally killed by one was itself hard to conceive.
              Indeed, anyone wanting either to murder his family or protect his


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       Accompanying the nineteenth-century explosive growth of cities was the

development of governance institutions that were more tightly organized,

specialized, and bureaucratic than those required by the towns of the late

eighteenth and early nineteenth centuries. “The transformation of the state is

one of the most prominent themes of nineteenth-century American history,” and

“[f]or the most part, it is a story of the expansion and increasing complexity of

government and of the professionalization and decreasing popular character of

politics.” 37 It is no coincidence that true police forces come into being in this

period, ﬁrst in London, and then in Boston, New York, and Philadelphia in the

1830s. 38




               home in the eighteenth century would have been better advised
               (and much more likely) to grab an axe or knife than to load, prime,
               and discharge a ﬁrearm.
Jack N. Rakove, The Second Amendment: The Highest State of Originalism, 76 CHI.-KENT L. REV.
103, 110 (2000).
       37 ALLEN STEINBERG, THE TRANSFORMATION OF CRIMINAL JUSTICE: PHILADELPHIA 1800-
1880, at 2 (1989); see also Charles Amicus Br at 7 (“It was not until the nineteenth century that the
adaptable and discretionary common law model of criminal law enforcement began to develop
into more tangible, concrete forms.” (citing PATRICK J. CHARLES, ARMED IN AMERICA: A HISTORY
OF GUN RIGHTS FROM COLONIAL MILITIAS TO CONCEALED CARRY 141–47 (2019)).
       38 See SAMUEL WALKER & CHARLES M. KATZ, THE POLICE IN AMERICA: AN INTRODUCTION
33–34 (9th ed., 2018); Eric H. Monkkonen, History of Urban Police, 15 CRIME & JUST. 547, 553
(1992) (“Uniformed police spread across the United States to most cities in the three decades
between 1850 and 1880. . . . [I]n general, a city’s rank size among American cities determined the
order in which police were adopted, the spread of police innovation following a diﬀusion curve
typical for all sorts of innovations.”).

                                                 99
       These new institutions and ideas shaped the response to increasingly-

lethal guns in increasingly-populous cities and naturally led to a greater resort to

legislation and regulation. 39 Police-administered licensing schemes evinced a

degree of administrative sophistication typical of the late-nineteenth century

cities but unusual in the Founding Era. Cf. J.A. 440–41 (1878 New York

Ordinance); J.A. 475 (1880 Brooklyn Ordinance). More generally, the growth of

permitting schemes—as opposed to prohibitory laws enforced in the courts 40—

reﬂected the developing philosophy of proactive local government. 41 In sum,

“[o]ver the course of the nineteenth century, as America modernized and

urbanized, professional police forces, police courts, and administrative agencies

took over the job of maintaining public order from justice[s] of the peace. The




       39See Charles Amicus Br. at 8–9 (“In the mid-nineteenth century, to meet changing
public safety concerns as well as changing social and cultural norms, laws governing the
carrying of concealed and dangerous weapons once again began to evolve.”).
       40 For those other models of concealed carry restrictions, see, e.g., Saul Cornell, The Right
to Carry Firearms Outside of the Home: Separating Historical Myths from Historical Realities, 39
FORDHAM URB. L.J. 1695, 1719–25 (2012); Profs.’ Amicus Br. at 14–18; Charles Amicus Br. at 9,
App’xs 3 & 4.
       41 See Steinberg, supra, at 3 (contrasting the late-nineteenth-century’s “administrative and
policy-making state” with the “reactive, particularistic, and extremely informal” “early-
nineteenth-century local state”); Patrick J. Charles, The Second Amendment and the Basic Right to
Transport Firearms for Lawful Purposes, 13 CHARLESTON L. REV. 1285, 146 (“[B]eginning in the
1860s, corresponding with the growth of statutory law, [a surety system] was gradually phased
out in favor of two legal alternatives. . . . The ﬁrst legal alternative was armed carriage licensing
laws.”).

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new permit-based scheme emerged in the context of these larger changes in

criminal justice.” 42

           In context, it makes sense that licensing regimes were instituted by cities

rather than states, and that such schemes were not enacted until after the Civil

War. We therefore see nothing in either the timing or urban origins of limited

discretionary licensing regimes to justify discounting this tradition of American

ﬁrearm regulation, which can be documented in the aftermath of the ratiﬁcation

of the Fourteenth Amendment.

           For the reasons above, we disagree with the district court’s conclusion that

licensing regimes that aﬀord a modicum of discretion to issuing oﬃcers are not

part of the nation’s tradition of ﬁrearm regulation and that the character

provision thus violates the Second Amendment. We need not determine at what

point a regime grants so much untethered discretion to licensing authorities as to

be unconstitutional on its face; it is suﬃcient to conclude, as we do in the

following section, that the CCIA’s deﬁnition of ‘good moral character’ in terms of

public safety, drawn from statutes that Bruen treats as likely constitutional, does

not approach that point.


           42   Cornell, supra at 171 (citing ERIC H. MONKKONEN, AMERICA BECOMES URBAN 98–108
(1988)).

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             3.    Bruen-Based Challenge to Licensing-Oﬃcer Discretion

      Plaintiﬀs also attack the discretionary aspect of the character requirement

on a diﬀerent basis. They assert that Bruen announced a freestanding rule of

constitutional law that requires states to determine eligibility for a gun license

using only a checklist that wholly precludes individualized judgments. This

claim is based on an overreading of one footnote in Bruen:

             To be clear, nothing in our analysis should be interpreted
             to suggest the unconstitutionality of the 43 States’ “shall-
             issue” licensing regimes, under which a general desire
             for self-defense is suﬃcient to obtain a permit. Because
             these licensing regimes do not require applicants to show
             an atypical need for armed self-defense, they do not
             necessarily prevent law-abiding, responsible citizens
             from exercising their Second Amendment right to public
             carry.     Rather, it appears that these shall-issue
             regimes . . . are designed to ensure only that those
             bearing arms in the jurisdiction are, in fact, law-abiding,
             responsible citizens. And they likewise appear to contain
             only narrow, objective, and deﬁnite standards guiding
             licensing oﬃcials rather than requiring the appraisal of facts,
             the exercise of judgment, and the formation of an opinion—
             features that typify proper-cause standards like New York’s.

142 S. Ct. at 2138 n.9 (emphasis added; alterations adopted; quotation marks, and

internal citations omitted).

      Plaintiﬀs’ rule precluding all discretion cannot be squared with Bruen’s

discussion of “shall-issue” regimes, even if one thought that the Court would


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announce a sweeping prohibition of discretion in a single sentence of a footnote

designed to clarify the limited scope of its decision. Of the forty-three licensing

regimes that Bruen described as consistent with its analysis, more than a dozen

confer some measure of discretion on licensing oﬃcers, with many using terms

that are nearly identical to New York’s character provision. If “nothing in

[Bruen] should be interpreted to suggest the unconstitutionality of” those

licensing schemes, then Bruen did not totally foreclose discretion and does not

require invalidation of New York’s character requirement. 142 S. Ct. at 2138 n.9.

       Earlier in Bruen, the Court explained that three states whose licensing

regimes use “discretionary criteria”—Connecticut, Delaware, and Rhode

Island—are nonetheless “shall-issue” jurisdictions (and thus, per footnote 9,

consistent with Bruen). 43 Connecticut licensing oﬃcers have “discretion to deny

a concealed-carry permit to anyone who is not a ‘suitable person,’” Bruen, 142 S.

Ct at 2123 n.1 (quoting CONN. GEN. STAT. § 29-28(b) (2021)), but because

Connecticut courts have supplied a narrowing gloss on that broad standard,

Connecticut nonetheless qualiﬁed as a “shall-issue” state. Id. Crucially,




       43Tellingly, other commentators on licensing regimes have categorized these states’
regimes as “may-issue.” E.g., Noah C. Chauvin, The Constitutional Incongruity of “May-Issue”
Concealed Carry Permit Laws, 31 UNIV. FLA. J. L. & PUB. POL’Y 227, 230 n.23, 237 (2021).

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Connecticut’s gloss on the suitability standard is nearly identical to the CCIA’s

deﬁnition of “good moral character,” excluding only those “individuals whose

conduct has shown them to be lacking the essential character o[r] temperament

necessary to be entrusted with a weapon.” Id. (quoting Dwyer, 475 A.2d at 260).

      Bruen also classiﬁes Delaware as a shall-issue jurisdiction notwithstanding

its inherently discretionary “good moral character” provision, Bruen, 142 S. Ct. at

2123 n.1, which (like New York) requires that the applicant be “of . . . good moral

character.” Del. Code Ann. tit. 11, § 1441(a) (2022); see also id. § 1441(a)(2)

(requiring ﬁve character references attesting to the applicant’s “sobriety and

good moral character” and “good reputation for peace and good order in the

community”). Finally, the Court explained that, though Rhode Island (like

Connecticut) requires that an applicant be “a suitable person to be so licensed,”

R.I. GEN.. LAWS § 11-47-11(a) (2002), its regime is “shall-issue” because (again like

Connecticut) “suitability” does not require “[d]emonstration of a proper showing

of need.’” Bruen, 142 S. Ct. at 2123 n.1 (quoting Gadomski, 113 A.3d at 392).

      Furthermore, without speciﬁc discussion, Bruen categorized as “shall-

issue” jurisdictions at least twelve other licensing schemes that call for

discretionary judgments, such as whether the applicant “causes justiﬁable



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concern for public safety,” ALA. CODE § 13A-11-75(c)(11) (2021); “is likely to use a

weapon unlawfully,” IOWA CODE ANN. § 724.8(3) (West 2011); “likely . . . will

present a danger to self or others if the applicant receives a permit,” COLO. REV.

STAT. ANN. § 18-12-203(2) (West 2023), etc. 44 Similarly, many Bruen-compliant

states forbid issuing a concealed carry license to individuals who, for example,

“chronically or habitually abuse a controlled substance to the extent that his or

her normal faculties are impaired,” ARK. CODE ANN. § 5-73-309(7)(A) (2021);




       44  See also GA. CODE ANN. § 16-11-129(b.1)(3) (West 2022) (permitting court to grant
exception to general rule against issuing a license to individual with history of mental illness if
court ﬁnds “that the person will not likely act in a manner dangerous to public safety in
carrying a weapon and that granting the relief will not be contrary to the public interest”); ME.
REV. STAT. ANN., TIT. 25, § 2003(1) (2022) (“good moral character”); MINN. STAT. § 624.714 subd.
6(a)(3) (West 2023) (“substantial likelihood that the applicant is a danger to self or the public if
authorized to carry a pistol under a permit”); MONT. CODE ANN. § 45-8-321(2) (West 2023)
(“reasonable cause to believe that the applicant is mentally ill, mentally disordered, or mentally
disabled or otherwise may be a threat to the peace and good order of the community to the
extent that the applicant should not be allowed to carry a concealed weapon”); MO. REV. STAT.
§ 571.101 (2016) (applicant eligible if he “[h]as not engaged in a pattern of behavior . . . that
causes the sheriﬀ to have a reasonable belief that the applicant presents a danger to himself or
others”); 18 PA. STAT. AND CONS. STAT. ANN. § 6109(e)(1)(i) (West 2016) (“character and
reputation is such that the individual would be likely to act in a manner dangerous to public
safety”); id. § 6109(d)(3) (authorizing the sheriﬀ to “investigate whether the applicant’s character
and reputation are such that the applicant will not be likely to act in a manner dangerous to
public safety”); TEX. GOV’T CODE ANN. § 411.172(a)(7) (West 2021) (“not incapable of exercising
sound judgment with respect to the proper use and storage of a handgun”); UTAH CODE ANN.
§ 53-5-704(3)(a) (West 2022) (“reasonable cause to believe that the applicant or permit holder has
been or is a danger to self or others as demonstrated by evidence” like past violent behavior);
WYO. STAT. ANN. § 6-8-104(g) (West 2021) (“reasonably likely to be a danger to himself or others,
or to the community at large as a result of the applicant’s mental or psychological state, as
demonstrated by a past pattern or practice of behavior”); VA. CODE. ANN. § 18.2-308.09(13)
(West 2021) (“likely to use a weapon unlawfully or negligently to endanger others”).

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“suﬀer from a physical or mental inﬁrmity that prevents the safe handling of a

handgun,” N.C. GEN. STAT. ANN. § 14-415.12(a)(3) (West 2022); or exhibit a

“condition relating to or indicating mental instability or an unsound mind,”

OKLA. STAT. ANN. tit. 21, § 1290.10(6) (West 2019). These are plainly

determinations that “requir[e] the appraisal of facts, the exercise of judgment,

and the formation of an opinion,” Bruen, 142 S. Ct. at 2138 n.9 (quotation marks

omitted). 45

       The same modicum of discretion as New York’s character requirement is

embedded in the licensing schemes discussed above. Indeed, Delaware uses the

very phrase “good moral character,” and the CCIA’s deﬁnition of that term

matches Connecticut law nearly verbatim. Yet Bruen expressly denominated those

states (not to mention the dozen others that call for discretionary judgments) as

“shall-issue jurisdictions.” It therefore cannot be that Bruen even “suggest[s]”—




       45  See also FLA. STAT. ANN. § 790.06 (2023); IDAHO CODE ANN. § 18-3302(11)(f) (West
2020); LA. STAT. ANN. § 40:1379.3(C)(8) (2023); MISS. CODE. ANN. § 45-9-101(2)(e), (f) (West 2023);
N.M. STAT. ANN. § 29-19-4(A)(9) (West 2023); 18 PA. STAT. AND CONS. STAT. ANN. § 6109(e)(1)(v)–
(vii); TEX. GOV’T CODE ANN. § 411.172(a)(8); WYO. STAT. ANN. § 6-8-104(b)(vi). Many of these
statutes include rebuttable presumptions or other guidance for the licensing oﬃcers’
determination, e.g., LA. STAT. ANN. § 40:1379.3(C)(8) (establishing presumption that applicant
“chronically and habitually uses alcoholic beverages to the extent that his normal faculties are
impaired” if he has been convicted of a DUI or admitted to treatment for alcoholism in the past
ﬁve years), but all ultimately require some exercise of discretion.

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let alone holds—that a licensing regime which confers some limited degree of

discretion is facially invalid. 46

       Footnote 9 is better read as addressing laws that combine discretion with a

special-need requirement. That combination—present in the invalid proper-

cause regime but absent in the “shall-issue” regimes—separates unconstitutional

from permissible licensing regimes. Bruen intimated as much in footnote 1:

Rhode Island’s discretionary scheme was “shall-issue” solely because

“[d]emonstration of a proper showing of need” was not required. Bruen, 142 S.

Ct. at 2123 n.1 (internal quotation omitted). Similarly, the Court described “shall-

issue” regimes in the ﬁrst sentence of footnote 9 as those “under which ‘a general

desire for self-defense is suﬃcient to obtain a [permit].’” Bruen, 142 S. Ct. at 2138



       46 Justice Kavanaugh’s concurrence can be read to posit a categorically anti-discretion
view. See Bruen, 142 S. Ct. at 2162 (Kavanaugh, J., concurring) (New York “may continue to
require licenses for carrying handguns for self-defense so long as [it] employ[s] objective
licensing requirements like those used by the 43 shall-issue states”) (emphasis added). But for the
reasons stated above, such a view, if the term “objective” is read strictly literally, is incompatible
with footnotes 1 and 9 in the majority opinion (which Justice Kavanaugh joined in full).
Further, Justice Kavanaugh’s concurring opinion expressly approved of the licensing
requirements “used by the 43 shall-issue states,” many of which, as discussed above, call for the
exercise of discretion by licensing oﬃcials. Id.
        As the district court pointed out, many 18th- century restrictions aimed at keeping
ﬁrearms away from people perceived as dangerous were based on readily ascertainable – but
overbroad and discriminatory – racial, religious, or political categories. S.A. 99. Judgments
based on “objective” characteristics are not inherently more fair than individualized
determinations.



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n.9 (alteration adopted) (quoting Drake v. Filko, 724 F.3d 426, 442 (3d Cir. 2013)

(Hardiman, J., dissenting)). 47 And footnote 9 is appended to a sentence which

faults New York’s prior regime only for “limiting public carry only to those law-

abiding citizens who demonstrate a special need for self-defense.” Id. at 2138.

       At the very least, Bruen teaches that mere use of a “good moral character”

requirement does not justify facial invalidation. Bruen gave great weight to state

court interpretations of the Connecticut and Rhode Island standards, which

indicated that the statutes, in practice, operated as “shall-issue” regimes.

Whether such a scheme is impermissibly discretionary cannot be decided before

it has been implemented and brought before state courts. Time may disclose

whether New York’s regime under the CCIA will “operate like a ‘shall-issue’

jurisdiction,” Bruen, 142 S. Ct. at 2131 n.1, or whether it will be narrowed in

salient ways by the New York courts. Accordingly, facial invalidation is not

appropriate. See Wash. State Grange, 552 U.S. at 450 (warning against invalidating

a law before “the State has had [an] opportunity to implement [it] and its courts



       47 Although the Court had earlier deﬁned “shall-issue” regimes as those in which
oﬃcials lack “discretion to deny licenses based on a perceived lack of need or suitability,”
Bruen, 142 S. Ct. at 2123, the Court immediately followed that sentence with footnote 1’s
explanation that Connecticut and Rhode Island are shall-issue jurisdictions, despite their
suitability requirements, because “perceived lack of need” is not a valid basis to deny a license
in those states.

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have had no occasion to construe the law in the context of actual disputes . . . or

to accord the law a limiting construction”).

      In sum, Bruen does not require that New York’s character requirement be

struck down by virtue of the limited discretion it aﬀords to licensing oﬃcers.

Given the patent incompatibility between Plaintiﬀs’ proﬀered reading of footnote

9 with the remainder of the Court’s opinion, we are conﬁdent that the Court did

not establish a new rule forbidding all discretionary judgments in ﬁrearm

licensing.

                                   *      *     *

      For the foregoing reasons, we VACATE the district court’s preliminary

injunction: licensing oﬃcers across New York may consider whether an applicant

for a ﬁrearm license can be trusted to use that gun in a responsible, safe way.

Licensing oﬃcers nevertheless have a statutory duty to make “character”

determinations only with respect to an applicant’s potential dangerousness, and

a denial on that ground requires a written, reasoned notice of denial supported

by evidence. Where necessary, both state and federal courts are empowered to

enforce those statutory requirements and consider as-applied constitutional

challenges, thereby ensuring that individuals are not prevented from carrying a



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gun on the basis of ﬂimsy imputations, unsupported subjective intuitions, or

hunches about the applicant’s character. But there is currently no reason to

doubt that licensing oﬃcers across New York will approach their task with

diligence and a respect for the relevant constitutional interests.

      B.       The Catch-All

      We vacate the district court’s injunction against the catch-all disclosure

provision for the same reason: it is not facially unconstitutional. Though we

(along with Plaintiﬀs and the district court) can think of situations in which the

catch-all could be abused, there are plenty of possible applications that would be

permissible.

      Section 400.00(1)(o)(v) provides that “the applicant . . . shall, in addition to

any other information or forms required by the license application[,] submit . . .

such other information required by the licensing oﬃcer that is reasonably

necessary and related to the review of the licensing application.” Sloane does not

challenge a particular request made pursuant to this provision—none has been

made. Instead, he argues that the authority to seek supplemental information is

unconstitutional on its face because every application of the catch-all provision

—i.e., any request a licensing oﬃcer could make—would be an unconstitutional



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burden on the right to bear arms. See, e.g., Bucklew v. Precythe, 139 S. Ct. 1112,

1127 (2019) (“A facial challenge is really just a claim that the law or policy at issue

is unconstitutional in all its applications.”).

      However, as the district court recognized in a previous opinion in this

litigation, it surely does not violate the Constitution for a licensing oﬃcer to

request “only very minor follow-up information from an applicant (such as

identifying information).” Antonyuk v. Hochul, 635 F. Supp. 3d 111, 137 (N.D.N.Y.

2022). There seems to be statutory authority in subparagraph (1)(o)(v) for

licensing authorities to request the kind of information that one would ﬁnd

required by any government form, such as a driver’s license number, social

security number, or previous name. See N.Y. Penal L. § 400.00(3) (mandating

only that the license application state the applicant’s name, date of birth,

residence, occupation, and citizenship status). The catch-all therefore has a

“plainly legitimate sweep.”

      The district court struck down this provision (as it did the character

requirement) as providing licensing oﬃcials with “unbridled discretion.”

Antonyuk, 639 F. Supp. 3d at 312. But neither the history of licensing regimes nor

Bruen itself supports the conclusion that the conferral of some discretion to a



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licensing oﬃcer to request reasonable supplementary information is

unconstitutional. Given that allowing discretionary denials of a license is part of

the nation’s tradition of ﬁrearm regulation, there can be no constitutional

problem with conferring the lesser discretion to ask for reasonable

supplementary information.

      As-applied challenges to particular requests made pursuant to the catch-all

provision remain viable. There surely exist some possible requests which would

unconstitutionally burden the right to bear arms: the reader can no doubt

conceive of apt hypotheticals. But administrative, state, and federal remedies

will be available to an applicant who is denied a license for declining to comply

with a supplementary request. A court properly presented with a Second

Amendment challenge to such a request will be able to assess whether the

information requested is suﬃciently analogous to historical restrictions on

bearing arms. In addition, a disappointed applicant may argue that the licensing

oﬃcer’s request was not “reasonably necessary and related to the review of the

licensing application,” and do so either in an administrative appeal or in an

Article 78 proceeding. Federal courts generally should be wary about granting

facial challenges, which deny the opportunity for agency oﬃcials and state



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courts to interpret, apply, or limit state laws. As the Supreme Court has

instructed, “[i]n determining whether a law is facially invalid, we must be careful

not to go beyond the statute’s facial requirements and speculate about

hypothetical or imaginary cases. The State has had no opportunity to implement

[the law], and its courts have had no occasion to construe the law in the context

of actual disputes . . , or to accord the law a limiting construction . . . .” Wash.

State Grange, 552 U.S. at 449–50 (internal quotation marks and citations omitted).

      But no such request for supplementary information is before us: Sloane

chose to challenge the law on its face. And for the reasons stated above, a

challenge so framed fails.

      C.     The Cohabitant Requirement

      N.Y. Penal Law § 400.00(1)(o)(i) requires that an applicant (i) identify and

provide contact information for their current spouse or domestic partner and any

adult cohabitants, and (ii) disclose whether minors reside in the applicant’s

home. This provision is intended to “facilitate inquiries to the applicant’s close

associates for information relevant to the good-moral-character evaluation and

assist in identifying red ﬂags that may cast doubt on the applicant’s ability to use

ﬁrearms safely.” Antonyuk Nigrelli Br. at 40. Plaintiﬀs argue—and the district



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court held—that this requirement is unconstitutional on its face. We disagree

and vacate the district court’s injunction as to that provision.

       The district court itself recognized the existence of a “suﬃciently

established and representative . . . tradition of ﬁrearm regulation based on

reputation (for example, by a reasonable number of character references).”

Antonyuk, 639 F. Supp. 3d at 306. It accordingly upheld New York’s requirement

that applicants provide “four character references who can attest to the

applicant's good moral character . . . .” N.Y. Penal L. § 400.00(1)(o)(ii); see

Antonyuk, 639 F. Supp. 3d at 305–07. Plaintiﬀs do not challenge either conclusion

here. In our view, disclosure of one’s cohabitants (in part for the purpose of

identifying references regarding the applicant’s trustworthiness) is tantamount

to the character-reference provision upheld by the district court. If the character-

reference requirement is consistent with a historical tradition of ﬁrearm

regulation, how can the cohabitant provision’s requirement of a limited number

of additional character references be inconsistent with that tradition? 48



       48The district court distinguished the cohabitant requirement from a character-reference
requirement on the ground that the latter dealt with the applicant’s public reputation while the
former requires disclosure of individuals who may only know about private reputation. See
Antonyuk, 639 F. Supp. 3d at 307. We are not sure such a distinction is a coherent one. Nor is it
meaningful in the context of assessing the burden on the applicant’s rights. The information


                                              114
      More generally, we have already explained that it is constitutional for a

state to make licensing decisions by reference to an applicant’s “good moral

character,” at least where that “character” is deﬁned in terms of dangerousness.

It must therefore be constitutional for the licensing authority to investigate the

applicant’s character, and no one argues that a licensing oﬃcer may not inquire

into the applicant’s trustworthiness beyond the challenged disclosures. It

follows that the State can also require modest disclosures of information that are

relevant to that investigation and that will make the (permissible) assessment of

dangerousness more eﬃcient and more accurate.

      This provision serves that end. In addition to providing an alternate

means by which the licensing oﬃcer can learn of potential character references,

the cohabitants themselves can inform the dangerousness inquiry. An

assessment of an applicant’s “good moral character” requires an evaluation of

the whole individual. The identity and characteristics of an applicant’s

cohabitants are obviously relevant to the dangerousness of the applicant in situ.

For instance, if an applicant living with multiple young children was unwilling

or unable to secure ﬁrearms from meddling, surely a licensing oﬃcer could


demanded—the names and contact information of persons close to the applicant who can speak
to his or her ﬁtness to be licensed to wield a lethal weapon—is the same.

                                           115
conclude that the applicant cannot “be entrusted with a weapon and to use it

only in a manner that does not endanger [him]self or others,” N.Y. Penal L.

§ 400.00(1)(b).

      Of course, conditioning a ﬁrearm license on disclosures that are

burdensome and historically unprecedented can still violate the Second

Amendment—we strike down one such disclosure obligation in the next

section—but we conclude that the cohabitant requirement is not within that

category. Instead, requiring disclosure of information regarding cohabitants

imposes a similar burden as requesting supplemental identifying information, a

disclosure that we (and the district court) have already recognized is

constitutional. See supra Licensing Regime § II.C; Antonyuk, 635 F. Supp. 3d at

137. Put most simply, disclosing cohabitants is within the category of disclosures

reasonably included in the kind of background check that has long been

permissible.

       Concluding otherwise, the district court reasoned that the disclosure is a

burden “imposed solely for the licensing oﬃcers’ convenience” because the

requested information is theoretically already in the state’s possession in the

form of “marriage licenses, children’s birth certiﬁcates, guardianship forms,



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school forms, adoption paperwork, applications for driver’s license or passport,

and U.S. census forms.” Antonyuk, 639 F. Supp. 3d at 307. At the outset, we have

our doubts that the relevant agencies would willingly hand over adoption

records, census forms, or school paperwork to licensing oﬃcers without

objection. That aside, we draw the opposite conclusion from the fact that the

State will usually already possess the requested information due to the

disclosure requirements of its various other agencies: that there is only a minimal

privacy interest in the identity of one’s cohabitants. Disclosing that information

again in another context is that much less burdensome. Unlike the social media

provision discussed infra, the cohabitants requirement does not demand

information with constitutional implications or in which the applicant has any

special interest in concealing.

      Moreover, the “convenience” of licensing oﬃcers, properly understood, is

a legitimate consideration that, at least in this context, furthers the relevant

constitutional values. See Bruen, 142 S. Ct. at 2138 n.9 (suggesting that “lengthy

wait times in processing license applications” may “deny ordinary citizens their

right to public carry”). Background investigations should be quick and eﬃcient,

and should not require licensing oﬃcers to engage in burdensome cross-checks



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with other government records to learn relevant information that would result in

unnecessary delays and backlogs in processing applications, especially where

that information is routinely disclosed to the government in other contexts and is

readily available to the applicant.

      For these reasons, we conclude that Plaintiﬀs are not likely to succeed in

their challenge to the cohabitants requirements and VACATE the district court’s

preliminary injunction against enforcing that provision.

      D.     The Social Media Requirement

      Under N.Y. Penal L. § 400.00(1)(o)(iv), an applicant for a concealed carry

license must “submit . . . a list of former and current social media accounts of the

applicant from the past three years to conﬁrm the information regarding the

applicant[’]s character and conduct.” The district court rejected the State’s

proﬀered analogues, found “the burdensomeness of this modern regulation to be

unreasonably disproportionate to the burdensomeness of any historical

analogues,” and preliminarily enjoined enforcement of the provision. Antonyuk,

639 F. Supp. 3d at 310. We generally agree. Disclosing one’s social media

accounts—including ones that are maintained pseudonymously—forfeits

anonymity in that realm. Conditioning a concealed carry license on such a



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disclosure imposes a burden on the right to bear arms that is without suﬃcient

analogue in our nation’s history or tradition of ﬁrearms regulation.

      At the outset, it is important to be clear about what the social media

provision does and does not require. All that this provision demands is a “list

of . . . accounts,” N.Y. Penal L. § 400.00(1)(o)(iv), which we understand to mean

the platforms the applicants use and the names under which they post (in

modern parlance, their “handles”). It does not compel applicants to provide a

password to their accounts, make their posts accessible to the public, or give a

licensing oﬃcer permission to view non-public posts (such as by “friending” the

oﬃcer or accepting a request to “follow” the applicant). No such requirements

appear in the statute, and the State has consistently disclaimed any such

obligation for applicants. See Antonyuk Nigrelli Br. at 45–46 (“The law requires

only that applicants identify the existence of recent social-media accounts . . . .

The CCIA does not permit a licensing oﬃcer to see . . . restricted social-media

accounts.”); Antonyuk Nigrelli Reply Br. at 17–18 (“[T]he social-media provision

does not require disclosure of any non-public material from social-media

accounts. . . . The provision requires only a list of accounts that would allow a

licensing oﬃcial to review information that applicants have already chosen to



                                         119
disclose publicly.”). And licensing oﬃcers, like anybody else, may review an

applicant’s public social media posts at their leisure without the aid of

§ 400.00(1)(o)(iv). This distinction appears to have been lost on Sloane, who

devotes much attention to the requirement of “access” to social media. See

Antonyuk Appellee Nigrelli Br. at 35–38.

      On the other hand, compelled disclosure of pseudonymous social media

handles to a licensing oﬃcer is no small burden. It is uncontroversial that the

First Amendment protects the right to speak anonymously. Cornelio v.

Connecticut, 32 F.4th 160, 169–70 (2d Cir. 2022) (reiterating a speaker’s First

Amendment interest in anonymity and holding that a requirement that a sex

oﬀender report all online “communication identiﬁer[s]” burdened protected

speech); see generally McIntyre v. Ohio Elections Comm’n, 514 U.S. 334, 341–43

(1995); Talley v. California, 362 U.S. 60, 64–65 (1960). Anyone familiar with most

social media platforms knows that nearly all handles are pseudonymous, at least

to the extent that the poster’s identity is not immediately apparent. Requiring

disclosure of handles is thus to demand that applicants eﬀectively forfeit their

right to pseudonymous speech on social media (where so much speech now

takes place).



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        That signiﬁcant burden on the right to bear arms is not one for which we

see persuasive historical analogues. The State points to no historical law

conditioning lawful carriage of a ﬁrearm on disclosing one’s pseudonyms or,

more generally, on informing the government about one’s history of speech.

That historical silence is telling because, as the district court explained at length,

the Founders were familiar with pseudonymous publishing, including of

“virulent political pamphlets” and other “controversial writings,” Antonyuk, 639

F. Supp. 3d at 309. Yet neither the Founders nor successive generations required

forfeiture of a speaker’s anonymity in order to facilitate an inquiry into character

or dangerousness. This constitutes “relevant evidence that the challenged

regulation is inconsistent with the Second Amendment.” Bruen, 142 S. Ct. at

2131.

        The State argues more generally that review of social media is consistent

with a tradition of licensing oﬃcers “looking to past conduct, associates, and

reputation to assess whether an applicant is law-abiding and responsible.”

Antonyuk Nigrelli Br. at 44. That is true, so far as it goes: social media posts can

be relevant to assessing character and reputation. But review of these posts is not

the burden imposed by § 400.00(1)(o)(iv). The burden is the disclosure of



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pseudonyms under which applicants have a constitutional right to post their

views. That is a burden analytically distinct from (and more severe than) the

burden of a licensing oﬃcer reviewing applicants’ publicly available posts.

      The State also asks for ﬂexibility in our historical inquiry because “[t]he

development of social media is a quintessential dramatic technological change”

which requires “a nuanced analogical approach.” Antonyuk Nigrelli Br. at 44

(citing Bruen, 142 S. Ct. at 2132); see also supra Background § III.E. Social media is

of course revolutionary because of the ease with which individuals can

disseminate their thoughts to a large audience without the traditional barriers to

publishing. This is indeed a break from the practice of publishing newspaper

pieces as “Publius”—we grant that Facebook likely would have baﬄed the

Founders. But the CCIA’s social media requirement does not bear upon the

aspects of social media that are new. While social media writ large may have no

historical analogue, social media handles do. The frequency, formality, and

barriers to dissemination of one’s views may be diﬀerent, but the election of a

pseudonym to hide one’s true identity is not.

      The State is not wrong that posting on social media in the twenty-ﬁrst

century is diﬀerent from publishing on physical media in the nineteenth century.



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Social media posts are frequently of a very diﬀerent character from the well-

crafted pamphlets known to students of the Ratiﬁcation debates. And the

spontaneity of speech on social media, without editors or ﬁlters, may indeed lead

to a greater frequency of messages that are relevant to an assessment of character

and dangerousness. See Amicus Br. of Dr. Jaclyn Schildkraut (discussing social

science research indicating that social media posts “provide[] insights into

intended behavior, and that an examination of potential social media [content]

can provide an early warning sign of potential future violence”). But those

considerations of relevance or usefulness cannot overcome the absence of any

analogous disclosure requirement from the historical record combined with the

constitutional interests implicated by the mandatory disclosure of online

pseudonyms.

      In sum, we agree with the district court that Plaintiﬀs are likely to succeed

on the merits of their constitutional challenge to this provision, and we AFFIRM

the district court’s preliminary injunction as it applies to the social media

requirement.




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                            SENSITIVE LOCATIONS

      We now consider the Plaintiﬀs’ challenges to assorted subsections of N.Y.

Penal L. § 265.01-e banning the carriage of ﬁrearms in “sensitive locations.”

      Standing is a live issue with respect to many of the sensitive location

challenges. No plaintiﬀ has been arrested or prosecuted under § 265.01-e, but

“an actual arrest, prosecution, or other enforcement action is not a prerequisite to

challenging the law.” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014).

Instead, a plaintiﬀ has Article III standing to bring a pre-enforcement challenge

to a criminal statute if he or she can “demonstrate: (1) ‘an intention to engage in a

course of conduct arguably aﬀected with a constitutional interest’; (2) that the

intended conduct is ‘proscribed by’ the challenged law; and (3) that ‘there exists

a credible threat of prosecution thereunder.’” Vitagliano v. County of Westchester,

71 F.4th 130, 136 (2d Cir. 2023) (quoting Driehaus, 573 U.S. at 159).

      We discuss many standing issues below as they arise, usually relating to

intention and proscription. But we consider at the outset the need for a “credible

threat of prosecution,” as it cuts across all of plaintiﬀs’ challenges. The various

verbal formulations elaborating this standard tend to be unhelpful. We have said

that “credible threat” means that the “fear of criminal prosecution . . . is not



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imaginary or wholly speculative.” Hedges v. Obama, 724 F.3d 170, 196 (2d Cir.

2013) (quoting Babbitt v. United Farm Workers Nat’l Union, 442 U.S. 289, 302

(1979)). And a credible threat is missing where “plaintiﬀs do not claim that they

have ever been threatened with prosecution, that a prosecution is likely, or even

that a prosecution is remotely possible.” Knife Rights, 802 F.3d at 384.

      These statements could be overread to require a rigorous inquiry into the

chances that a given plaintiﬀ will be prosecuted. But Article III is satisﬁed by

much less. In Babbitt v. United Farm Workers National Union, the Supreme Court

found pre-enforcement standing without much evidence suggesting that a

prosecution was either imminent or particularly likely. There, a labor group

challenged a law criminalizing “dishonest, untruthful, and deceptive publicity.”

442 U.S. at 302. The plaintiﬀ organization “ha[d] actively engaged in consumer

publicity campaigns in the past,” “alleged . . . an intention to continue to engage

in boycott activities,” and stated that although it did “not plan to propagate

untruths . . . erroneous statement is inevitable in free debate.” Id. at 301 (internal

quotation marks omitted). The Court acknowledged that the challenged law

“has not yet been applied and may never be applied” but nonetheless found an

Article III case or controversy because “the State ha[d] not disavowed any



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intention of invoking the criminal penalty provision against unions that commit

unfair labor practices.” Id. at 302. The timorous organization was “thus not

without some reason in fearing prosecution,” and its fears were “not imaginary

or wholly speculative.” Id.

      Babbitt demonstrates that the “credible threat of prosecution” is a “quite

forgiving” requirement that sets up only a “low threshold” for a plaintiﬀ to

surmount. Hedges, 724 F.3d at 197 (quoting N.H. Right to Life Pol. Action Comm. v.

Gardner, 99 F.3d 8, 14–15 (1st Cir. 1996)); see also id. at 200 (“[N]either this Court

nor the Supreme Court has required much to establish this ﬁnal step . . . .”).

Courts have “not place[d] the burden on the plaintiﬀ to show an intent by the

government to enforce the law against it” but rather “presumed such intent in

the absence of a disavowal by the government.” Id. at 197; accord Vitagliano, 71

F.4th at 138 (“[W]here a statute speciﬁcally proscribes conduct, the law of

standing does not place the burden on the plaintiﬀ to show an intent by the

government to enforce the law against it.” (quoting Tweed-New Haven Airport

Auth. v. Tong, 930 F.3d 65, 71 (2d Cir. 2019))). That is, “courts are generally

‘willing to presume that the government will enforce the law as long as the




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relevant statute is recent and not moribund.’” Cayuga Nation, 824 F.3d at 331

(quoting Hedges, 724 F.3d at 197).

      To be sure, some of our recent decisions regarding pre-enforcement

standing have relied on more speciﬁc indications that enforcement can be

expected. For example, in Silva v. Farrish, we explained that the plaintiﬀs had

“already been subject to ﬁnes and enforcement proceedings for violating the

ﬁshing regulations” that they challenged. 47 F.4th 78, 87 (2d Cir. 2022). Similarly,

the plaintiﬀs in Knife Rights had previously been charged under the challenged

statute, and one plaintiﬀ had been party to a deferred prosecution agreement

which “expressly threatened future charges if its terms were not satisﬁed,” 802

F.3d at 385–86. And in Cayuga Nation, the government had speciﬁcally

“announced its intention to enforce the Ordinance against the Nation” as well as

the group headed by the lead individual plaintiﬀ. 824 F.3d at 331 (citation

omitted).

      Here, one defendant argues that such indicia of future prosecution are

required to show standing and, accordingly, that at least some plaintiﬀs lack

standing because they have “failed to establish [that they have] been threatened

with certain . . . prosecution pursuant to the CCIA.” Antonyuk Cecile Br. at 15–16.



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The principal support advanced for that position is a summary order that (by its

nature) lacks precedential force and that, in any event, lacks persuasive force in

this case. 49 But we rejected that very position in Vitagliano v. County of

Westchester: “While evidence [that a plaintiﬀ faced either previous enforcement

actions or a stated threat of future prosecution] is, of course, relevant to assessing

the credibility of an enforcement threat, none of these cases suggest that such

evidence is necessary to make out an injury in fact.” 71 F.4th at 139 (citing

Driehaus, 573 U.S. at 164); accord id. (“[R]equiring an ‘overt threat to enforce’ a

criminal prohibition ‘would run afoul of the Supreme Court's admonition not to

put the challenger to the choice between abandoning his rights or risking

prosecution.’” (some quotation marks omitted) (quoting Tong, 930 F.3d at 70)).

Instead, we reiterated that, although “the presumption that the government will




       49 Cecile relies on Does 1-10 v. Suﬀolk County, N.Y., No. 21-1658, 2022 WL 2678876 (2d Cir.
July 12, 2022) (summary order), to urge this higher bar for standing. In Does 1-10, the defendant
county informed the plaintiﬀs that their guns were prohibited and that they “‘may be subject to
arrest and criminal charges’ if they ‘fail to present the weapon’” to the police within ﬁfteen
days. 2022 WL 2678876, at *3. But, since the county did not follow up on those warnings for
over a year, and there was no evidence that “any purchaser of the [gun in question] ha[d] been
arrested or had their ﬁrearm forcibly conﬁscated,” we decided by summary order that the
plaintiﬀs failed to “allege[] that they are at an imminent risk of suﬀering an injury in fact.” Id.
However, “[t]he identiﬁcation of a credible threat suﬃcient to satisfy the imminence
requirement of injury in fact necessarily depends on the particular circumstances at issue,” Knife
Rights, 802 F.3d at 384, and Does 1-10 presented signiﬁcantly diﬀerent facts than those now
before us.

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enforce its own laws ‘in and of itself, is not suﬃcient to confer standing,’” id.

(quoting Adam v. Barr, 792 F. App'x 20, 23 (2d. Cir. 2019) (summary order)), “we

‘presume such intent [to enforce the law] in the absence of a disavowal by the

government or another reason to conclude that no such intent existed.’” Id. at

138 (quoting Tong, 930 F.3d at 71).

      Babbitt and Vitagliano control this case. In Babbitt, the state of Arizona had

not speciﬁcally threatened the plaintiﬀ organization with criminal sanctions, had

never prosecuted anyone under the challenged provision, and had

acknowledged it might never do so. See 442 U.S. at 301–02. The plaintiﬀ then

averred an intention only to risk lawbreaking, and the state had not disavowed

prosecution. If those facts alone are enough to render a fear of prosecution more

than “imaginary or wholly speculative,” id. at 302, then so must the Plaintiﬀs’

allegations here. See Seegars v. Gonzales, 396 F.3d 1248, 1252 (D.C. Cir. 2005)

(“[Babbitt] appeared to ﬁnd a threat of prosecution credible on the basis that

plaintiﬀs’ intended behavior is covered by the statute and the law is generally

enforced. Courts have often found that combination enough[.]”). And like the

plaintiﬀ in Vitagliano, the Plaintiﬀs here challenge a law “enacted . . . just months

before [they] brought this action” which is “designed to curb the very conduct in



                                         129
which [they] intend[] to engage”; “there is no indication that the [defendants]

ha[ve] disavowed enforcement” of the challenged law; and we have “no reason

to doubt that the [State] will enforce its recently enacted law against those who

violate its terms.” 71 F.4th at 138–39.

       The Plaintiﬀs have surmounted the “low” and “quite forgiving” bar for

pre-enforcement standing with respect to many of the CCIA’s challenged

provisions. Hedges, 724 F.3d at 197. While the statements by law enforcement

oﬃcials cited by Plaintiﬀs may not directly threaten the speciﬁc Plaintiﬀs in these

cases with arrest, those statements are, in the context of this case, evidence that

Plaintiﬀs face a realistic threat of arrest and prosecution. Far from disavowing

prosecution of Plaintiﬀs, multiple Defendants have announced their intention to

enforce the CCIA, 50 and the Superintendent of State Police has warned that his

department will have “zero tolerance” for violations. Although prosecution is

not certain, Plaintiﬀs articulate a plausible chain of events resulting in their arrest

and prosecution: the “brazen nature of [their] intended deﬁance,” in the district




       50Many of these announcements explained that enforcement would not be vigorous or
proactive, and others suggested that the law was contrary to the speaker’s personal preference.
But reluctant or not, statements that the law will be enforced cannot be construed as disavowals
of enforcement or otherwise used to rebut the presumption that the government enforces its
laws.

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court’s words, makes it likely to be noticed by citizens and then by police. E.g.,

Antonyuk, 639 F. Supp. 3d at 263. 51 Plaintiﬀs “are thus not without some reason

in fearing prosecution,” and their fears are neither “imaginary [n]or wholly

speculative.” Babbitt, 442 U.S. at 302.

       For those reasons, we conclude that the Plaintiﬀs here have adequately

demonstrated a credible threat of enforcement—each Plaintiﬀ will accordingly

have standing if he can also show “an intention to engage in a course of conduct

arguably aﬀected with a constitutional interest” and “that the intended conduct

is proscribed by the challenged law.” Vitagliano, 71 F.4th at 136 (quotation marks

omitted). With that settled, we proceed to Plaintiﬀs’ various challenges to

§ 265.01-e’s sensitive location restrictions.




       51 Some Plaintiﬀs allege speciﬁc facts heightening their likelihood of arrest for certain
intended violations. Mann alleges that a member of his congregation is a local law enforcement
oﬃcer, J.A. 179 (Mann Decl. ¶ 23); Terrille explains that he is particularly likely to be arrested
for possessing a gun at airports when he goes through TSA screening, J.A. 189, 194 (Terrille
Decl. ¶¶ 9, 22); and Johnson notes that he often encounters state Environmental Conservation
Oﬃcers while ﬁshing, increasing the chance of arrest for carrying a gun in state parks, J.A. 142
(Johnson Decl. ¶ 24). Those claims are thus on safer footing, but we need not decide how much
safer given our conclusion that, even without those additional allegations, Plaintiﬀs have stated
a credible threat of prosecution.

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I.     Treatment Centers

       Section 265.01-e(2)(b) prohibits possession of a gun in any “location

providing health, behavioral health, or chemical dep[e]ndance care or services.”

We ﬁrst consider standing.

       A.      Standing

       The district court found that only Joseph Mann has standing to challenge

paragraph (2)(b). 52 Antonyuk, 639 F. Supp. 3d at 265. Mann, a pastor at

Fellowship Baptist Church in Parish, NY, averred that his church “provides an

addiction recovery ministry” through an organization called “RU Recovery.”

J.A. 181 (Mann Decl. ¶ 28). This ministry “ha[s] brought persons in the program

to church property for counseling and care.” Id. at 181–82 (Mann Decl. ¶¶ 28–

29). It is not clear whether Mann personally provides counseling in these

sessions, but Mann does allege that the church (his workplace) is a “location

providing chemical depend[e]nce care or services” when hosting the RU



       52 Plaintiﬀ Leslie Leman asserted standing to challenge this provision (and nearly every
other sensitive location restriction) on the basis that he regularly carries his personal ﬁrearm in
his work as a volunteer ﬁreﬁghter and may be called to respond to various sensitive locations.
The district court rejected this theory of injury-in-fact as impermissibly speculative. See
Antonyuk, 639 F. Supp. 3d at 262. Since Plaintiﬀs do not dispute that conclusion, any argument
as to Leman’s standing is forfeited. “Although parties cannot waive arguments against
jurisdiction, they are more than free to waive (or forfeit) arguments for it.” Taylor v. Pilot Corp.,
955 F.3d 572, 582 (6th Cir. 2020) (Thapar, J., concurring in part) (collecting cases).

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Recovery program and that Mann “intend[s] to continue to possess and carry

[his] ﬁrearm while” at the church, J.A. 177, 181 (Mann Decl. ¶¶ 11, 29). The State,

by contrast, contends that the church is not a qualifying location providing

“behavioral health or chemical depend[e]nce care or services,” because the RU

Recovery program “is intended to encourage [participants] ‘to seek help and

voluntarily enter treatment’” rather than “to provide treatment.” Antonyuk

Nigrelli Br. at 49–50 (quoting J.A. 181 (Mann Decl. ¶ 28)).

       In determining Mann’s standing, we are not called on to oﬀer a deﬁnitive

or comprehensive interpretation of the CCIA. 53 “[C]ourts are to consider

whether the plaintiﬀ’s intended conduct is ‘arguably proscribed’ by the

challenged statute, not whether the intended conduct is in fact proscribed.”

Picard v. Magliano, 42 F.4th 89, 98 (2d Cir. 2022) (quoting Driehaus, 573 U.S. at

162). Thus, “if a plaintiﬀ’s interpretation of a statute is reasonable enough[,] and

under that interpretation, the plaintiﬀ may legitimately fear that it will face

enforcement of the statute, then the plaintiﬀ has standing to challenge the




       53 For this reason, nothing we say here purports to bind New York state courts when
interpreting § 265.01-e in cases properly before them. This case presents exclusively federal
questions, and we would not presume to tell New York courts what a New York criminal statute
means or to ignore a state court’s interpretation of the statute if one exists. But since we know
of no relevant New York case law, of necessity we strike out on our own.

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statute.” Id. (internal quotation marks omitted). In making that determination,

we do not defer to the government’s interpretation of the statute, Vt. Right to Life

Comm., Inc. v. Sorrell, 221 F.3d 376, 383 (2d Cir. 2000) (ﬁnding plaintiﬀ’s

interpretation “reasonable enough” even though contradicted by the state), or to

its representations regarding the likelihood of a particular prosecution, id. (“The

State also argues that . . . [it] has no intention of suing [plaintiﬀ] for its activities.

While that may be so, there is nothing that prevents the State from changing its

mind. It is not forever bound, by estoppel or otherwise, to the view of the law

that it asserts in this litigation.”).

       Mann’s allegations suﬃce under this forgiving standard. Paragraph (2)(b)

is intentionally broad: rather than applying only to locations providing

“treatment,” as the State would have it, the law refers to “care or services.” The

RU Recovery program may not provide “chemical depend[e]nce care,” but

addiction counseling is at least arguably a “chemical depend[e]nce service.”

Since Mann has alleged an intention to violate the law by carrying a gun at a

location that (arguably) “provid[es] . . . chemical depend[e]nce . . . services” (and

he faces a “credible threat” of prosecution for the reasons explained above), he

has standing to seek an injunction against enforcement of paragraph (2)(b).



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       B.      Merits

               1.      District Court Decision

       We now turn to the merits of Mann’s challenge to § 265.01-e(2)(b). The

district court found that the plain text of the Second Amendment covered the

conduct proscribed by § 265.01-e(2)(b)—i.e., licensed carriage of a concealed

ﬁrearm for self-defense in a location providing behavioral health, or chemical

dependence care or services—and accordingly placed the burden on the State to

demonstrate the statute’s consistency with this Nation’s tradition of ﬁrearm

regulation. 54 The State, in turn, oﬀered two categories of historical analogues.

First, the State pointed to an 1837 Massachusetts militia law, an 1837 Maine

militia law, and an 1843 Rhode Island militia law that each excluded people with

intellectual disabilities, mental illnesses, and alcohol addictions from militia

service. Second, the State generally referenced the tradition of restricting

ﬁrearms in locations frequented by vulnerable populations such as children and

provided, as examples, state statutes prohibiting ﬁrearms in school rooms.




       54  The district court held that the Second Amendment covered the conduct proscribed by
§ 265.01-e(2)(b) “except to the extent that the places at issue in th[e] regulation” were not open
to the public as deﬁned by New York state law. Antonyuk, 639 F. Supp. 3d at 316. Thus, the
district court’s injunction did not prohibit the State from enforcing § 265.01-e(2)(b) in non-public
areas of behavioral health or substance dependence treatment centers.

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      Assuming, without deciding, that the State’s proﬀered analogues were

suﬃciently established and representative to constitute a national tradition, the

district court nonetheless rejected the two groups of analogues as insuﬃciently

similar to the challenged provision. For one, the district court determined that

the purposes of the state militia laws were diﬀerent from that of § 265.01-e(2)(b)

in that the militia laws were concerned with keeping ﬁrearms out of the hands of

individuals with intellectual disabilities, mental health issues, and alcoholism,

whereas § 265.01-e(2)(b) prohibits law-abiding, licensed individuals from

carrying their ﬁrearms in places providing behavioral health or chemical

dependence care or services. Even putting aside this diﬀerence in purpose, the

district court concluded that § 265.01-e(2)(b) burdened Second Amendment

rights more than did the state militia laws because, while the state militia laws

took ﬁrearms out of the hands of individuals with the above-listed conditions

only during wartime, § 265.01-e(2)(b) precludes all licensed carriers from ever

bringing their ﬁrearm into a behavioral health or chemical dependence service

center.

      The district court likewise rejected the tradition of regulating ﬁrearms in

locations frequented by vulnerable populations such as children. Because the



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State had not adduced any evidence showing that more children are present in

places of behavioral and substance dependence care today than in the 18th and

19th centuries, the court found that the absence of 18th- and 19th-century

regulations prohibiting ﬁrearms in medical establishments indicated that the

historical tradition of regulating ﬁrearms out of a concern for children has not

traditionally extended so far as to justify regulation in medical establishments.

      Finally, because both medical establishments and gun violence existed in

the 18th- and 19th-centuries, the district court considered the lack of evidence as

to historical ﬁrearm bans “in places such as ‘almshouses,’ hospitals, or

physician’s oﬃces,” as “evidence of th[e] regulation’s inconsistency with the

Second Amendment.” Antonyuk, 639 F. Supp. 3d at 318.

            2.     The State’s Historical Analogues

                   a.    Well-Established and Representative

      Because the district court only assumed, without deciding, that the State’s

proposed analogues were representative and established, we begin there.

“[A]nalogical reasoning requires only that the government identify a well-

established and representative historical analogue.” Bruen, 142 S. Ct. at 2133

(emphasis removed). Representativeness and establishment ensure against



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“endorsing outliers that our ancestors would never have accepted.” Id. (internal

quotation marks omitted). On the other hand, as Bruen cautioned, these

requirements cannot be stretched to require the historical twin or “dead ringer.”

Id.

       Despite assuming that the State’s proﬀered analogues were suﬃciently

well-established and representative, the district court expressed some skepticism

as to this conclusion. First, it questioned whether laws from three states could

constitute an established tradition. Second, due to the population size of those

three states relative to that of the nation, it doubted these laws were

representative. 55 We do not share these skepticisms. True, Bruen did utilize the

number of states with analogous regulations and their relative populations as

indicia of the orthodoxy and representativeness of New York’s proper-cause

requirement, but New York’s requirement was exceptional in both the way and

the extent to which it burdened Second Amendment rights. As we have already




       55 Contrary to the district court’s conclusion, the percentage of the national population—
six percent—living in Massachusetts, Rhode Island, and Maine at the time of the statutes’
passage was signiﬁcant compared to that deemed unrepresentative in Bruen. See Bruen, 142 S.
Ct. at 2154 (“The exceptional nature of these western restrictions is all the more apparent when
one considers the miniscule territorial populations [about two-thirds of 1%] who would have
lived under them.”).

                                              138
noted, less exceptional regulations permit a “more nuanced approach.” Id. at

2132.

        Lacking any evidence that the laws from Maine, Massachusetts, and Rhode

Island were historical anomalies, we ﬁnd them suﬃciently established and

representative to stand as analogues. 56 Compare id. at 2133 (“Although the

historical record yields relatively few 18th- and 19th-century ‘sensitive places’

where weapons were altogether prohibited . . . we are also aware of no disputes

regarding the lawfulness of such prohibitions.” (emphasis added)), with id. at 2154

(“the bare existence of these localized restrictions cannot overcome the

overwhelming evidence of an otherwise enduring American tradition permitting

public carry” (emphasis added)). Disqualifying proﬀered analogues based only

on strict quantitative measures such as population size absent any other

indication of historical deviation would turn Bruen into the very “regulatory

straightjacket” the Court warned against. Id. at 2133; see also supra Licensing

Regime § II.A.2 (rejecting view that percentage of population governed is



        56The district court did not question the conventionality or representativeness of the
State’s other group of analogous regulations—those prohibiting ﬁrearms in schools—nor do we.
The Supreme Court has already determined that such regulations are well-established and
representative. See Bruen, 142 S. Ct. at 2133 (noting “Heller’s discussion of ‘longstanding’ laws
forbidding the carrying of ﬁrearms in sensitive places such as schools” (internal quotation
marks omitted)).

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dispositive and instead explaining that this consideration “is only one clue that

said law may have been an outlier unable to overcome a contrary tradition”).

                      b.     Consistency with Tradition

       Both sets of the State’s proﬀered analogues place § 265.01-e(2)(b) within

this Nation’s tradition of ﬁrearm regulation in locations where vulnerable

populations are present. We begin by comparing how and why § 265.01-e(2)(b)

and each set of the proﬀered historical analogues burdens Second Amendment

rights. Section 265.01-e(2)(b) aims to protect “vulnerable or impaired people who

either cannot defend themselves or cannot be trusted to have ﬁrearms around

them safely.” Antonyuk Nigrelli Br. at 62. It does so by prohibiting carriage of

ﬁrearms in centers providing behavioral health or substance dependence

services. As to the 19th-century state militia laws, the State argues that the

statutes of Maine, Massachusetts, and Rhode Island, which prohibited those with

mental illness, intellectual disabilities, and alcohol addiction from serving in

militias, were aimed at protecting vulnerable populations from either misusing

arms or having arms used against them. 57 These statutes operated by preventing

such individuals from serving in the militia. See J.A. 635 (MASS. GEN. LAWS ch.


       57Though taking issue with these laws’ ﬁt as analogues for § 265.01-e(2)(b), Plaintiﬀs do
not dispute this characterization of the statutes’ purpose, and the district court accepted it.

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240, § 1 (1837)); J.A. 639 (1837 Me. Laws 424); J.A. 644 (1843 R.I. Pub. Laws 1).

Similarly, the State claims that the tradition of regulating ﬁrearms in locations

frequented by children, as exempliﬁed by historical regulations prohibiting guns

in schools, is motivated by the need to protect a vulnerable population. 58 This

category of laws operated by preventing the carriage of ﬁrearms in places of

education or school rooms. See, e.g., J.A. 602 (1870 Tex. Gen. Laws 63, ch. 46); J.A.

611 (1883 Mo. Sess. Laws 76); J.A. 617 (1889 Ariz. Sess. Laws 17, § 3); J.A. 621

(1890 Okla. Terr. Stats., Art. 47, § 7).

       The three militia laws and the tradition of prohibiting ﬁrearms in schools

are each “relevantly similar” to § 265.01-e(2)(b). The relevantly similar features

of those statutes prohibiting ﬁrearms in schools are the burden they place on

Second Amendment rights and the reason: prohibiting ﬁrearm carriage for the

protection of vulnerable populations. 59 The relevantly similar feature of the state



       58 Again, though taking issue with their ﬁt as analogues for § 265.01-e(2)(b), Appellees do
not dispute that 18th- and 19th-century laws prohibiting guns in schools, which the State
provided as examples of the more general tradition of prohibiting ﬁrearms in places frequented
by vulnerable people, were motivated by the need to protect children. Nor do Plaintiﬀs dispute
that children are a vulnerable population.
       59We also ﬁnd historical support for § 265.01-e(2)(b) in the fact that these laws tended to
not only prohibit guns in school rooms, i.e., spaces frequented by vulnerable children, but also
anywhere people “assemble[] for educational, literary or social purposes.” J.A. 602 (1870 Tex.
Gen. Laws 63, ch. 46); see also J.A. 611 (1883 Mo. Sess. Laws 76) (same); J.A. 617 (1889 Ariz. Sess.
Laws 17, § 3) (same for “amusement or for educational or scientiﬁc purposes”); J.A. 620 (1890


                                                141
militia laws is who has historically been considered to make up a vulnerable

population justifying ﬁrearm regulation on their behalf, i.e., the mentally ill or

those with substance use disorders. 60

       In this case, both analogues surely suﬃce to validate our ﬁnding of the

likely constitutionality of § 265.01-e(2)(b). Had the State pointed only to those

laws prohibiting ﬁrearms in schools, the State would have had to demonstrate

that individuals with behavioral and substance abuse disorders are suﬃciently

analogous to children protected by school carriage prohibitions, as the State

cannot justify a sensitive location prohibition merely by designating a population

as “vulnerable” and enacting a law purporting to protect them. See Bruen, 142 S.




Okla. Terr. Stats., Art. 47, § 7) (same for “educational purposes”). The modern hospitals that
provide some of today’s behavioral care and substance disorder services provide “the principal
clinical-education settings for medical students enrolled in medical schools.” Amicus Br. on
behalf of Greater New York Hospital Assoc., at 14.
       60 Our ﬁnding that individuals with behavioral and substance abuse disorders have
historically been considered a “vulnerable population” who cannot be entrusted near weapons
ﬁnds further support in the regulation of weapons by many publicly operated asylums for the
mentally ill. Such rules appear to have been motivated by the fear that patients would obtain
possession of such weapons and thereby injure themselves or others. Utica Asylum and Buﬀalo
State Asylum (both state facilities) prohibited “attendant[s]” from “plac[ing] in the hands of a
patient, or leav[ing] within his reach,” certain weapons. See Rules, Regs. & By-Laws of the N.Y.
State Lunatic Asylum at Utica, Duty of Attendants to Patients § 7 (1840); Rules & Regs.
Governing the Buﬀalo State Asylum, Duty of Attendants to Patients § 7 (1888). During
Reconstruction and shortly after, many other government-run institutions adopted the same
rule. See Rules for the Missouri State Lunatic Asylum § 8 (1870); Rules, Regulations, and By-
Laws of the Arkansas Lunatic Asylum, Little Rock § 8 (1883); Rules & Regulations of State
Lunatic Asylum No. 3, Nevada, Mo. § 129 (1887).

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Ct. at 2133 (emphasizing that “analogical reasoning under the Second

Amendment” is not a “blank check”). However, the evidence from the state

militia laws that individuals with behavioral or substance dependence disorders

have historically been viewed as a vulnerable population justifying ﬁrearm

regulation makes such analogical reasoning unnecessary to our holding. 61

Likewise, had the State pointed only to the militia law analogues, which

disarmed the members of the vulnerable population itself rather than others in

proximity, it would have borne the burden of demonstrating that § 265.01-

e(2)(b)—which disarms everyone in spaces where a vulnerable population is

present—is consistent with or distinctly similar to a historical tradition.

       In sum, the State’s evidence establishes a tradition of prohibiting ﬁrearms

in locations congregated by vulnerable populations and a concomitant tradition

of considering those with behavioral and substance dependence disorders to




       61 The state need not always provide evidence that a group has historically been
considered vulnerable every time it wishes to regulate ﬁrearms to protect that group. An even
“more nuanced approach” would be appropriate were the regulation to address a vulnerable
group or setting that did not exist at the time of Reconstruction or the Founding. Bruen, 142 S.
Ct. at 2132. But, as the State itself argues and depends on here, those with behavioral and
substance use disorders have long been considered a vulnerable group. See id. at 2132
(requiring more where “a challenged regulation addresses a general societal problem that has
persisted since the 18th century”).

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constitute a vulnerable population justifying ﬁrearm regulation. Section 265.01-

e(2)(b) is consistent with these traditions.

             3.     Proper Analysis of Proﬀered Analogues

      In rejecting the State’s evidence as to the tradition of regulating ﬁrearms in

places frequented by vulnerable populations such as children, the district court

misidentiﬁed the relevantly similar features of the State’s proﬀered analogues

The district court found that the State failed to show that today’s treatment

centers contain more children than similar locales in the 18th- and 19th-centuries;

but the relevantly similar feature of these analogues is the how and the why:

ﬁrearm prohibition (how) in places frequented by and for the protection of

vulnerable populations (why). The New York legislature need not have

attempted to protect the exact same subset of vulnerable persons for its

regulation to be relevantly similar to these historical analogues. Similarly, the

district court discounted the state militia laws on the ground that they impose a

lesser burden on Second Amendment rights than § 265.01-e(2)(b); but the

relevantly similar feature of the state militia laws is that the intellectually

disabled, mentally ill, or those with substance use disorders have historically

been considered a vulnerable population justifying ﬁrearm regulation. In



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requiring both sets of the State’s analogues to burden Second Amendment rights

on behalf of the exact same group in the very same way, the district court

disregarded Bruen’s caution that “even if a modern-day regulation is not a dead

ringer for historical precursors, it still may be analogous enough to pass

constitutional muster.” Bruen, 142 S. Ct. at 2133.

      Furthermore, contrary to the district court’s conclusion, the State was not

required to show that ﬁrearms were traditionally banned “in places such as

‘almshouses,’ hospitals, or physician’s oﬃces.” Antonyuk, 639 F. Supp. 3d at 318.

For one, this requirement by the district court was a product of its erroneous

conclusion that the State’s evidence was insuﬃciently analogous. Properly

construed, that evidence establishes a historical tradition of ﬁrearm regulation

embracing § 265.01-e(2)(b) — the opposite of historical silence. Yet, even putting

that foundational error aside, the district court made too much of Bruen’s

observation that “when a challenged regulation addresses a general societal

problem that has persisted since the 18th century, the lack of a distinctly similar

historical regulation addressing that problem is relevant evidence that the

challenged regulation is inconsistent with the Second Amendment.” Bruen, 142

S. Ct. at 2131. See also supra Background § III.E.



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                                         *       *      *

        For the above stated reasons, the preliminary injunction is VACATED

insofar as the State was enjoined from enforcing § 265.01-e(2)(b) in behavioral

health and substance dependence care and service centers.

II.     Places of Worship

        Section 265.01-e(2)(c) of the CCIA criminalizes possession of a ﬁrearm in

“any place of worship, except for those persons responsible for security at such

place of worship.” N.Y. Penal L. § 265.01-e(2)(c). A suite of challenges to this

provision is before us on appeal:

      • In Antonyuk v. Chiumento, plaintiﬀ Joseph Mann avers that, as pastor, he
        frequently carries a concealed ﬁrearm in his church, the Fellowship Baptist
        Church in Parish, New York, and that he intends to continue doing so
        notwithstanding the CCIA’s prohibition on carrying ﬁrearms in places of
        worship. Antonyuk J.A. 72 ¶¶ 182–83. The district court (Suddaby, J.) held
        that the place of worship provision intruded on Mann’s Second Amendment
        right to carry ﬁrearms and that the State had failed to produce suﬃcient
        evidence of a historical tradition of analogous ﬁrearm regulations. It thus
        enjoined the defendants from enforcing the provision. 62 Antonyuk, 639 F.
        Supp. 3d at 321.


        62The district court in Antonyuk also enjoined the place of worship provision on the
ground that it was “too close to infringing on one’s First Amendment right to participate in
congregate religious services.” Antonyuk, 639 F. Supp. 3d at 322. No Plaintiﬀ had requested
injunctive relief on this ground, nor did the district court make ﬁndings as to whether any
Plaintiﬀ’s free exercise was inhibited by the place of worship provision; we therefore do not
consider it a basis for the injunction. See generally Mem. of Law in Supp. of Preliminary Inj.,


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   • In Hardaway v. Chiumento, the Plaintiﬀs Jimmie Hardaway, Jr. and Larry A.
       Boyd—respectively leaders of Trinity Baptist Church in Niagara Falls, New
       York and Open Praise Full Gospel Baptist Church in Buﬀalo, New York—
       similarly allege that the CCIA infringes on their right to carry ﬁrearms in
       their churches. Hardaway J.A. 57 ¶¶ 8–9; id. at 73 ¶ 43. The district court
       (Sinatra, J.) held that the historical analogues the State oﬀered were “far too
       remote, far too anachronistic, and very much outliers,” and therefore it also
       enjoined enforcement of the place of worship provision. Hardaway, 639 F.
       Supp. 3d at 442.

   • In Spencer v. Chiumento, Plaintiﬀs Micheal Spencer and His Tabernacle
       Family Church, Inc. in Horseheads, New York, of which Spencer is senior
       pastor, allege that the place of worship provision substantially burdens their
       “right to the free exercise of religion” by forbidding “Pastor Spencer and the
       Church’s members, under threat of criminal penalties, from exercising their
       religious conviction to carry ﬁrearms into the Church to protect themselves
       and other congregants.” Spencer J.A. 46–47 ¶¶ 11–12; id. at 61 ¶ 62. They
       also allege that the provision violates the Establishment Clause by
       “meddling in the internal aﬀairs of houses of worship” by depriving them
       of “the ‘right to control who may enter, and whether that invited guest can
       be armed.’” Id. at 63 ¶¶ 71–72 (quoting GeorgiaCarry.org, Inc., 687 F.3d at
       1264). To these arguments they also added a Second Amendment challenge
       based on Spencer’s individual right to carry ﬁrearms. Id. at 65–66 ¶¶ 78–86.
       The district court (Sinatra, J.) held that the Plaintiﬀs had shown a likelihood
       of success in demonstrating that the place of worship provision violates both
       their First and Second Amendment rights, and enjoined the defendants from
       enforcing the provision against “Pastor Spencer, the [plaintiﬀ] Church, its
       members, or their agents and licensees.” Spencer, 648 F. Supp. 3d at 469–71.



Antonyuk v. Nigrelli, No. 22-cv-00986 (Sept. 22, 2022), ECF No. 6-1 (not speciﬁcally challenging
the place of worship provision); Reply Mem. in Supp. of Preliminary Inj. at 29–31, supra (Oct. 22,
2022), ECF No. 69 (advancing only Second Amendment arguments against it).

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The State now appeals from the grant of preliminary injunctions in each case. It

does not dispute any Plaintiﬀ’s standing to challenge the place of worship

provision, and we see no impediment to standing.

      A.     Antonyuk and Hardaway

             1.    Standing and Mootness

      The New York legislature amended the place of worship provision after

the district courts enjoined it. Previously, the provision criminalized possession

of a ﬁrearm in “any place of worship or religious observation.” 2023 N.Y. Laws,

Ch. 55, pt. F, § 4. Eﬀective May 3, 2023, however, places of “religious

observation” are no longer covered, and the provision has an exception for

“those persons responsible for security at such place of worship.” Id. We must

consider whether the statutory amendment has mooted any of the Plaintiﬀs’

claims.

      With respect to Hardaway and Antonyuk, it has. Put simply, the amended

statute prohibits none of the Plaintiﬀs in these cases from doing what they seek

to do. “A case is moot when the issues presented are no longer live or the parties

lack a legally cognizable interest in the outcome.” Tann v. Bennett, 807 F.3d 51, 52

(2d Cir. 2015) (internal quotation marks omitted). It remains live if “a court can



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fashion some form of meaningful relief to award the complaining party.” Exxon

Mobil Corp. v. Healey, 28 F.4th 383, 392 (2d Cir. 2022) (internal quotation marks

omitted).

      The natural-person plaintiﬀs in Hardaway, Jimmie Hardaway, Jr. and Larry

Boyd, state directly in their complaint that they would grant themselves

permission to carry ﬁrearms in order to protect their churches if they could. See

Hardaway J.A. 71 ¶ 35 (“[A]s Pastor, Reverend Hardaway establishes the ﬁrearms

policy for Trinity Baptist. In that role, not only would he grant permission to himself

to carry for purposes of keeping the peace in his church (as he did prior to [the CCIA])

but he would also encourage congregants . . . to carry on church premises for the

defense of themselves and other congregants.” (emphasis added)); id. at 72 ¶ 37

(“Additionally, as Pastor, Bishop Boyd establishes the ﬁrearms policy for Open

Praise. In that role, prior to [the CCIA], he previously granted permission to

himself to carry for purposes of keeping the peace in his church and allowed

other licensed congregants to carry. He would continue to authorize licensed

concealed carry by himself and congregants on church premises for self-defense,

but for the enactment and enforcement of [the CCIA].” (emphasis added)). Now,

under the amended statute, they are perfectly capable of doing so.



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       Nor have the two organizational Plaintiﬀs in Hardaway articulated any

associational or direct injury suﬃcient to support the preliminary injunction. 63

To have associational standing, an organization must show, inter alia, that “its

members would otherwise have standing to sue in their own right.” United Food

& Com. Workers Union Loc. 751 v. Brown Grp., Inc., 517 U.S. 544, 553 (1996)

(quoting Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977)).

Plaintiﬀs Firearms Policy Coalition, Inc. and the Second Amendment Foundation

premised their representational standing solely on the two named Plaintiﬀs,

without adding supporting declarations from other members. See Hardaway J.A.

57–58 ¶¶ 10–11. Having made no submission about any members other than the

named Plaintiﬀs, the organizational Plaintiﬀs’ associational standing therefore

collapses alongside that of Hardaway and Boyd.

       This does not necessarily defeat the standing of the organizational

Plaintiﬀs; an organization may sue on its own behalf, so long as it can

“independently satisfy the requirements of Article III standing.” Knife Rights, 802

F.3d at 388. The organizational Plaintiﬀs allege the following theory of direct

injury: the passage of the CCIA prompted them to “incur ongoing expenses” to


       63In any event, the injunction in Hardaway was premised on the standing of the two
individual Plaintiﬀs. See Hardaway J.A. 14–18.

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launch and operate a “hotline to answer questions and provide legal

information” about New York’s gun laws. See Hardaway J.A. 59 ¶¶ 13–14. But as

we have explained, “expenditures or other activities, if incurred at the

organization’s own initiative, cannot support a ﬁnding of injury” suﬃcient to

create standing “when the expenditures are not reasonably necessary to continue

an established core activity of the organization bringing suit.” Conn. Parents

Union v. Russell-Tucker, 8 F.4th 167, 174 (2d Cir. 2021). The organizational

Plaintiﬀs allege that they “designed” and “creat[ed]” programs to inform their

members about the CCIA, Hardaway J.A. 59, ¶¶ 13–14, and they make no

allegations about how these concededly new programs are a continuation of their

“established core activity,” Russell-Tucker, 8 F.4th at 174.

      Compare this to Centro de la Comunidad Hispiana de Locust Valley v. Town of

Oyster Bay, which did ﬁnd independent organizational standing. 868 F.3d 104,

110 (2d Cir. 2017). In Centro, the organization argued that a new ordinance

would increase the diﬃculty of its already ongoing activities. Id. That is diﬀerent

from making the decision to create new programs, as the Plaintiﬀs in Hardaway

allege.




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      Like the Connecticut Parents Union in Russell-Tucker, the Firearms Policy

Coalition and the Second Amendment Foundation advance a theory of injury

that would allow any organization to “establish standing by claiming to have

been injured by any law or regulation touching on any issue within the scope of

its mission (which the organization itself can deﬁne or redeﬁne) so long as it

expends resources to oppose that law or regulation.” Id. at 173. We reject so

broad a conception of organizational injury: again, because the organizational

Plaintiﬀs have not shown the kind of “involuntary and material impacts on core

activities by which the[ir] organizational mission has historically been carried

out,” id. at 175, they lack standing suﬃcient to support the preliminary

injunction issued against the place of worship provision.

      The challenge to the place of worship provision in Antonyuk fares

similarly. Plaintiﬀ Mann alleges that his church “maintained a church security

team, consisting of trusted church members . . . designated to carry their ﬁrearms

to provide security and protection to the congregation,” and that he “intends to

continue to possess and carry [his] ﬁrearm while on church property”

notwithstanding the place of worship provision. Antonyuk J.A. 72 ¶¶ 182–83

(alteration in original) (quotation marks omitted). Again, this is exactly what the



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amended statute allows Mann to do; he can freely designate himself and the

church security team as “persons responsible for security,” N.Y. Penal L.

§ 265.01-e(2)(c), and thereby except them from the scope of the CCIA’s criminal

prohibition. 64 No other plaintiﬀ in Antonyuk has standing to support the district

court’s injunction against the place of worship provision.

               2.     Vacatur of Preliminary Injunctions

       With the subsequent mooting of Plaintiﬀs’ request for a preliminary

injunction, the question remains as to the nature of our mandate—whether to

vacate or aﬃrm the injunctions. “In considering whether vacatur is

inappropriate, our primary concern is the fault of the parties in causing the

appeal to become moot.” Russman v. Bd. of Educ. of Enlarged City Sch. Dist. of

Watervliet, 260 F.3d 114, 121 (2d Cir. 2001). Vacatur is appropriate “in those cases

where review is ‘prevented through happenstance’ and not through

circumstances attributable to any of the parties.” Haley v. Pataki, 60 F.3d 137, 142

(2d Cir. 1995) (“Here, mootness resulted neither from happenstance nor from



       64The Antonyuk Plaintiﬀs’ post-amendment submission to this Court under Federal Rule
of Appellate Procedure 28(j) seems to conﬁrm this analysis. It calls the new grant of authority to
church leaders “a welcome change” and argues only that “other provisions” of the CCIA keep
Mann from keeping weapons in the church (and that the statute amounts to compelled speech),
objections addressed elsewhere in this opinion. See Antonyuk Appellees’ May 10, 2023 Letter at
1–2, ECF No. 378.

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settlement from the entire action, but from the Governor’s voluntary compliance

with the preliminary injunction. Under the circumstances of this case, vacatur of

the injunction is proper.”).

      The amendment of the place of worship provision is not attributable to any

named defendant in any of the cases on appeal; it is the product of the New York

legislature’s intervention. Most importantly, none of the New York oﬃcers

named as defendants made a voluntary choice to discontinue their enforcement

of the prior place of worship provision—which decision could one day be

reversed, and the issues thereby revived. The challenged law is gone, and there

is no possibility that the defendants could seek to enforce it against the Plaintiﬀs.

Under these circumstances, vacatur of the district courts’ injunctions is

warranted.

      B.     Spencer

      The Plaintiﬀs in Spencer—Pastor Spencer and the church he leads—argue

that the CCIA’s restriction on ﬁrearms in places of worship violates the First

Amendment’s Free Exercise and Establishment Clauses. Spencer avers that he

feels a “moral and religious duty to take reasonable measures to protect the

safety of those who enter the Church,” and that accordingly “before the church



                                         154
carry ban went into eﬀect, [he] regularly carried a concealed pistol on the

Church’s New York campuses” and “allowed security volunteers and other

churchgoers with New York carry licenses to carry their own concealed

ﬁrearms.” Spencer J.A. 74 ¶¶ 22–23. Unlike the Plaintiﬀs in Antonyuk and

Hardaway, the claims of the Spencer Plaintiﬀs are not limited to their own carriage

of weapons, but extend to a “desire to allow others to carry concealed ﬁrearms

. . . on the Church’s New York campuses” because of a belief “that such

concealed carry will protect [Spencer] and other worshippers from the kind of

violence that other houses of worship across the country have suﬀered, and

because such concealed carry eﬀectuates our religious beliefs . . . that we must

protect the physical safety of the ﬂock.” Id. at 75 ¶ 29.

      The district court accepted both First Amendment arguments. It held that

the CCIA’s explicit targeting of places of worship facially discriminates against

religious activity, and that the law was not neutral to religion because “[c]areful

drafting ensured that carrying of concealed weapons for religious reasons at

place[s] of worship is prohibited, while the same carrying in numerous other

circumstances remains permissible.” Spencer, 648 F. Supp. 3d at 462. It

determined that the law was not generally applicable because the CCIA permits



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several diﬀerent types of private businesses to allow weapons on their property

while prohibiting religious organizations from doing the same. Id. at 463.

Further, it concluded that the CCIA violates the Establishment Clause because it

interferes in internal matters of the church by “dictat[ing] that protection of the

Church may only be provided by . . . individuals ﬁtting into a statutory

exemption,” instead of members of the congregation writ large. Id. at 465.

      Separately, the district court concluded that the place of worship provision

lacked historical analogues suﬃcient to show that it imposed a constitutional

burden on the exercise of Spencer’s Second Amendment right to carry a ﬁrearm.

Id. at 466–68. It therefore enjoined the statute under both the First and Second

Amendments, as incorporated by the Fourteenth Amendment.

      We aﬃrm the preliminary injunction under the Free Exercise Clause, and

express no view as to the other arguments raised by the Plaintiﬀs.

                                    *     *      *

      We consider ﬁrst whether Plaintiﬀs have demonstrated a likelihood of

success on the merits. “[A] plaintiﬀ may carry the burden of proving a free

exercise violation . . . by showing that a government entity has burdened his

sincere religious practice pursuant to a policy that is not ‘neutral’ or ‘generally



                                         156
applicable.’” Kennedy v. Bremerton Sch. Dist., 142 S. Ct. 2407, 2421–22 (2022)

(quoting Emp. Div., Dep’t of Hum. Res. of Or. v. Smith, 494 U.S. 872, 878 (1990)).

             1.    Burden on Religious Practice

      As with the Plaintiﬀs in Hardaway and Antonyuk, whether the Plaintiﬀs are

injured by the place of worship provision must be reconsidered following the

amendment to the statute.

      The central argument advanced by the Spencer Plaintiﬀs is that the CCIA

impedes their religious duty to protect the congregation by carrying ﬁrearms in

their church and inviting congregants to do the same. A faith organization has a

cognizable interest in eliminating barriers to its religious practice, including

when the barriers primarily impact its adherents’ conduct. See, e.g, Church of the

Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 528 (1993) (church and

religious leader may challenge restriction on animal sacriﬁce); Roman Cath.

Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 65–66 (2020) (religious organizations

may challenge place-of-worship occupancy restrictions); Fifth Ave. Presbyterian

Church v. City of New York, 293 F.3d 570, 574–75 (2d Cir. 2002) (church may

challenge City policy to remove homeless people from church’s outdoor

property).



                                         157
      Although the burden on the Plaintiﬀs’ religious practice has been reduced

by the intervening amendment, a remediable injury to the Plaintiﬀs’ religious

practice subsists. The complaint and aﬃdavits focus on ﬁrearms carried by

church leadership and security volunteers, but also state that ordinary members

of the congregation carry ﬁrearms pursuant to a religious calling—and,

importantly, are encouraged to do so by Spencer. The complaint states that

“numerous church members who hold New York concealed-carry licenses . . .

would like to carry ﬁrearms on the Church’s New York campuses as a means of

self-defense,” Spencer J.A. 56 ¶ 46, and that the Plaintiﬀs invite this conduct as

part of the Plaintiﬀs’ “sincere religious beliefs,” id. at 61 ¶ 61. Spencer’s

declaration avers that he “allowed security volunteers and other churchgoers” to

carry ﬁrearms “as an application of” his and the Church’s religious beliefs. Id. at

74 ¶ 24.

      The New York legislature’s decision to authorize the Spencer Plaintiﬀs and

other church leaders to appoint “persons responsible for security” who may

carry ﬁrearms in the church therefore gives the Plaintiﬀs only partial relief.

While they may now arm themselves and their security volunteers, they still

cannot give general license to their congregants to bring ﬁrearms into the church



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unless they are willing to designate every congregant as “responsible for

security.” The need to make this designation is not an obstacle faced by secular

establishments that wish to authorize the carriage of ﬁrearms. Many members of

the congregation may feel unwilling to carry ﬁrearms in the church if they are

required to take such a responsibility, and Spencer and the Church cannot invite

congregants to carry ﬁrearms without exhorting them to take up a responsibility

to protect not only themselves or their families but also the congregation as a

whole.

      The State argues that the place of worship provision does not meaningfully

burden the Plaintiﬀs’ religious practice. Spencer Appellants’ Br. at 19–20. In

direct examination during a hearing before the district court, counsel for the State

asked Spencer whether he felt that other pastors that he supervises were “failing

their religious obligation to protect the ﬂock” by not carrying weapons; Spencer

replied: “Each person, I believe, has their right to believe as they will. I don’t

dictate even to my staﬀ.” Spencer J.A. 237–38. The State takes this, and some

similar exchanges in which Spencer acknowledged that he did not police the

ﬁrearm-carrying practices of his congregants or fellow pastors, to be an




                                         159
admission that “carrying ﬁrearms is not necessary to fulﬁll a [purported]

religious obligation to protect congregants.” Spencer Appellants’ Br. at 20.

      The State does not dispute, however, that Spencer used to carry a ﬁrearm

in the church because of a personal religious belief and encouraged his

congregants to do the same. Nor does it dispute that Spencer no longer did so

after the CCIA was passed. This is all that is required; the burden element is

fulﬁlled when an individual plaintiﬀ is prevented from engaging in a religious

practice by state action. The practice need not form part of an orthodox religious

doctrine or be pursued collectively or uniformly. See Ford v. McGinnis, 352 F.3d

582, 593 (2d Cir. 2003) (“Neither the Supreme Court nor we . . . have ever held

that a burdened practice must be mandated . . . . To conﬁne the protection of the

First Amendment to only those religious practices that are mandatory would

necessarily lead us down the unnavigable road of attempting to resolve intra-

faith disputes over religious law and doctrine.”). Spencer’s decision not to verify

which members of his congregation carry ﬁrearms does not impeach his religious

beliefs any more than a pastor’s failure to check the tax returns of his

congregation-members would impeach his belief in the religious virtues of

charity.



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      The State relies on this Court’s decision in Green Haven, which concerned a

constitutional challenge brought by a group of Quakers whose meetings with

imprisoned coreligionists had been rescheduled from Saturday to Friday. Green

Haven Prison Preparative Meeting of the Religious Soc’y of Friends v. N.Y. State Dep’t

of Corr. & Cmty. Supervision, 16 F.4th 67, 85 (2d Cir. 2021). The Green Haven

plaintiﬀs failed to show a burden on the group’s religious practice because,

notwithstanding allegations that rescheduling had caused them

“inconveniences,” the plaintiﬀs “failed to establish that scheduling the Quarterly

Meetings on Saturdays (as opposed to any other day) bears any religious

signiﬁcance whatsoever.” Id. at 85–86. Importantly, the state action “did not

forbid” the group’s meetings. Id. at 85. Here, however, Spencer has alleged he

places a religious signiﬁcance in encouraging his congregation to carry ﬁrearms

in his church, and this encouragement has been made at least partially unlawful

by the CCIA. Moreover, Green Haven is inapposite because it arises in the setting

of a prison, where security and penological concerns impose limits on prisoners’

rights that would not be countenanced as to the non-incarcerated population.

      To the extent the State disputes the sincerity of Spencer’s beliefs, we

decline to consider vacatur on these grounds. To assess the sincerity of a



                                          161
plaintiﬀ’s religious belief, “[t]he need for a full exposition of facts is profound,”

because “determining a man’s state of mind is ‘an awesome problem,’ capable of

resolution only by reference to a panoply of subjective factors,” including “a

litigant’s state of mind, motive, sincerity or conscience.” Patrick v. LeFevre, 745

F.2d 153, 159 (2d Cir. 1984) (quoting Sittler v. United States, 316 F.2d 312, 325 (2d

Cir. 1963) (Kaufman, J., concurring)). Because “a sojourn into an adherent’s

mind-set will inevitably trigger myriad factual inferences, as to which reasonable

persons might diﬀer in their resolution,” we have demanded that “this

function . . . be[] entrusted to the jury.” Id.

      The district court accepted the sincerity of Spencer’s beliefs, see Spencer, 648

F. Supp.3d at 462, and at this preliminary stage we will not supplant its view

based on our construction of a few excerpts from Spencer’s testimony in a cold

record. Aﬃrming this preliminary injunction does nothing to foreclose the

parties’ dispute as to the Plaintiﬀs’ religious beliefs. It is the State’s right to

oppose the allegations in the complaint and to make its case—to the factﬁnder at

trial—that Spencer does not genuinely believe in the importance of ﬁrearms in

his church. At this stage, however, Plaintiﬀs have suﬃciently alleged that the

CCIA burdens their sincerely held religious practice.



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             2.     Neutrality & General Applicability

      However, even if a law burdens a religious practice, it is not

constitutionally suspect if it is “neutral” and “generally applicable.” Kennedy,

142 S. Ct. at 2422 (citing Smith, 494 U.S. at 879–81). “The State ‘fails to act

neutrally when it proceeds in a manner intolerant of religious beliefs or restricts

practices because of their religious nature.’” We the Patriots USA, Inc. v. Hochul,

17 F.4th 266, 281 (2d Cir. 2021) (quoting Fulton v. City of Philadelphia, 141 S. Ct.

1868, 1877 (2021)). A law is “not generally applicable if it is substantially

underinclusive such that it regulates religious conduct while failing to regulate

secular conduct that is at least as harmful to the legitimate government interests

purportedly justifying it.” Cent. Rabbinical Congr. of U.S. & Canada v. N.Y.C. Dep’t

of Health & Mental Hygiene, 763 F.3d 183, 197 (2d Cir. 2014).

      In Roman Catholic Diocese of Brooklyn v. Cuomo, the Supreme Court held that

a law fails the Smith test of neutrality when it “single[s] out houses of worship for

especially harsh treatment.” 141 S. Ct. at 66. In that case, the Court held that

certain COVID-motivated occupancy restrictions were not neutral because they

limited the number of people who could gather for religious services but left

undisturbed several categories of businesses that were designated as essential.



                                          163
The Court observed that “essential” locations such as “factories and schools” had

“contributed to the spread of COVID-19”—the state’s rationale for proscribing

religious exercise—but that these locations were nonetheless “treated less

harshly than the [parties’] churches and . . . synagogues.” Id. at 67.

      Similarly, in Tandon v. Newsom, 141 S. Ct. 1294 (2021), the Supreme Court

granted an injunction pending appeal against a California law that prohibited at-

home gatherings of more than three households. The plaintiﬀs in Tandon wanted

to gather at home to worship, and the Supreme Court faulted the law for

“treat[ing] some comparable secular activities more favorably than at-home

religious exercise” by “permitting hair salons, retails stores, personal care

services, movie theaters, private suites at sporting events and concerts, and

indoor restaurants to bring together more than three households at a time.” Id. at

1297. The Court was emphatic that strict scrutiny applies under the Free Exercise

Clause whenever laws “treat any comparable secular activity more favorably

than religious exercise;” it is therefore “no answer that a State treats some

comparable businesses or other activities as poorly or even less favorably than

the religious exercise at issue.” Id. at 1296.




                                          164
      These cases decide the Spencer Plaintiﬀs’ challenge to the place of worship

provision. The State argues that the CCIA regulates neutrally because it equally

prohibits “those who carry ﬁrearms into places of worship as . . . those who carry

ﬁrearms into any of the other enumerated sensitive locations,” and because it

“does not exempt persons based on their asserted justiﬁcation [religious or

otherwise] for carrying a ﬁrearm,” Spencer Appellants’ Br. at 24. However,

Tandon demands that the state cannot regulate “any comparable secular activity”

less restrictively, 141 S. Ct. at 1296. “[W]hether two activities are comparable for

purposes of the Free Exercise Clause must be judged against the asserted

government interest that justiﬁes the regulation at issue.” Id. at 1297.

      The State argues that the place of worship designation is justiﬁed because

such places are (i) loci of constitutionally protected activity, gathering (ii)

vulnerable people and (iii) crowds. Spencer Appellants’ Br. at 25–26. It

emphasizes that a heightened risk of gun violence in places of worship makes the

secular locations referenced by the district court—“hair salons, retail stores,

shopping malls, gas stations, oﬃce buildings, garages, and countless other

private actors hosting secular activities,” 648 F. Supp. 3d at 463,—poor

comparators for purposes of the First Amendment analysis.



                                          165
      In reply, the Spencer Plaintiﬀs oﬀer the shopping mall as a paradigmatic

location—not designated as sensitive under the CCIA—that (like places of

worship) has been targeted by shootings and is, at times, a site for

constitutionally protected free speech at which both vulnerable persons and

children may gather. Spencer Appellees’ Br. at 28–30. That example alone would

perhaps be enough to subject the place of worship provision to strict scrutiny

under Tandon.

      But more broadly, the CCIA is not neutral because it allows the owners of

many forms of private property, including many types of retail businesses open

to the public, to decide for themselves whether to allow ﬁrearms on the premises

while denying the same autonomy to places of worship. By adopting a law that

applies diﬀerently as to places of worship (alongside the other enumerated

sensitive places) than to most other privately owned businesses and properties,

the CCIA is, on its face, neither neutral nor generally applicable. See Roman Cath.

Diocese, 141 S. Ct. at 66 (regulations that “single out houses of worship for

especially harsh treatment” will “violate the minimum requirement of neutrality

to religion” (internal quotation marks omitted)).




                                        166
             3.    Strict Scrutiny

      “A law burdening religious practice that is not neutral or not of general

application must undergo the most rigorous of scrutiny.” Church of the Lukumi

Babalu Aye, 508 U.S. at 546.

      No party disputes that “the State has a compelling interest in protecting

the public against gun violence.” Spencer Appellants’ Br. at 32. Nor do we. The

question is whether the place of worship provision is the “least restrictive

means” available to achieve the State’s compelling interest. Thomas v. Rev. Bd. of

Ind. Emp. Sec. Div., 450 U.S. 707, 718 (1981). When a plaintiﬀ has demonstrated

that a law burdens religious activity in a non-neutral way, “narrow tailoring

requires the government to show that measures less restrictive of the First

Amendment activity could not address its interest.” Tandon, 141 S. Ct. at 1296–

97; see also Fulton, 141 S. Ct. at 1881 (“[S]o long as the government can achieve its

interests in a manner that does not burden religion, it must do so.”).

      The State asserts that categorically prohibiting weapons in places of

worship “is the least restrictive means of reducing gun violence within this

sensitive location” because “many clerical leaders have no desire to jeopardize

their safety and undermine their relationships with congregants by attempting to



                                         167
eject persons carrying ﬁrearms.” 65 Spencer Appellants’ Br. at 32. But the State’s

focus must be on the “applicant’s proposed religious exercise” and its impact on

the State’s compelling interest, rather than “assert[ing] that certain risk factors

‘are always present in worship, or always absent from other secular activities’ the

government may allow.” Tandon, 141 S. Ct. at 1296 (quoting S. Bay United

Pentecostal Church v. Newsom, 141 S. Ct. 716, 718 (2021)).

       The State provides no explanation for why leaders of religious groups in

general, and the Plaintiﬀs speciﬁcally, are less able to “eject persons carrying

ﬁrearms” than any other property owner who is permitted to make a free choice

whether to allow ﬁrearms on their premises. Spencer Appellants’ Br. at 32. A

place of worship that prohibits guns will be equally reliant on the police and the

criminal law to eject a person carrying a ﬁrearm, whether it does so pursuant to a

sensitive place designation or a church policy. Either way, someone will have to

call the cops. And if the State has determined that places of worship must be

designated as sensitive places because criminal trespass law is not enough to

keep out guns, then the decision to regulate places of worship more assiduously

than other locations amounts to an unequal pursuit of the interest in preventing


        We put aside the fact that the New York legislature has since adopted a less restrictive
       65

approach to places of worship.

                                              168
gun violence. Such an approach is understandable, but unconstitutional. See

Church of the Lukumi Babalu Aye, 508 U.S. at 546 (“The proﬀered objectives are not

pursued with respect to analogous non-religious conduct . . . . The absence of

narrow tailoring suﬃces to establish the invalidity of the ordinances.”); Espinoza

v. Mont. Dep’t of Revenue, 140 S. Ct. 2246, 2261 (2020) (“A law does not advance an

interest of the highest order when it leaves appreciable damage to that

supposedly vital interest unprohibited.” (internal quotation marks omitted)).

      And if New York has elected to “permit[] other activities to proceed” with

less stringent regulation of ﬁrearms, “it must show that the religious exercise at

issue is more dangerous than those activities even when the same precautions

are applied.” Tandon, 141 S. Ct. at 1297. At this stage, the State has not

demonstrated that allowing church leaders to regulate their congregants’

ﬁrearms is more dangerous than allowing other property owners to do the same.

It hard to see how the law advances the interests of religious organizations, as a

whole, by denying them agency to choose for themselves whether to permit

ﬁrearms. Cf. Espinoza, 140 S. Ct. at 2260 (“An infringement of First Amendment

rights . . . cannot be justiﬁed by a State’s alternative view that the infringement

advances religious liberty.”). The State advances an unsubstantiated assertion



                                         169
that “there is no way for the State to accommodate those who wish to carry

ﬁrearms for religious reasons without rendering the entire sensitive-place statute

unworkable,” Spencer Appellants’ Br. at 33–34, but does nothing to explain why

the assuredly few religious organizations in New York that genuinely believe in

armed worship—which we take to include the Plaintiﬀs in Spencer —cannot be

accommodated without eviscerating the CCIA. 66

       For these reasons, Plaintiﬀs have shown a likelihood of success in

demonstrating that the place of worship provision is not the most narrowly

tailored means to address the State’s compelling interest.

               4.     Irreparable Harm & Balance of Equities

       We now turn to the remaining preliminary injunction factors. Plaintiﬀs

have shown that they will suﬀer irreparable harm if the place of worship

provision is enforced against them. “The loss of First Amendment freedoms, for




       66 Plaintiﬀs observe that several states have enacted statutes that allow places of worship
to establish their own policies about carrying ﬁrearms, and criminalize the carriage of weapons
in violation of such policy. Spencer Appellees’ Br. at 33 (citing, inter alia, ARK. CODE § 5-73-
306(15)(B); LA. CODE § 40:1379.3(N)(8); MICH. COMP. LAWS § 28:425o(1)(e); MO. STAT. §
571.107(1)(14); N.D. CODE § 62.1-02-05(2)(m); OHIO REV. CODE § 2923.126(B)(6); S.C. CODE § 23-
31-215(M)(8); UTAH CODE § 76-10-530). Of course, New York is not required by the Constitution
to adopt the same approach to ﬁrearm regulation as other states. But insofar as these states
have adopted an approach that would entail little or no burden to Plaintiﬀs’ religious practice, it
is incumbent on the State to better demonstrate why this alternative is not acceptable.

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even minimal periods of time, unquestionably constitutes irreparable injury.”

Elrod v. Burns, 427 U.S. 347, 373 (1976).

          As for the balance of equities, because the State has not demonstrated that

public safety would be harmed by allowing the Spencer Plaintiﬀs to permit

congregants to carry ﬁrearms within the church, “it has not been shown that

granting the [injunction] will harm the public.” Roman Cath. Diocese, 141 S. Ct. at

68.

                                        *       *      *

          For the reasons set forth above, we VACATE the district courts’ preliminary

injunctions in Antonyuk and Hardaway against enforcement of § 265.01-e(2)(c) but

AFFIRM the preliminary injunction issued by the district court in Spencer, which

prohibits enforcement of § 265.01-e(2)(c) against “Pastor Spencer, the [Tabernacle

Family] Church, its members, or their agents and licensees.” 648 F. Supp. 3d at

471. 67




         As the Spencer Plaintiﬀs did not cross-appeal to broaden the scope of the relief granted
          67

by the district court, we aﬃrm the injunction as entered.

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III.   Parks and Zoos

       New York also criminalizes possession of a gun in “public parks[] and

zoos.” N.Y. Penal L. § 265.01-e(2)(d). Plaintiﬀs challenge the constitutionality of

this prohibition. We ﬁrst address standing and then the merits of this challenge.

       A.      Standing

       Defendant Joseph Cecile, Chief of the Syracuse Police Department,

disputes the district court’s conclusion that Plaintiﬀ Corey Johnson has standing

with respect to the zoo prohibition, arguing that Johnson (1) did not adequately

allege his intention to visit a zoo; and (2) has not shown a credible threat of

enforcement by Cecile (as opposed to by other law enforcement oﬃcials). 68

       Johnson averred in his declaration that he and his wife “frequently visit

the Rosamond Giﬀord Zoo in Syracuse, at least once or twice every fall, so that

my wife can see the otters and wolves, which are her favorites.” J.A. 139–40

(Johnson Decl. ¶ 17). He then estimated that they would “visit the zoo this fall as

well, at least once, within the next 90 days.” Id. And since he “intend[s] to carry

[his] ﬁrearm when [they] visit the Rosamond Giﬀord Zoo,” id., he alleges that he

faces a credible threat of being prosecuted for violating paragraph (2)(d).


       68 The State defendants do not challenge the district court’s holding that various
Plaintiﬀs had standing as to public parks, and we see no impediment to standing.

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      Johnson’s averments are in line with the kinds of allegations that the

Supreme Court has found suﬃcient to support pre-enforcement standing. In

Babbitt v. United Farm Workers National Union, the plaintiﬀ organization did not

even allege an intention to violate the law: it merely stated its “intention to

continue to engage in [lawful] boycott activities” and that an erroneous

statement criminalized by the statute is “inevitable in free debate.” 442 U.S. at

301 (internal quotation marks omitted). The Court has also recognized that

plaintiﬀs who intend to comply with the law solely to avoid prosecution (i.e.,

who have been deterred) have standing to bring a pre-enforcement challenge.

See Holder v. Humanitarian L. Project, 561 U.S. 1, 15–16 (2010) (ﬁnding standing

based on allegation that plaintiﬀs would resume proscribed conduct “if the

statute’s allegedly unconstitutional bar were lifted”); Steﬀel v. Thompson, 415 U.S.

452, 456 (1974) (“Petitioner alleged in his complaint that, although he desired to

return to the shopping center to distribute handbills, he had not done so because

of his concern that he, too, would be arrested.”). Johnson’s averments, while

short of pleading the time and date of his intended visit to the zoo, are more

speciﬁc than the allegations found suﬃcient in Babbitt, Holder, and Steﬀel. He has

therefore adequately pled his “intention to engage in a course of conduct



                                         173
arguably aﬀected with a constitutional interest, but proscribed by a statute.”

Driehaus, 573 U.S. at 159.

      As to a credible threat of enforcement by Defendant Cecile (or, by

extension, the Syracuse Police Department), Cecile adduces two arguments. He

argues ﬁrst that he has made no “concrete and particularized statement to the

general public regarding the imminence of anyone’s arrest, let alone [regarding]

Plaintiﬀ Johnson . . . ,” Antonyuk Cecile Br. at 14 (internal quotation marks

omitted), and thus that Johnson’s fear of arrest by the Syracuse Police is unduly

speculative. But (as explained above) the bar for stating a credible threat of

enforcement is “low” and “quite forgiving.” Hedges, 724 F.3d at 197. It is not

necessary that a plaintiﬀ be speciﬁcally threatened with prosecution. Moreover,

far from “disavow[ing] any intention of invoking” the challenged law, Babbitt,

442 U.S. at 302, Cecile has expressly stated that he and his oﬃcers will enforce the

CCIA, albeit not proactively. J.A. 24 (Compl. ¶ 24); see also J.A. 237 (“‘It will be

complaint-driven,’ [Cecile] said.”). A lack of enthusiasm or initiative does not

rebut the presumption “that the government will enforce the law as long as the

relevant statute is recent and not moribund.” Cayuga Nation, 824 F.3d at 331

(quoting Hedges, 724 F.3d at 197).



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      Second, Cecile argues that the Rosamond Giﬀord Zoo is on county (rather

than city) land and thus falls under the jurisdiction of the Onondaga County

Sheriﬀ and Park Rangers. But this fact is not fatal to Johnson’s standing: Cecile

has conceded that Syracuse police are not barred from responding to complaints

at the Zoo. See Cecile Mem. of L. in Opp. to Mot. to Dismiss at 9, Antonyuk, No.

22-cv-986, ECF No. 47-9. Like the district court, we “ha[ve] little doubt that, if

there were a gun incident reported at the zoo, the Syracuse Police Department

would promptly respond (in addition to any County Park Ranger available).”

639 F. Supp. 3d at 272. While the County’s primary jurisdiction over the zoo

might alleviate somewhat Johnson’s fear of arrest by the Syracuse Police, it does

not render the threat of enforcement by Cecile or the Syracuse Police “imaginary

or wholly speculative,” Babbitt, 442 U.S. at 302, and is therefore not of

constitutional moment. Accordingly, Johnson has standing with respect to

Cecile’s threatened enforcement of the zoo prohibition.

      B.     Merits

             1.    District Court Decision

      Having determined that the conduct proscribed by § 265.01-e(2)(d), i.e.,

carriage in public parks and zoos, was within the plain text of the Second



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Amendment, the district court placed the burden on the State to establish the

regulation’s consistency with the Nation’s history and tradition. The district

court considered the following analogues: (1) an 1870 Texas law prohibiting

ﬁrearms in “place[s] where persons are assembled for educational, literary or

scientiﬁc purposes,” J.A. 602 (1870 Tex. Gen. Laws 63, ch. 46); (2) an 1883

Missouri Law prohibiting carriage in places where people assembled for

“educational, literary or social purposes” and “any other public assemblage of

persons met for any lawful purpose,” J.A. 611 (1883 Mo. Sess. Laws 76); (3) an

1889 Arizona law and 1890 Oklahoma law prohibiting carriage in any “place

where persons are assembled for amusement or for educational or scientiﬁc

purposes,” J.A. 617 (1889 Ariz. Sess. Laws 17, § 3), see also J.A. 621 (1890 Okla.

Terr. Stats., Art. 47, § 7); (4) ordinances in New York City, Philadelphia, St. Paul,

Detroit, Chicago, Salt Lake City, St. Louis, and Pittsburgh adopted between 1861

and 1897 prohibiting carriage in public parks; 69 and (5) the tradition of

prohibiting ﬁrearms in schools.



       69 See FOURTH ANNUAL REPORT OF THE BOARD OF COMMISSIONERS OF THE CENTRAL PARK
(Jan. 1861); FIRST ANNUAL REPORT OF THE COMMISSIONERS OF FAIRMOUNT PARK (PHILADELPHIA),
Supplement § 21(II) (1869); RULES AND REGULATIONS OF THE PUBLIC PARKS AND GROUNDS OF
THE CITY OF SAINT PAUL (1888); 1895 Mich. Pub. Acts 596; CHICAGO MUNI. CODE art. 43 (1881);
SALT LAKE CITY, REVISED ORDINANCES ch. 27 (1888), Tower Grove Park Bd. of Comm’rs, Rules


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       Before proceeding to the individual history and analogue test for public

parks and zoos, 70 the district court noted that it would aﬀord little weight to

territorial laws and city ordinances that did not correspond to suﬃciently similar

state laws. Likewise, it discounted laws from the last decade of the 19th century

because of their distance from the Founding and Reconstruction. Given these

parameters, the district court considered: the 1870 Texas law, 1883 Missouri law,

and “to a lesser extent” the New York, Philadelphia, Chicago, St. Louis, and St.

Paul ordinances. Antonyuk, 639 F. Supp. 3d at 324.

       The purpose of the analogous regulations, per the district court, “appears

to have been to protect people from the danger and disturbance that may

accompany ﬁrearms.” Id. The statutes and ordinances accomplished this

purpose and accordingly burdened Second Amendment rights by “prohibiting

the carrying of ﬁrearms (1) where people are assembled for educational or

literary purposes, or (2) to a lesser extent, when people frequent an outdoor




and Regulations, in DAVID H. MACADAM, TOWER GROVE PARK OF THE CITY OF ST. LOUIS (1883);
Pittsburgh Gen. Ordinances, Bureau of Parks, p. 496 (2d ed. 1897).
       70 The district court determined that § 265.01-e’s prohibition on carriage in playgrounds
was consistent with history and tradition and did not issue an injunction as to that aspect of the
regulation. That determination is not on review in this appeal. No Plaintiﬀ has appealed from
that ruling, so it is not before us for review.

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location for purpose of recreation or amusement (or travel through such a

location), especially when children are present.” Id.

                    a.    Public Parks

      The district court rejected the State’s arguments that its historical

analogues supported banning carriage in public parks. As an initial matter, the

court determined that the 1870 Texas and 1883 Missouri laws demonstrated

neither an established tradition — because they were only two statutes — nor a

representative one — because the combined population of those two states was

only 6.6 percent of the American population at the time. Beyond that, the district

court noted that neither statute speciﬁcally prohibited carriage in public parks.

Because both states “[p]resumably . . . contained at least some public parks” at the

time of the statutes’ passing, the district court found that this lack of a speciﬁc

prohibition weighed against ﬁnding a tradition of ﬁrearm regulation in public

parks. Antonyuk, 639 F. Supp. 3d at 325. The court also observed that statutes

banning ﬁrearms in analogous places such as “commons” or “greens” were also

absent from the historical record. Id. Given this, the district court did not take

the Texas and Missouri statutes to support a tradition of banning carriage in

public parks.



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        Nor did the city ordinances establish such a tradition, according to the

district court. First, the district court stated that, to the extent such ordinances

established any tradition of regulation at all, they would do so only for “public

parks in a city” not those outside of cities. Id. Next, notwithstanding the support

that the numerous ordinances did lend to prohibiting carriage in urban public

parks, the district court determined that they did not set forth a well-established

or representative tradition because the total population of the ﬁve cities in

question accounted for only 6.8 percent of the population of the Nation at the

time.

        Finally, the district court dismissed the idea that the ordinances, when

combined with the state statutes, could together demonstrate a well-established

and representative tradition of prohibiting ﬁrearms in urban public parks,

because the combined populations of the cities and states (13.4 percent) was

under 15 percent of the national population.

                    b.     Zoos

        As with public parks, the district court held that the State’s analogues

failed to establish a tradition of regulating ﬁrearms in zoos. The court began by

noting that the State did not oﬀer any statutes explicitly prohibiting carriage in

zoos, an absence deemed conspicuous by the district court, given that cities

                                         179
throughout the country appeared to have opened zoos in the latter half of the

19th century between 1864 to 1883. The district court also rejected the State’s

argument that, because three of these zoos were located within city parks, the

city ordinances prohibiting ﬁrearms in public parks also supported regulations

in zoos. According to the district court, the coverage of zoos by public park

regulations indicated that zoos did not merit “more protection,” and therefore

actually cut against ﬁnding a tradition of regulating ﬁrearms in zoos. Id. at

327.The court reiterated that, in any event, there was no well-established and

representative history of regulating ﬁrearms in public parks, and thus no such

tradition could be extended to zoos by virtue of their location in public parks.

      The district court also rejected the State’s attempt to liken zoos to

playgrounds because of the presence of children. It found that the regulation in

zoos is “more burdensome than the regulation in playgrounds, because adults

more commonly frequent zoos without children than they frequent playgrounds

without children.” Id.

                                      *         *   *

      Having found that the State failed to locate § 265.01-e’s prohibition on

carriage in public parks and zoos within the Nation’s tradition of ﬁrearm



                                          180
regulation, the district court enjoined the regulation’s enforcement in both

locations.

               2.     Analysis of the Historical Analogues — Public Parks

       On appeal, the State oﬀers three arguments for why its analogues show a

history and tradition consistent with § 265.01-e. First, it argues that the

regulation aims to protect the spaces where individuals often gather to express

“their constitutional rights to protest or assemble” Antonyuk Nigrelli Br. at 61

(quoting § 265.01e(2)(s)). Thus, according to the state, the well-established

tradition of regulating ﬁrearms in quintessential public forums, such as fairs and

markets, justiﬁes regulating ﬁrearms in public parks, which today often serve as

public forums. 71 As examples of this tradition, the State reaches as far back as a

1328 British statute forbidding going or riding “armed by night []or by day, in

fairs, markets.” Statute of Northampton 1328, 2 Edw. 3 c.3 (Eng.). The State

adduces evidence that at least two Founding-era states and several

Reconstruction-era states replicated this type of law, see J.A. 670 (1786 Va. Acts



       71 See Darrell A.H. Miller, Constitutional Conﬂict and Sensitive Places, 28 WM. & MARY BILL
RTS. J. 459, 475–76 (2019) (noting that “First Amendment institution[s]” are designed for the
“right to peaceably assemble” and that regulations to ensure such peaceable assembly have
both “a long history in Anglo-American jurisprudence,” and have historically been “bolstered
by general prohibitions on armaments in places like fairs and markets—places one would think
part of the ‘immemorial’ custom of public forums”).

                                               181
35, Ch. 49); Collection of Statutes of the Parliament of England in Force in the

State of North Carolina, pp. 60–61, ch. 3 (F. Martin Ed. 1792) (North Carolina

Statute), as well as Reconstruction-era states, see J.A. 602 (1870 Tex. Gen. Laws 63,

ch. 46); 611 (1883 Mo. Sess. Laws 76), 605–06 (1869 Tenn. Pub. Acts 23–24); 616–18

(1889 Ariz. Sess. Laws 16–18); 621 (1890 Okla. Terr. Stats., Art. 47, § 7), and that,

where challenged, these laws and subsequent amendments were upheld as

constitutional by state courts. See, e.g., State v. Shelby, 2 S.W. 468, 469 (Mo. 1886),

English v. State, 35 Tex. 473, 478–79 (1871); Andrews v. State, 50 Tenn. 165, 182

(1871). And, as it did below, the State oﬀers the same eight city ordinances

prohibiting ﬁrearms in city parks and notes that these ordinances were passed

shortly after the time that parks emerged as municipal institutions.

       Second, the State relies on the same state laws establishing a tradition of

ﬁrearm regulation in public forums to argue that § 265.01-e(2)(d) is within the

tradition of regulating ﬁrearms in “quintessentially” crowded places such as fairs

and markets. Antonyuk Nigrelli Br. at 63.

      Third, and ﬁnally, the State explains that § 265.01-e(2)(d) endeavors to

protect children who often frequent public parks from ﬁrearms and is thus




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consistent with the tradition of regulating ﬁrearms in areas frequented by

children.

       We agree with the State that § 265.01-e is within the Nation’s history of

regulating ﬁrearms in quintessentially crowded areas and public forums, at least

insofar as the regulation prohibits ﬁrearms in urban parks, though not necessarily

as to rural parks. Considering, then, that the law has a plainly legitimate sweep

as to urban parks, the facial challenge fails notwithstanding doubt that there is

historical support for the regulation of ﬁrearms in wilderness parks, forests, and

reserves.

                       a.      Well-Established and Representative

       Contrary to the district court’s conclusion, the State has made a robust

showing of a well-established and representative tradition of regulating ﬁrearms

in public forums and quintessentially crowded places, enduring from medieval

England to Reconstruction America and beyond. 72 See Darrell A.H. Miller,

Constitutional Conﬂict and Sensitive Places, 28 WM. & MARY BILL RTS. J. 459, 475–76

(2019) (noting that regulations ensuring peaceable assembly have “a long history




       72Insofar as the State relies on the tradition of regulating ﬁrearms in places frequented
by children as an analogue for § 265.01-e(2)(d), Bruen tells us that tradition is well-established
and representative. See 142 S. Ct. at 2133.

                                                183
in Anglo-American jurisprudence” and noting a history of “general prohibitions

on armaments” in public forums).

       Though “[s]ometimes, in interpreting our own Constitution, it is better not

to go too far back into antiquity,” that is distinctly not the case where “evidence

shows that medieval law survived to become our Founders’ law.” Bruen, 142 S.

Ct. at 2136 (internal quotation marks omitted). Here, the State has shown that at

least two states—Virginia and North Carolina—passed statutes at the Founding

that replicated the medieval English law prohibiting ﬁrearms in fairs and

markets, 73 i.e., the traditional, crowded public forum. 74 See J.A. 670 (1786 Va. Acts


       73 Our own research reveals another such jurisdiction. See, e.g., An Act for Punishment of
Crimes and Oﬀences, within the District of Columbia, § 40 (1816), available at https://rb.gy/7q0cv
[https://perma.cc/88PB-Y654] (prohibiting going or riding “armed by night nor day, in fairs or
markets, or in other places, in terror of the county”).
       74 Two observations regarding these Founding-era statutes are warranted. First, while
the Virginia statute diﬀered from the medieval English Northampton statute in that it
prohibited conduct and not simply carriage, i.e., bearing arms in “terror” of the county, the
North Carolina statute, like the Northampton statute, appears to have prohibited ﬁrearm
carriage in general at fairs and markets regardless of conduct. And, as we will elaborate below,
the tradition of regulating ﬁrearms in quintessentially crowded places evolved in the direction
of the North Carolina statute, i.e., the prohibition of carriage without any reference to conduct.
Thus, despite the Virginia law’s “in terror of the county” language, we do not interpret the
National tradition of regulating ﬁrearms in quintessentially crowded places to require a conduct
element. Second, though Bruen rejected the medieval Northampton statute, it did so within the
context in which that statute was oﬀered: as an analogue supporting a carriage ban in public
generally. See Bruen, 142 S. Ct. at 2139 (explaining that the state had oﬀered the Northampton
statute as a “sweeping restriction on public carry of self-defense weapons”). In sum, Bruen
addressed the statute in a diﬀerent context; nor was the statute discounted by Bruen for the
analogical purpose for which we rely upon it here. See id. at 2142 (noting that historical
evidence establishes that the Northampton statute was “no obstacle to public carry for self-


                                              184
35, Ch. 49) (prohibiting going or riding “armed by night []or by day, in fairs or

markets, . . . in terror of the county”); Collection of Statutes of the Parliament of

England in Force in the State of North Carolina, pp. 60–61, ch. 3 (F. Martin Ed.

1792) (North Carolina law prohibiting “to go nor ride armed by night nor by day,

in fairs, markets”).

       The tradition of regulating ﬁrearms in quintessentially crowded places was

continued throughout the history of our Nation. In Reconstruction, three states

(Texas, Missouri, and Tennessee) passed laws prohibiting weapons in public

forums and crowded places such as assemblies for “educational, literary or

scientiﬁc purposes, or into a ball room, social party or other social gathering.”

J.A. 602 (1870 Tex. Gen. Laws 63, ch. 46); see also id. at 605 (1869 Tenn. Pub. Acts

23) (Tennessee law prohibiting the carriage of deadly weapons by “any person

attending any fair, race course, or other public assembly of people”); id. at 611

(1883 Mo. Sess. Laws 76) (Missouri law prohibiting weapons “where people are

assembled for educational, literary or social purposes”). The territories of

Oklahoma and Arizona did the same. See id. at 617 (1889 Ariz. Sess. Laws 17)




defense” generally but not addressing the more speciﬁc prohibitions in the statute such as
carriage in fairs and markets). We therefore do not take Bruen’s observations regarding the
Northampton statute to run contrary to our more limited conclusions here.

                                              185
(Arizona law prohibiting dangerous weapons “where persons are assembled for

amusement or for educational or scientiﬁc purposes, or into any circus, show or

public exhibition of any kind, or into a ball room, social party or social

gathering”); id. at 621 (1890 Okla. Terr. Stats., Art. 47, § 7) (Oklahoma law

prohibiting carriage in places “where persons are assembled for . . . amusement,

or for educational or scientiﬁc purposes, or into any circus, show or public

exhibition of any kind, or into any ball room, or to any social party or social

gathering”).

      This “long, unbroken line,” Bruen, 142 S. Ct. as 2136, beginning from

medieval England and extending beyond Reconstruction, indicates that the

tradition of regulating ﬁrearms in often-crowded public forums is “part of the

‘immemorial’ custom” of this nation, Miller, 28 WM. & MARY BILL RTS. J. at 476.

      Of particular note, the state courts of all three states that had such laws

upheld this type of statute as constitutional. See Bruen, 142 S. Ct. at 2155 (stating

that where state courts have passed on the constitutionality of a statute, we

“know the basis of their perceived legality”). Holding an 1871 amendment to the

1870 Texas statute constitutional in English v. State, the Texas Supreme Court

observed that “it appears [] little short of ridiculous, that any one should claim



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the right to carry upon his person” a ﬁrearm “into a peaceable public assembly,

as for instance, into a church, a lecture room, a ball room, or any other place

where ladies or gentleman are congregated together.” 75 35 Tex. at 478–79. The

same year, the Tennessee Supreme Court upheld Tennessee’s statute by noting

that “the private right to keep and use” arms “is limited by the duties and

proprieties of social life” and that “[t]herefore, a man may well be prohibited

from carrying his arms” to a “public assemblage.” Andrews, 50 Tenn. at 181–82.

See also Shelby, 2 S.W. at 469 (holding that 1883 Mo. law prohibiting carriage

“where people are assembled for educational, literary, or social purposes” was

constitutional). English and Andrews tell us that the Nation not only tolerated

the regulation of ﬁrearms in public forums and crowded spaces, but also found it

aberrational that a state would be unable to regulate ﬁrearms to protect the “the

duties and proprieties of social life” in such spaces. See Miller, 28 WM. & MARY



       75 Though the Supreme Court discounted English as an outlier in Bruen, it did so only
insofar as English held that the state could lawfully restrict carriage to those with “reasonable
grounds for fearing an unlawful attack.” Bruen, 142 S. Ct. at 2153 (quoting 1871 Tex. Gen. Laws
ch. 34). New York had oﬀered English and the underlying statute as an analogue to the special
need requirement at issue in Bruen. Id. Accordingly, we do not understand Bruen to have cast
doubt on English’s holding as to the 1871 Texas statute’s separate restriction relating to public
assembly. Nor do we ﬁnd independent reason to doubt that English’s holding as to public
assembly restrictions is consistent with the Nation’s tradition. Whereas Texas’s historical
“reasonable grounds” requirement was an outlier in that it went against the tradition of a
majority of the Nation and was only replicated by one other state, see id., the public assembly
restriction is consistent with the national tradition and existed in many states.

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BILL. RTS. J. at 475 (“The idea of a right to peaceably assemble presumes . . . that

such assemblages must be peaceable, as opposed to disorderly.”)

       The number of states and territories with such statutes makes clear that

this tradition has also been consistently representative of the Nation as a whole.

At the time in which they were passed in 1791, Virginia’s and North Carolina’s

statutes prohibiting ﬁrearms in fairs and markets applied to over a quarter of the

Nation’s population. 76 By 1891, an additional three states and two territories had

passed similar laws, meaning that such statutes applied to nearly 10 million

Americans, a ﬁgure equivalent to about 15.3 percent of the Nation’s population

at that time. 77 Cf. Bruen, 142 S. Ct. at 2154 (determining that the proﬀered

analogues were not representative where they applied to only “about two-thirds

of 1% of the population”).

       In addition to showing that there existed a well-established and

representative state tradition of such regulation, the State points to eight




       76 The 1790 Census counted approximately 3.3 million Americans, of whom 747,610 lived
in Virginia and 393,751 in North Carolina. DEPT. OF INTERIOR, COMPENDIUM OF ELEVENTH
CENSUS: 1890, 3 tbl. 1 (1892).
       77 The 1890 Census counted approximately 62.6 million Americans. DEPT. OF INTERIOR,
COMPENDIUM OF ELEVENTH CENSUS: 1890, 2 tbl. 1 (1892). The combined population of Virginia,
North Carolina, Texas, Missouri, Tennessee, Oklahoma, and Arizona was approximately 9.3
million. Id.

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examples (Chicago, Detroit, New York City, Philadelphia, Pittsburgh, Salt Lake

City, St. Paul, St. Louis) establishing a municipal tradition of regulating ﬁrearms

in urban public parks speciﬁcally. The proliferation of these urban public park

regulations between 1861 and 1897 coincides with the rise of public parks as

municipal institutions over the latter half of the 19th century. 78 While only 16

parks were created before 1800, 79 “[f]ollowing the success of [New York’s]

Central Park, cities across the United States began building parks to meet

recreational needs of residents[;] and during the second half of the 19th century,

[Frederick Law] Olmsted and his partners [who planned Central Park] designed

major parks or park systems in thirty cities.” 80 David Schuyler, Summary of

Parks in Urban America, OXFORD RESEARCH ENCYCLOPEDIA OF AMERICAN HISTORY

(Nov. 3, 2015). As urban public parks took root as a new type of public forum,

cities continued the tradition of regulating ﬁrearms in historical public forums,

such as fairs and markets, to likewise keep these new public spaces, urban parks,


       78 Though the historical analogues here are “relatively simple to draw,” the relative
novelty of public parks as institutions also justiﬁes a ﬂexible approach under Bruen. See Bruen,
142 S. Ct. at 2132 (explaining that historical and societal “changes may require a more nuanced
approach”).
        See MARGARET WALLS, PARKS AND RECREATION IN THE UNITED STATES: LOCAL PARK
       79

SYSTEMS 1, Resources for the Future (June 2009).
        See also FREDERICK LAW OLMSTED, A CONSIDERATION OF THE JUSTIFYING VALUE OF A
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PUBLIC PARK 7–8 (1881) (“Twenty-ﬁve years ago we had no parks, park-like or otherwise”).

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peaceable. 81 None of those city ordinances were invalidated by any court;

indeed, we have not located any constitutional challenges to any of them. In

other words, the ordinances were not merely adopted by legislative bodies in the

respective cities in which they applied – they were apparently accepted without

any constitutional objection by anyone. See Bruen, 142 S. Ct. at 2133–34 (“We

therefore can assume it settled that these locations were ‘sensitive places’ where

arms carrying could be prohibited” where we are “aware of no disputes

regarding the lawfulness of such prohibitions.”).

      The district court mistakenly discounted these city laws because they were

not accompanied by state laws, relying on the Bruen majority’s statement that

“the bare existence of these localized restrictions cannot overcome the

overwhelming evidence of an otherwise enduring American tradition.”

Antonyuk, 639 F. Supp. 3d at 323–24 (quoting Bruen, 142 S. Ct. at 2154). We think

this is an overreading of Bruen. Bruen’s pronouncement addressed an isolated set

of territorial laws, whose transient and temporary character does not correlate to




      81 See DAVID SCHUYLER, THE NEW URBAN LANDSCAPE: THE REDEFINITION OF CITY FORM
IN NINETEENTH-CENTURY AMERICA 1–8 (1988) (describing the emergence of a “new urban
landscape” whose proponents urged establishment of public parks to “create[] communal
spaces” where “rural scenery might sooth the ‘nerves and mind’ of visitors’”); see also
Everytown for Gun Safety Br. at 26–27.

                                          190
the enduring municipal governments whose enactments are before us now.

Bruen, 142 S. Ct. at 2154. And while Bruen also relied on the “miniscule”

populations who were governed by the territorial statutes at issue, by 1897, fully

eight percent of the entire population lived in one of the urban areas governed by

the state’s analogues here. 82 See Dept. of Interior, Compendium of Eleventh

Census: 1890, 2-452 tbls. 1–5 (1892). Moreover, the appropriate ﬁgure in this

instance is not the percentage of the nation’s total population that was aﬀected by

city park ﬁrearms restrictions, but rather the percentage of the urban population

that was governed by city park restrictions. By 1890, four of the ﬁve most

populous cities prohibited ﬁrearms in their urban parks, and Brooklyn’s

incorporation into New York City in 1896 would result in all ﬁve of the most

populous cities having such prohibitions. Id., Table 5 (New York, Chicago,

Philadelphia, Brooklyn, and St. Louis). Those cities alone numbered over 4.9

million people, at a time when only 14 million Americans lived in a city with



       82  By 1897, approximately 5.2 million Americans lived in one of these eight cities under
municipal regulations that would have prohibited carriage of ﬁrearms in a city’s public parks.
See DEPT. OF INTERIOR, COMPENDIUM OF ELEVENTH CENSUS: 1890, 442–52 tbl. 5 (1892). And, as
amici point out, see Everytown for Gun Safety Br. at 21–22, it is likely that even more urban park
regulations will emerge at a later point in the litigation regarding the CCIA. See Christian v.
Nigrelli, No. 22-cv-695 (W.D.N.Y.), ECF Nos. 33, 34, 35 (exhibiting over sixty 19th- and early
20th-century park regulations). See also The City of New York Br. at 15 n.22 (listing additional
city ordinances prohibiting ﬁrearms in public urban parks).

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more than 25,000 inhabitants, resulting in at least 37.7% of the urban population

living in cities where ﬁrearms were prohibited in their parks.

       The upshot of the State’s wealth of evidence is a well-established,

representative, and longstanding tradition of regulating ﬁrearms in places that

serve as public forums and, as a result, tend to be crowded. This tradition comes

down to us from medieval England; it was enshrined in the law books of the

largest (Virginia) and third largest (North Carolina) Founding-era states, and

built on throughout and beyond Reconstruction. With the rise of urban America,

cities continued this tradition and began regulating ﬁrearms in a newly emerging

public forum: the urban park.

       We diﬀer with the district court as to the conventionality and

representativeness of the State’s analogues as to ﬁrearm regulation in urban

parks because the district court erroneously discounted many of the State’s

proﬀered analogues. Critically, the court failed to consider the medieval English

law and Founding era laws. 83 This initial error tainted the rest of the district

court’s analysis by obscuring that the later territorial and municipal laws, far




       83 It also failed to consider the 1869 Tennessee Law prohibiting deadly weapons in any
“fair, race course, or public assembly of people.” J.A. 605 (1869 Tenn. Pub. Acts. 23). Thus the
only state laws it considered were the 1870 Texas and 1883 Missouri laws.

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from being outliers, were consistent with a “long, unbroken line of common-law”

and Founding-era precedent. Bruen, 142 S. Ct. as 2136. Given the continuity of

the tradition of regulating ﬁrearms in crowded public forums, there was no

reason for the district court to discount territorial laws, municipal laws (insofar

as the states in which the cities were located did not have identical state law

counterparts), or laws from the late 19th century. Once situated within the line

of the English, Founding-era, and Reconstruction state statues cited by the State,

the territorial and municipal laws are exactly the opposite of the “few late-19th-

century outlier jurisdictions” oﬀered and discounted in Bruen and should have

been considered by the district court. Id. at 2156.

                   b.     Consistency with Tradition

      It is not enough for the State to point to well-established and

representative analogues; the contemporary regulation it seeks to defend must

also be “consistent” with the tradition established by those analogues. Bruen, 142

S. Ct. at 2135. We now turn to this aspect of the inquiry.

      Whether § 265.01-e’s prohibition on ﬁrearms in urban parks is consistent

with this Nation’s tradition is a straightforward inquiry. It is obvious that

§ 265.01-e burdens Second Amendment rights in a distinctly similar way (i.e., by



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prohibiting carriage) and for a distinctly similar reason (i.e., maintaining order in

often-crowded public squares) as do the plethora of regulations provided by the

State, many of which speciﬁcally applied to urban public parks. This

demonstrates § 265.01-e’s consistency with the Second Amendment. 84 Cf. Bruen,

142 S. Ct. at 2135 (“[W]hen a challenged regulation addresses a general societal

problem that has persisted since the 18th century, the lack of a distinctly similar

historical regulation addressing that problem is relevant evidence that the

challenged regulation is inconsistent with the Second Amendment.”).

       We are unconvinced by the Plaintiﬀs’ argument that the former use of

Boston Common and similar spaces as gathering grounds for the militia

undermines a tradition of regulating ﬁrearms in urban public parks. Though

Plaintiﬀs urge that Boston Common was the Nation’s ﬁrst urban public park, it

appears to have gained that distinction only in retrospect. “The modern idea of

the park emerged in the nineteenth century,” before which “open spaces that

were not privately owned . . . consisted of grazing areas open to all,” with Boston

Common being the “most famous example for this kind of [grazing] park space.”


       84 Because the tradition of regulating ﬁrearms in often-crowded public squares supports
the State’s burden as to § 265.01-e’s regulation of ﬁrearms in urban parks, we need not rely on
the tradition of regulating ﬁrearms in places frequented by children.



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Nadav Shoked, Property Law’s Search for a Public, 97 Wash. U. L. Rev. 1517, 1556–

57 (2020); see also Address of L. E. Holden, Cleveland, O., Bulletin of the American

Park and Outdoor Association 3 (Volume 5 Rep. of the Am. Park and Outdoor Art

Ass’n, June 1901), available at rb.gy/0ﬂfx [https://perma.cc/FCU7-V2JW] (noting

that at Boston Common’s origin in 1633 there “was little if any idea that it would

ever be a park . . . [i]t was kept and occupied as a common till a very recent date,

and it was not until 1859 that the question was ﬁnally settled . . . that Boston

Common should be a public park”). Moreover, the use of the Boston Common

for organized and disciplined militia exercises and mustering hardly supports the

notion that public recreational parks (to the extent the Common can be so

characterized) were considered appropriate places for ordinary citizens to be

armed outside the context of such military purposes. Thus, though the history of

ﬁrearm regulation in the 17th-century Boston Common might tell us about the

National tradition of regulating ﬁrearms in militia mustering grounds and

“grazing areas open to all,” it tells us little about the history of ﬁrearm regulation

in the public square.

      The district court committed this same analogical error when it faulted the

State for failing to produce historical statutes “banning the carrying of guns from



                                         195
older-named places such as ‘commons’ or ‘greens.’” Antonyuk, 639 F. Supp. 3d at

325 (emphasis omitted). To today’s minds, commons, greens, and public parks

may seem alike; but, as we have just described, our 18th century forebears would

have considered commons and greens to be public grazing areas and not places

of social recreation. See Shoked, supra, at 1556–57. Accordingly, though

commons, greens, and public parks “are relevantly similar” if one’s metric is

green spaces in cities, they are not relevantly similar if the “applicable metric” is

gun regulation in spaces that, like urban parks do today, have historically acted

as public forums and places of social recreation. Bruen, 142 S. Ct. at 2132; see also

id. (“[B]ecause ‘everything is similar in inﬁnite ways to everything else,’ one

needs ‘some metric enabling the analogizer to assess which similarities are

important and which are not[.]’” (ﬁrst quoting Cass Sunstein, supra, at 773; then

quoting F. Schauer & B. Spellman, supra, at 254) (alterations adopted and internal

citations omitted).

      The State’s justiﬁcation for § 265.01-e appears to be the same for rural as

for urban parks, even though rural parks much more resemble the commons of

yore than to the historical and often-crowded public squares, i.e., fairs, markets,




                                         196
and urban public parks, regulated under the State’s historical analogues. 85 Rural

parks do not as neatly resemble quintessential public squares in that they are not

primarily designed for peaceable assembly.

       As opposed to fairs, markets, or the new, urban parks of the mid-19th

century, i.e., quintessential and often-crowded public spaces, the more proper

analogue for rural parks based on the record before us appears to be “commons”

and “wilderness areas.” New York describes its Adirondack Park, which

encompasses “one-third of the total land area of New York State,” as containing

“vast forests, rolling farmlands, towns and villages, mountains and valleys, lakes,

ponds and free-ﬂowing rivers, private lands and public forest.” Parks,

Recreation and Historic Prevention, Adirondack Region, New York State, available

at https://parks.ny.gov/regions/adirondack/default.aspx [https://perma.cc/ZNZ2-

Z97B]. This description echoes that of the “New England commons . . . spaces

held by the community for shared utilitarian purposes,” 86 much more than it




       85The State does not seriously argue that the tradition of regulating ﬁrearms in places
frequented by children justiﬁes § 265.01-e’s applicability to rural parks.
        ROY ROSENZWEIG AND ELIZABETH BLACKMAR, THE PARK AND THE PEOPLE: A HISTORY
       86

OF CENTRAL PARK 4 (1992).


                                              197
does the “communal spaces” 87 and “quintessential public space[s]” 88 embodied

by urban parks.

       But we need not resolve this line-drawing issue on a facial challenge.

Although we doubt that the evidence presently in the record could set forth a

well-established tradition of prohibiting ﬁrearm carriage in rural parks, we are

mindful that this litigation is still in its early stages and that the State did not

distinguish between rural and urban parks in its arguments to this Court or

below. All told, the State’s proﬀered analogues, which set forth a well-

established and representative tradition of ﬁrearm regulation in often-crowded

public squares such as urban parks, are suﬃcient to survive a facial challenge. 89

See Bonta, 141 S. Ct. at 2387 (To mount a successful facial challenge, the plaintiﬀ

“must ‘establish that no set of circumstances exists under which the [law] would




       DAVID SCHUYLER, THE NEW URBAN LANDSCAPE: THE REDEFINITION OF CITY FORM IN
       87

NINETEENTH-CENTURY AMERICA 1–8 (1988)
       88   SHOKED, supra, at 1556—57.
       89  Eﬀective May 3, 2023, the New York legislature amended § 265.01-e(2)(d) by adding
the following limiting language: “provided that for the purposes of this section a ‘public park’
shall not include (i) any privately held land within a public park not dedicated to public use or
(ii) the forest preserve as deﬁned in subdivision six of section 9-0101 of the environmental
conservation law.” Although we express no opinion on whether the provision as amended
conforms with the Second Amendment principles we have articulated here, we note that the
legislature has considered the constitutional implications of the public parks provision and has
taken aﬃrmative steps to address them.

                                               198
be valid,’ or show that the law lacks ‘a plainly legitimate sweep.’” (ﬁrst quoting

Salerno, 481 U.S. at 745; then quoting Wash. State Grange, 552 U.S. at 449)).

                                        *         *   *

      As § 265.01-e(2)(d) applies to urban parks, the State has carried its burden

by placing the regulation within a National tradition of regulating ﬁrearms in

often-crowded public squares, including, speciﬁcally, city parks. Accordingly,

we VACATE the district court’s preliminary injunction as to § 265.01-e(2)(d).

             3.     Analysis of the Historical Analogues — Zoos

      To defend § 265.01-e’s regulation of ﬁrearms in zoos, the State relies on

two of the same analogical categories as for public parks: prohibiting ﬁrearms in

crowded places and in places where children congregate. The State also points

out that, contrary to the district court’s assertion, nearly 70 percent of visitors to

zoos are parties with children. See Visitor Demographics, Ass’n of Zoos and

Aquariums, available at https://www.aza.org/partnerships-visitor-demographics

[https://perma.cc/A6FH-W774].

                    a.     Well-Established and Representative

      For the reasons laid out in our discussion of public parks, the State’s

evidence demonstrates a well-established and representative tradition of



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regulating ﬁrearms in densely traﬃcked public forums. We rely on Bruen for the

proposition that the tradition of regulating ﬁrearms in spaces frequented by

children is also well-established and representative. See Bruen, 142 S. Ct. at 2133.

                      b.      Consistent with Tradition

       Section 265.01-e’s ﬁrearm ban in zoos is consistent with the State’s

analogues that establish a history of regulating ﬁrearms in crowded places and

locations frequented by children. Although zoos are relatively modern

institutions, 90 the Bruen analysis remains valid and useful, subject to the more

“nuanced approach” announced in Bruen. 142 S. Ct. at 2132.

       Given that 70 percent of zoo visitors come accompanied by children, the

tradition of prohibiting ﬁrearms in places frequented by children

straightforwardly supports the regulation of ﬁrearms in zoos. For its part, the

history of regulating ﬁrearms in often-crowded public spaces supports the

ﬁrearm restriction in zoos in two additional ways. First, the statutes adduced by



       90 The Philadelphia Zoo, which bills itself as the ﬁrst public zoo in the United States, was
chartered in 1859, but due to the intervening Civil War, did not open until 1874. See About the
Zoo, Philadelphia Zoo, available at https://www.philadelphiazoo.org/about-the-zoo/
[https://perma.cc/7795-NX2A]. A few other urban zoos, including New York’s Central Park Zoo,
have claims to have opened sooner than 1874, but we nonetheless have identiﬁed no public zoo
that claims to have opened before the Civil War. The drafters of the Second Amendment
presumably had no particular intentions with respect to the right to carry ﬁrearms in any place
remotely resembling today’s Bronx Zoo.

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the State prohibited ﬁrearms not only in crowded “public squares” such as fairs,

markets, and 19th century urban parks, but also more generally in ballrooms and

social gatherings. See J.A. 602 (1870 Tex Gen. Laws 63, ch. 46); 605–06 (1869 Tenn.

Pub. Acts 23–24); 611 (1883 Mo. Sess. Laws 76); 617 (1889 Ariz. Sess. Laws 17); 621

(1890 Okla. Terr. Stats., Art. 47, § 7). Accordingly, these laws indicate that a high

population density in discrete, conﬁned spaces, such as quintessential public

squares, has historically justiﬁed ﬁrearm restrictions. State court cases from this

era conﬁrm as much. See, e.g., English, 35 Tex. at 478–79 (“it appears [] little short

of ridiculous, that any one should claim the right to carry upon his person” a

ﬁrearm into “a ball room, or any other place where ladies or gentleman are

congregated together”). Second, these same laws support ﬁrearm restrictions

because zoos are spaces that provide educational opportunities. See J.A. 602

(1870 Tex Gen. Laws 63, ch. 46); 605–06 (1869 Tenn. Pub. Acts 23–24); 611 (1883

Mo. Sess. Laws 76); 617 (1889 Ariz. Sess. Laws 17); 621 (1890 Okla. Terr. Stats.,

Art. 47, § 7). That the same laws restricting ﬁrearms in public forums would also

do so in spaces hosting educational and scientiﬁc opportunities makes sense.

Both public squares and educational and scientiﬁc spaces inherently presume

orderly and peaceable assembly.



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      Contrary to the district court’s conclusion, the location of some zoos within

public parks, and their consequent automatic coverage by those parks’ ﬁrearm

regulations, does not cut against the State. The district court’s conclusion was

based on its erroneous notion that the zoos’ “enjoy[ment of] their surrounding

parks’ protections . . . shows that zoos were in need of no more protection than

the parks in which they were located.” Antonyuk, 639 F. Supp. 3d at 327. But the

State was under no burden to demonstrate that zoos are especially deserving of

ﬁrearm regulation, only that such regulation is consistent with Second

Amendment tradition. That zoos were unproblematically covered by the ﬁrearm

regulations of their surrounding parks tends to show that our forebearers took

no Second Amendment issue with the regulation of ﬁrearms at zoos.

      Because the State has demonstrated that prohibiting ﬁrearms at zoos is

consistent with the country’s tradition of regulating ﬁrearms in places of

educational and scientiﬁc opportunity, places heavily traﬃcked by children, and

places that are densely crowded, we reverse the district court’s order

preliminarily enjoining New York from enforcing § 265.01-e in zoos.

                                  *      *     *




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      For the reasons set forth above, we VACATE the district court’s

preliminary injunction enjoining enforcement of § 265.01-e(2)(d) as applied to

zoos and public parks.

IV.   Premises Licensed for Alcohol Consumption

      Section 265.01-e(2)(o) prohibits possession of a ﬁrearm in “any

establishment holding an active license for on-premise consumption [of alcoholic

beverages] . . . where alcohol is consumed.” The State does not challenge the

district court’s determination that one or more Plaintiﬀs had standing to

challenge this provision of the CCIA, and we see no impediment to standing.

Accordingly, we proceed directly to reviewing the district court’s holding that

the State failed to place § 265.01-e(2)(o) within the Nation’s history of ﬁrearm

regulation and vacate the preliminary injunction.

      A.     District Court Decision

      As with the other regulations at issue in this appeal, the district court ﬁrst

determined that the conduct proscribed by § 265.01-e(2)(o) was within the plain

text of the Second Amendment and placed the burden on the State defendants to

prove the regulation’s consistency with our Nation’s history and tradition. The

State argued that § 265.01-e(2)(o) is aimed at reducing the threat of gun violence

resulting from “intoxicated persons gathered in large groups in conﬁned spaces,”

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Antonyuk, 639 F. Supp. 3d at 331, and directed the district court to seven

historical analogues: (1) an 1867 Kansas law prohibiting carriage by “any person

under the inﬂuence of intoxicating drink”; (2) an 1881 Missouri law prohibiting

the same; (3) an 1889 Wisconsin law prohibiting “any person in a state of

intoxication to go armed with any pistol or revolver”; (4) an 1878 Mississippi law

prohibiting sale of “any weapon” to “any . . . person intoxicated, knowing him to

be . . . in a state of intoxication”; (5) an 1890 Oklahoma law barring carriage by a

public oﬃcer “while under the inﬂuence of intoxicating drinks” and also barring

ﬁrearms in “any ball room . . . social party or social gathering”; (6) an 1870 Texas

law barring ﬁrearms in “a ball room, social party or other social gathering

composed of ladies and gentlemen”; and (7) an 1889 Arizona law barring

ﬁrearms in any “place where persons are assembled for amusement . . . or into a

ball room, social party or social gathering.” Id. at 332.

      The district court discounted the Oklahoma and Arizona statutes as

coming from territories and the 1889 Wisconsin law as being too removed from

either the Founding or Reconstruction. The district court then noted that the ﬁve

remaining analogues appear “to have been aimed at denying the possession of

guns to persons who were likely to pose a danger or disturbance to the public”



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and did so either by prohibiting carriage to those who were intoxicated or those

who were likely to disturb a social party or gathering. Id. It then assumed,

without deciding, that the ﬁve analogues it was considering were both

suﬃciently well-established and representative to constitute a tradition but held

that the tradition established by those laws was not suﬃciently analogous to

justify § 265.01-e(2)(o).

      In the district’s court view, “[t]he problem” with § 265.01-e(2)(o) is that it

“is not limited to persons who have been served and/or who are consuming

alcohol,” nor “is it even limited to persons intoxicated in establishments,” but

rather it “broadly prohibits concealed carry by license holders . . . who will be

merely eating at the establishments.” Id. While the court “acknowledge[d] the

historical support” in the State’s analogues “for a law prohibiting becoming

intoxicated while carrying a ﬁrearm,” it concluded that those analogues did not

justify criminalizing “mere presence” at a liquor-licensed establishment. Id at

333. (emphasis removed). This is because the State’s historical analogues

governed behavior, while § 265.01-e(2)(o) governs places. Meanwhile, the

district court appears to have rejected the State’s analogues prohibiting the

carriage of ﬁrearms at social gatherings on the basis that the State had



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“adduce[d] no evidence of the approximate number of disturbances to ‘social

gatherings’ at restaurants that were caused each year by those licensed

individuals who carry concealed there.” Id at 332.

      B.     The State’s Historical Analogues

      On appeal, the State relies largely on the same analogues as it did below to

argue that § 265.01-e(2)(o) is in harmony with the tradition of regulating ﬁrearms

in locations frequented by “concentrations of vulnerable or impaired people,”

here intoxicated individuals, “who either cannot defend themselves or cannot be

trusted to have ﬁrearms around them safely.” Antonyuk Nigrelli Br. at 62. The

State also argues that the tradition of regulating ﬁrearms in “quintessentially

crowded places,” which they argue liquor-licensed establishments generally are,

supports § 265.01-e(2)(o).

      As a preliminary matter, we address the district court’s erroneous decision

to aﬀord little weight to the Arizona and Oklahoma statutes because they were

territorial laws, and to the 1889 Wisconsin statute because of its distance from

Reconstruction and the Founding.

      As we have already explained, the district court’s repeated and automatic

rejection of any territorial laws and statutes from the latter half of the nineteenth



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century is not compelled by Bruen. True, Bruen counseled that evidence “that

long predates either date may not illuminate the scope of the right if linguistic or

legal conventions changed in the intervening years,” and that “[s]imilarly, we

must also guard against giving postenactment history more weight than it can

rightly bear.” 142 S. Ct. at 2136 (emphasis added). That observation, however,

does not require courts to reﬂexively discount evidence from the latter half of the

19th century absent indications that such evidence is inconsistent with the

National tradition. Likewise, the district court made too much of the fact that

Bruen gave “little weight” to territorial laws. Id. at 2155. Not only did New York

oﬀer only one state law in support of its proper-cause requirement in Bruen, the

territorial laws on which it relied in Bruen were “short lived” and some “were

held unconstitutional shortly after passage,” 91 while another “did not survive a

Territory’s admission to the Union as a State.” Id.




       91 The only case cited in Bruen for the proposition that “some” territorial laws were held
unconstitutional is In re Brickey, 8 Idaho 897, 70 P. 609 (1902). That one-paragraph opinion
invalidated a statute that apparently prohibited the carriage of deadly weapons within the
limits of a city, town, or village (the statute is only paraphrased, not quoted, in the brief
decision). Far from suggesting the unconstitutionality even of New York’s Sullivan law, let
alone laws addressing sensitive places, the Idaho Supreme Court merely noted that the state
legislature had the power to regulate arms-bearing, but not totally to prohibit it, speciﬁcally
stating that “[a] statute prohibiting the carriage of concealed deadly weapons [which the court
characterized as ‘a pernicious practice’] would be a proper exercise of the police power of the
state.” 70 P. at 609 (emphasis added).

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      The circumstances leading to the Court’s cautions in Bruen are not present

here and did not require the district court to discount the territorial laws of

Arizona and Oklahoma nor the 1889 Wisconsin law. Unlike in Bruen, there is no

evidence in the record before us that the territorial laws were short-lived, did not

survive admission to the Union, or were later held unconstitutional. Nor were

these territorial laws aberrant to the National tradition. As discussed below,

these territorial laws were consistent with ﬁve state laws already on the books

when the territorial laws were enacted. Similarly, Wisconsin’s 1889 law was not

a late-term aberration from the National tradition, but an addition consistent

with the older state laws from Kansas, Missouri, and Mississippi. All three

statutes should have been considered by the district court.

             1.    Well-Established and Representative

      We now hold what the district court assumed, that the State’s historical

analogues establish a consistent and representative tradition of regulating access

to ﬁrearms by people with impaired self-control or judgment, speciﬁcally those

who are intoxicated. Three of the State’s analogues—the 1867 Kansas law, 1889

Wisconsin law, and 1883 Missouri law—prohibited intoxicated persons from

carrying ﬁrearms. J.A. 691 (1867 Kan. Sess. Laws Ch. 12, p. 25) (“any person



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under the inﬂuence of intoxicating drink . . . who shall be found . . . carrying on

his person a pistol . . . shall be subject to arrest”); id. at 694 (WIS. STAT. ANN. §

4379b (1889)) (“It shall be unlawful for any person in a state of intoxication to go

armed with any pistol or revolver.”); id. at 611 (1883 Mo. Sess. Laws 76)

(prohibiting carriage by any person “when intoxicated or under the inﬂuence of

intoxicating drinks”). The State’s three other analogues included a law that

prohibited selling ﬁrearms to intoxicated persons, id. at 633 (1878 Miss. Laws

175); a law that required the keepers of “drinking saloon[s] to keep posted up in

a conspicuous place in his bar room . . . a plain notice to travelers to divest

themselves of their weapons,” id. at 617 (1889 Ariz. Sess. Laws 17); and a law that

prohibited carriage in “any place where intoxicating liquors are sold,” id. at 621

(1890 Okla. Terr. Stats., Art. 47, § 7). These six analogues, which applied to nine-

and-a-half percent of Americans by 1889, 92 establish a consistent and

representative National tradition of regulating ﬁrearms due to the dangers posed

by armed intoxicated individuals. This tradition was carried out in various

forms: either by disarming intoxicated persons (as in Kansas, Wisconsin, and


       92 All of the State’s analogues were still in eﬀect in 1889, and the population of the six
states from which the State draws its historical analogues was approximately 6 million. DEPT.
OF INTERIOR, COMPENDIUM OF ELEVENTH CENSUS: 1890, 2 tbl. 1 (1892). The population of the
United States that same year was approximately 62.6 million. Id.

                                               209
Missouri), prohibiting the sale of ﬁrearms to intoxicated persons (as in

Mississippi), or prohibiting ﬁrearms in liquor-serving or -selling establishments

(as in Arizona and Oklahoma).

       In addition to these statutory analogues, the State points to the Missouri

Supreme Court’s holding in State v. Shelby that the state’s prohibition of ﬁrearm

carriage by intoxicated persons was in “perfect harmony with the constitution”

given the “mischief to be apprehended from an intoxicated person going abroad

with ﬁre-arms.” 2 S.W. at 469; see also id. (noting that if the state could

constitutionally regulate ﬁrearms in “time and place, . . . no good reason is seen

why the legislature may not do the same thing with reference to the condition of

the person who carries such weapons”). Thus, not only do the six statutory

analogues indicate that the Nation’s early legislatures understood prohibiting the

carriage of ﬁrearms by intoxicated persons and in liquor-serving establishments

to be constitutional, but at least one state court did so as well. See Bruen, 142 S.

Ct. at 2155 (explaining that state court decisions help today’s courts understand

“the basis” of a historical analogue’s “perceived legality”). 93



       93As to the State’s reliance on the tradition of regulating ﬁrearms in crowded places, we
have already addressed this regulatory tradition, see supra Sensitive Locations §§ III.B.2 & III.B.3,
and found that it is well-established and representative. We further note here that the 1889


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                2.      Consistency with Tradition

        We now turn to whether § 265.01-e(2)(o) is consistent with the well-

established and representative tradition established by the State’s analogues. We

hold that it is consistent with both analogical categories established by the State,

as liquor-licensed establishments are both typically crowded milieus and are

frequented by intoxicated individuals who cannot necessarily be trusted with

ﬁrearms and who may also, due to their intoxication, be unable to defend

themselves eﬀectively. 94

        Both categories of analogues burdened Second Amendment rights in a

similar manner and for similar reasons as § 265.01-e(2)(o). Contemporaneous

state case law reveals that historical regulations prohibiting ﬁrearms at social

gatherings, parties, and ball rooms were justiﬁed by the “duties and proprieties

of social life.” Andrews, 50 Tenn. at 181–82; see id. at 170, 181–82 (upholding 1869

Tennessee statute that prohibited carriage at “fair[s], race course[s], or other




Arizona and 1890 Oklahoma statutes prohibiting carriage in liquor-serving and -selling
establishments likewise prohibited ﬁrearms in social parties, gatherings, and ball rooms. J.A.
617 (1889 Ariz. Sess. Laws 17); id. at 621 (1890 Okla. Terr. Stats., Art. 47, § 7); see also id. at 602
(1870 Tex. Gen. Laws 73) (prohibiting carriage in social gatherings, parties, and ball rooms).
        94Because the regulation is consistent with both categories, we need not decide whether
the historical analogues for regulating ﬁrearms in crowded places would alone justify § 265.01-
e(2)(o).

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public assembl[ies]”); see J.A. 605 (1869 Tenn. Pub. Acts 23). In a similar vein, the

State explains that § 265.01-e(2)(o) is motivated by the need to protect those in

crowded social spaces.

      And, though the State does not explicitly refer to historical statutes

regulating ﬁrearms in other crowded spaces such as fairs and markets, those too

provide support for regulating ﬁrearms in crowded places and keeping such

spaces peaceful, as we have already discussed, see supra Sensitive Locations

§ III.B. As to means, both § 265.01-e(2)(o) and its historical “crowded space”

analogues achieve their purpose by prohibiting carriage in heavily-traﬃcked

spaces. Likewise, contemporaneous state case law reveals that intoxicated-

persons statutes were motivated by the need to disarm intoxicated individuals

who could not be trusted with weapons. See Shelby, 2 S.W. at 469–70 (holding

that the “mischief” posed by intoxicated persons carrying weapons justiﬁed a

statute prohibiting as much). As we have noted, these statutes achieved their

objective in various ways. Some did so by disarming intoxicated individuals

themselves, others by prohibiting sale to intoxicated persons, and yet others by

prohibiting ﬁrearms in liquor-serving or -selling establishments altogether.




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Section 265.01-e(2)(o), which operates by prohibiting ﬁrearms in liquor-serving

establishments, is directly parallel to the latter historical statutes.

      When paired with the crowded space analogues, even absent the historical

statutes prohibiting carriage in liquor-serving establishments, the analogues

prohibiting intoxicated persons from carrying or purchasing ﬁrearms justify

§ 265.01-e(2)(o). Whereas the crowded space analogues justify prohibiting

ﬁrearms in heavily-traﬃcked places, the intoxicated-persons analogues justify

prohibiting ﬁrearms to intoxicated persons who cannot be trusted with weapons.

Together, these statutes justify regulating ﬁrearms in crowded spaces in which

intoxicated persons are likely present. See Bruen, 142 S. Ct. at 2133 (“[E]ven if a

modern-day regulation is not a dead ringer for historical precursors, it still may

be analogous enough to pass constitutional muster.”).

      The district court made two errors in reaching its holding that § 265.01-

e(2)(o) was inconsistent with the Nation’s tradition. For one, as described above,

it erroneously declined to consider the analogues from Arizona, Oklahoma, and

Wisconsin. Like § 265.01-e(2)(o), the Arizona and Oklahoma statutes prohibited

ﬁrearms carriage in establishments serving liquor. These analogues provide the

(admittedly unnecessary) historical twins sought by the district court and



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demonstrate that regulating ﬁrearms based on liquor-serving places rather than

intoxication is consistent with the National tradition. 95 Yet, even putting aside

the Arizona and Oklahoma statutes, the district court erred in rejecting the

State’s remaining behavior-based historical analogues in search of a place-based

“historical twin.” Bruen, 142 S. Ct. at 2133 (emphasis removed). For the reasons

we describe above, § 265.01-e(2)(o) is “analogous enough” to the State’s

behavior-based and crowded location historical analogues to “pass constitutional

muster.” Id.

                                        *       *      *

       For the aforementioned reasons we VACATE the district court’s preliminary

injunction enjoining enforcement of § 265.01-e(2)(o).

V.     Theaters, Conference Centers, and Banquet Halls

       N.Y. Penal L. § 265.01-e(2)(p) is a wide-ranging ban on gun carriage in

“any place used for the performance, art entertainment [sic], gaming, or sporting

events” that provides a long list of examples of such locations. The district court



       95 In fact, though the district court made much of the distinction between regulating
place versus behavior, 19th century case law reveals that at least some state courts analogized
regulating behavior to regulating places in ﬁnding behavior-based regulations constitutional.
See Shelby, 2 S.W. at 469 (observing that “no good reason” exists for distinguishing between the
constitutionality of the legislature’s regulation of ﬁrearms in “time and place” and the
regulation “of the person who carries such weapons”).

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enjoined enforcement of § 265.01-e(2)(p) with respect to three of those locations:

“theaters,” “conference centers,” and “banquet halls.” We vacate that injunction,

concluding (1) that no plaintiﬀ presented a justiciable challenge to the conference

center and banquet hall provisions (and thus that the district court’s injunction

was entered without subject-matter jurisdiction), and (2) that Plaintiﬀs have not

shown a likelihood that the ban on carrying guns in theaters violates the Second

Amendment.

      A.     Justiciability

      The district court concluded that plaintiﬀ Alfred Terrille had standing with

respect to both conference centers and banquet halls, and that plaintiﬀ Joseph

Mann also had standing with respect to banquet halls. We disagree on both

scores.

      We consider ﬁrst Terrille’s claim as to conference centers and banquet halls

(there is no dispute that, as the district court found, Terrille has standing with

respect to theaters). See Antonyuk, 639 F. Supp. 3d at 286. His September 19,

2022, declaration averred that he “plan[s] to attend the . . . NEACA Polish

Community Center Gun Show, to occur on October 8–9, 2022, in Albany,” and

that he “intend[s] to carry [his] ﬁrearm” there. J.A. 191–92 (Terrille Decl. ¶ 16).

The gun show’s host — the Polish Community Center — “describes itself as a

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conference center, banquet hall & wedding venue,” id., an unchallenged self-

description that we credit.

      This declaration was likely suﬃcient to establish Terrille’s standing

initially. But “[t]o qualify as a case ﬁt for federal-court adjudication, ‘an actual

controversy must be extant at all stages of review, not merely at the time the

complaint is ﬁled.’” Arizonans for Oﬀ. Eng. v. Arizona, 520 U.S. 43, 67 (1997)

(quoting Preiser v. Newkirk, 422 U.S. 395, 401 (1975)). “[I]t is not enough that a

dispute was very much alive when suit was ﬁled . . . . The parties must continue

to have a personal stake in the outcome of the lawsuit.” Lewis v. Cont’l Bank

Corp., 494 U.S. 472, 477–78 (1990) (internal quotation marks omitted). “When the

plaintiﬀ no longer has a legally cognizable interest in the outcome of the action,

the case becomes moot and is no longer a ‘case’ or ‘controversy’ for the purposes

of Article III.” Stagg, P.C. v. U.S. Dep’t of State, 983 F.3d 589, 601 (2d Cir. 2020)

(citing Already, LLC v. Nike, Inc., 568 U.S. 85, 91 (2013)). “The question of

standing bears close aﬃnity to the question of mootness, which is whether the

occasion for judicial intervention persists.” Chevron Corp. v. Donziger, 833 F.3d 74,

123 (2d Cir. 2016) (emphasis in original) (internal quotation marks omitted).




                                          216
       Even though Terrille likely had standing at the outset of this suit, his claim

has become moot. Terrille’s alleged injury-in-fact was a threatened prosecution

for carrying a gun at a speciﬁc conference center/banquet hall on a speciﬁc date.

But October 8–9 came and went, and there is no record as to whether the gun

show took place, let alone whether Terrille attended it while armed. 96 A past but

unfulﬁlled intention to violate the law does not support pre-enforcement

standing, and nothing in the record here (or in district court, see Antonyuk, 639 F.

Supp. 3d at 286 n.52) shows that Terrille followed through on his intention to

violate § 265.01-e(2)(p) in October.

       Nor did Terrille allege a future intention to visit a banquet hall or

conference center while armed—for a gun show or otherwise. Plaintiﬀs claim

that it is “evident from Terrille’s aﬃdavit that he regularly attends gun shows,

which occur on a routine basis,” 97 Antonyuk Appellee Nigrelli Br. at 9 (emphasis




       96 A showing that he had done so would likely have supported injury-in-fact: the statute
of limitations on violating § 265.01-e will not run for several years, see N.Y. C.P.L. § 30.10(2)(b)
(establishing ﬁve-year limitations period for felonies), so Terrille might still have claimed a
credible threat of prosecution. But even though the State argued mootness here and in the
district court, Terrille has done nothing to supplement his averments.
       97   The district court seems to have accepted this characterization sub silentio. Antonyuk,
639 F. Supp. 3d at 286 (“Plaintiﬀ Terrille has sworn that he has frequently carried concealed
in . . . conference centers and banquet halls, and will do so again . . . .”). In fact, as discussed
below, Terrille’s aﬃdavit made no such statement.

                                                217
removed), but that is not so. Terrille discussed his plans to attend conference

centers and banquet halls solely by reference to his desire to attend a speciﬁc gun

show, and did so in a short and discrete section of his declaration (set out in the

margin). 98 We do not see in that averment—or anywhere else, e.g., J.A. 69

(Compl. ¶ 173)—the supposedly “evident” indicia that Terrille regularly visits

banquet halls or conference centers while armed. In contrast, Plaintiﬀ Johnson

makes precisely such an assertion in discussing his interest in zoos, by stating

that his and his wife’s plans to visit the zoo in the coming fall is part of their

regular practice of visiting the zoo “at least once or twice every fall.” J.A. 139–40

(Johnson Decl. ¶ 17).

       Perhaps Plaintiﬀs ask us to construe Terrille’s declaration generously and

to infer from his stated intention to go to this gun show at a conference

center/banquet hall while armed an unstated intention to attend other, future

gun shows at conference centers/banquet halls while armed. But without more,

such an inference is not logically sound. A person with a ticket to a play next




       98See J.A. 191–92 (Terrille Decl. ¶ 16) (“I plan to attend the upcoming NEACA Polish
Community Center Gun Show, to occur on October 8-9, 2022, in Albany. The gun show is
hosted by The Polish Community Center, which describes itself as ‘a conference center, banquet
hall & wedding venue in Albany, NY.’ . . . I currently plan to attend the upcoming Albany gun
show, and I intend to carry my ﬁrearm with me when I do, in violation of the CCIA[.]”).

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week is not necessarily a theater-goer. Terrille could have alleged something

more—a longstanding interest in and habit of attending gun shows, perhaps—

but he did not, and we will not rewrite his declaration for him: As we have

previously noted, “‘a live controversy is not maintained by speculation’ that the

party might in the future be prevented from conducting an activity that it

‘currently asserts no plan to [conduct].’” Connecticut Citizens Def. League, Inc. v.

Lamont, 6 F.4th 439, 445 (2d Cir. 2021) (brackets in original) (quoting City News &

Novelty, Inc. v. City of Waukesha, 531 U.S. 278, 285 (2001)).

      Furthermore, “[o]ur sensitivity to [justiciability] concerns is particularly

acute when a litigant invokes the power of judicial review, a power at once

justiﬁed and limited by our obligation to decide cases.” Frank v. United States, 78

F.3d 815, 832 (2d Cir. 1996), vacated, 521 U.S. 1114 (1997), relevant portion re-

adopted, 129 F.3d 273, 275 (2d Cir. 1997); see also Raines v. Byrd, 521 U.S. 811, 819–

20 (1997) (The “standing inquiry has been especially rigorous when reaching the

merits of the dispute would force us to decide whether an action taken by one of

the other two branches of the Federal Government was unconstitutional.” ).

Though a request for judicial review does not actually modify the requirements

for justiciability, we reiterate that a court must be conﬁdent that it is deciding a



                                          219
true “case or controversy”—rather than issuing an advisory opinion—when

asked to invalidate the action of a co-ordinate branch or of a state. In such

circumstances, courts should be reluctant to draw tenuous inferences from

sparse declarations.

      Plaintiﬀs make two further mootness arguments. First, they argue that any

uncertainty as to what Terrille did on October 8th and 9th is the State’s fault for

declining to cross-examine Terrille at the evidentiary hearing in the district court.

But it was not the State’s job to adduce facts to sustain Terrille’s injury. Plaintiﬀs

also argue that Terrille should not be required to confess to the felony of going

armed to a conference center. True, he “is not required to [confess to a crime] in

order to establish standing.” Antonyuk, 639 F. Supp. 3d at 290; accord Driehaus,

573 U.S. at 163. But that was not his only option. If Terrille had averred that he

wishes to attend gun shows (or other events) at conference centers or banquet

halls while armed, with suﬃcient indicia to permit a plausible inference of future

violations of this law, jurisdiction might have been proper. Or Terrille could

have asserted that he wanted to attend other gun shows while armed but was

deterred from doing so by the CCIA. But he did neither.




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       We are mindful that a plaintiﬀ may fall between stools: allege future

conduct too imminent and the claim will become moot, but allege a generic or

distant intention and the injury will be insuﬃciently speciﬁc. But as we have

explained elsewhere in this opinion, it is simply not all that hard to allege a

plausible “intention to engage in a course of conduct arguably aﬀected with a

constitutional interest,” Driehaus, 573 U.S. at 159 (quoting Babbitt, 442 U.S. at 159).

The Supreme Court has repeatedly found plausible allegations of injury based on

relatively vague future intentions. See supra Sensitive Locations § III.A

[(discussing Johnson’s allegations with respect to zoos)]. A gun owner who

alleges a prior visit to a venue, a reason or wish to visit again, and either a plan to

do so (thereby subjecting himself to arrest) or a decision to forgo doing so for fear

of prosecution will likely have adequately pled standing to seek a pre-

enforcement injunction. 99

       Not so a plaintiﬀ who alleges only a single occasion on which he intends to

violate the challenged law and then fails to indicate that he followed through,

that he was dissuaded by legal prohibition, or that past practice predicts a


       99 This is why Terrille’s claim is moot but Corey Johnson’s claim is not. Johnson averred
that he intended to visit the Rosamond Giﬀord Zoo “within the next 90 days” and that he and
his wife regularly visit the zoo “once or twice every fall” in order to see certain creatures. J.A.
139–40 (Johnson Decl. ¶ 17).

                                               221
violation in the future. Since Terrille has done none of the above, it is

insuﬃciently clear that the injunction he seeks with respect to banquet halls and

conference centers would aﬀect him in any way. He has not demonstrated an

ongoing stake in the outcome of the litigation; his claim is—and was at the time

the district court issued its injunction—moot. Cf. Palmer v. Amazon.com, Inc., 51

F.4th 491, 503 (2d Cir. 2022) (“A case becomes moot when it is impossible for a

court to grant any eﬀectual relief whatever to the prevailing party.” (quoting

Lamont, 6 F.4th at 444)). And since Terrille was the only plaintiﬀ found to have

standing with respect to conference centers, we vacate that component of the

district court’s injunction as having been entered without jurisdiction.

      The district court also concluded that Joseph Mann had standing to

challenge the CCIA’s prohibition on possessing a gun in banquet halls. Mann’s

declaration averred that his church “additionally [is] a ‘banquet hall’ as

[parishioners] often break bread together.” J.A. 183 (Mann Decl. ¶ 34). The

district court accepted Mann’s characterization and found that, given Mann’s

stated intention to carry a gun at the church, he had established injury-in-fact. See




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Antonyuk, 639 F. Supp. 3d at 387. 100 We disagree. Notwithstanding that people

“break bread together” there, a church is not even arguably a “banquet hall”

within the meaning of § 265.01-e(2)(p).

       The Plaintiﬀs’ interpretation of “banquet hall” does not comport with

ordinary meaning. See Manning v. Barr, 954 F.3d 477, 482 (2d Cir. 2020)

(“[W]ords will be interpreted as taking their ordinary, contemporary, common

meaning.” (quoting Arriaga v. Mukasey, 521 F.3d 219, 225 (2d Cir. 2008)). Just as

“banquet” is not a synonym for “meal,” 101 a “banquet hall” is not any place

people eat together. 102 Instead, the phrase ordinarily refers more speciﬁcally to a

commercial space made available for special events: weddings, reunions,




       100 The district court appears to have slightly misunderstood Mann’s claim as being that
his church contains a “banquet hall.” See Antonyuk, 639 F. Supp. 3d at 286. Instead, Mann
alleged that the church itself constitutes a “banquet hall,” and Plaintiﬀs have not advanced the
district court’s interpretation here. We do not decide whether a separate “hall” within a church
might qualify under the statute.
       101See Banquet, Merriam-Webster.com Dictionary, available at https://www.merriam-
webster.com/dictionary/banquet [https://perma.cc/H3WV-LKBZ] (“a sumptuous feast,
especially [] an elaborate and often ceremonious meal for numerous people often in honor of a
person; a meal held in recognition of some occasion or achievement”)
       102See Hall, Oxford English Dictionary, available at
https://doi.org/10.1093/OED/6129098993 [https://perma.cc/G846-QK8V] (“[a] large room or
building for the transaction of public business . . . or any public assemblies, meetings, or
entertainments,” or in this case, banquets).



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fundraisers, etc. Plaintiﬀs’ expansive deﬁnition of “banquet hall” would include

a cafe, picnic tables in the park, or the dining room of a private residence.

      Our intuitive understanding is conﬁrmed by an examination of the

company the phrase keeps. See, e.g., Homaidan v. Sallie Mae, Inc., 3 F.4th 595, 604

(2d Cir. 2021) (“[Noscitur a sociis] counsels that a word is given more precise

content by the neighboring words with which it is associated.” (quoting Freeman

v. Quicken Loans, Inc., 566 U.S. 624, 634–35 (2012)). As used in paragraph (2)(p),

“banquet hall” is only an example of a “place used for the performance, art

entertainment [sic], gaming, or sporting events.” A church—even one hosting

collective bread-breaking—is not such a place. The other listed examples

immediately preceding “banquet halls” in § 265.01-e(2)(p), such as theaters,

stadiums, concerts, amusement parks, and racetracks, further conﬁrm our

understanding of the term. Context thus tells us that the legislature could hardly

have intended for “banquet hall” to cover all sites of group meals, including

churches.

      For these reasons, we conclude that Mann’s proﬀered interpretation of the

statute is not “reasonable enough” that he “may legitimately fear that [he] will

face enforcement of the statute.” Picard, 42 F.4th at 98 (quoting Pac. Cap. Bank,



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542 F.3d at 350). He has therefore not alleged an intention to engage in conduct

which is “arguably proscribed by the law” he challenges, Driehaus, 573 U.S. at

162 (internal quotation marks omitted), and has failed to establish injury-in-fact

with respect to § 265.01-e(2)(p)’s application to banquet halls. Given the

mootness of Terrille’s challenge to the banquet hall provision, the district court

lacked jurisdiction to enjoin enforcement of § 265.01-e(2)(p) with respect to

banquet halls, and we vacate for that reason.

      The State, on the other hand, does not challenge the district court’s ﬁnding

that Plaintiﬀs Terrille, Mann, and Johnson had standing as to theaters, and we see

no impediment to standing. Accordingly, we now turn to the merits of the district

court’s preliminary injunction of § 265.01-e(2)(p) as applied to theaters.

      B.     Merits

             1.    District Court Decision

      The State once again bore the burden of proving that § 265.01-e(2)(p), the

purpose of which is to reduce the threat of gun violence toward large groups in

conﬁned locations, was consistent with the National tradition. To carry this

burden, the State oﬀered ﬁve analogues below, all of which we have already

seen: (1) a 1786 Virginia law barring persons from “go[ing] []or rid[ing] armed”



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in “fairs or markets, or in other places, in terror of the county”; (2) an 1869

Tennessee law barring carriage in “any fair, race course, or other public assembly

of the people”; (3) an 1870 Texas law barring carriage in “a ball room, social party

or other social gathering composed of ladies and gentleman”; (4) an 1889 Arizona

law and (5) an 1890 Oklahoma law, both of which prohibited carriage in “any

places where persons are assembled for amusement . . . or into any circus, show

or public exhibition of any kind, or into a ball room, social party or social

gathering.” Antonyuk, 639 F. Supp. 3d at 333.

      As it did elsewhere, the district court discounted the Oklahoma and

Arizona statutes as coming from territories and the latter half of the 19th century.

So, it considered only the ﬁrst three analogues. These laws, determined the

court, “appear to have been aimed at denying the possession of guns to persons

who were likely to pose a danger or disturbance to the public.” Id at 334. Per the

district court, they did so by denying ﬁrearms to persons who were either

“riding in terror of the county” or “likely to disturb those attending a gathering

of people (usually but not always outdoors) containing a dense population.” Id.

      The district court concluded that neither set of analogues sustained the

State’s burden. Virginia’s law prohibiting “riding in terror” was not on point



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because its regulation of “horseback-riding terrorists through fairs or markets”

was not analogous to the “modern need to regulate law-abiding New York State

citizens” wishing to carry concealed ﬁrearms. Id. (alterations adopted and

internal quotation marks omitted). And whereas the “horseback riders

referenced in the Virginia law were, by deﬁnition, brandishing arms and not

carrying them concealed,” noted the court, “the modern regulation is not limited

to instances in which the concealed carry licensees are ‘terrorizing’ others.” Id.

Nor did the remaining two laws—the 1869 Tennessee and 1870 Texas statutes—

carry the State’s burden because those laws, by virtue of the relatively small

portion of the American population they covered, were neither representative

nor established. Yet, even assuming these statutes were representative and

established, the district court refused to accept that these two statutes were

analogous because the State had not demonstrated “that the modern need for

this regulation is comparable to the need for its purported historical analogues”

given the CCIA’s licensing requirements. Id. at 335.

      Having determined that none of the State’s oﬀered analogues carried its

burden of placing § 265.01-e(2)(p) within the Nation’s history of ﬁrearm

regulation, the district court enjoined its enforcement.



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             2.     The State’s Historical Analogues

      On appeal, the State argues that § 265.01-e(2)(p) is consistent with the

Nation’s tradition of regulating ﬁrearms in quintessentially crowded social

places. As we have already laid out, supra Sensitive Locations §§ III.B.2 & IV.B.2,

the State points to the following analogues to establish a tradition of crowded-

place regulations: (1) a 1382 British statute forbidding going or riding “armed by

night []or by day, in fairs, markets,” Statute of Northampton 1328, 2 Edw. 3 c.3

(Eng.); (2) a 1792 North Carolina statute replicating the 1328 British statute and

prohibiting ﬁrearms in fairs or markets, Collection of Statutes of the Parliament

of England in Force in the State of North Carolina, pp. 60–61, ch. 3 (F. Martin Ed.

1792); (3) a 1786 Virginia law prohibiting “go[ing] []or rid[ing] armed by night

[]or by day, in fairs or markets, or in other places, in terror of the county,” J.A.

670 (1786 Va. Acts 35, ch. 49); (4) laws from 1869 Tennessee, 1870 Texas, 1883

Missouri, 1889 Arizona, and 1890 Oklahoma prohibiting ﬁrearms in crowded

places such as assemblies for “educational, literary or scientiﬁc purposes, or into

a ball room, social party or social gathering,” J.A. 602 (1870 Tex. Gen. Laws 63,




                                          228
ch. 46); 103 and (5) Missouri, Tennessee, and Texas state court opinions upholding

those states’ regulations as constitutional, see Shelby, 2 S.W. at 469; English, 35 Tex.

at 478–79; Andrews, 50 Tenn. at 182.

       We have already held that the above analogues set forth both a well-

established and representative tradition of regulating ﬁrearms in quintessentially

crowded places, supra Sensitive Locations § III.B.2.a. The question to which we

turn, therefore, is whether § 265.01-e(2)(p) is consistent with that tradition, supra

Sensitive Locations § III.B.2.b. We hold that it is and, accordingly, vacate the

preliminary injunction.

       The State’s proﬀered analogues set forth a tradition of regulating ﬁrearms

in quintessentially crowded places, particularly those spaces that are (1) discrete

in the sense that they contain crowds in physically delineated or enclosed spaces,

e.g., circuses, ball rooms, fairs, and markets, and (2) “where persons are



       103 J.A. 605–06 (1869 Tenn. Pub. Acts 23–24) (1869 Tennessee law prohibiting carriage of
deadly weapons by “any person attending any fair, race course, or other public assembly of
people”); id. at 611 (1883 Mo. Sess. Laws 76) (1883 Missouri law prohibiting weapons “where
people are assembled for educational, literary or social purposes”); id. at 617 (1889 Ariz. Sess.
Laws 17) (1889 Arizona law prohibiting dangerous weapons “where persons are assembled for
amusement or for educational or scientiﬁc purposes, or into any circus, show or public
exhibition of any kind, or into a ball room, social party or social gathering”); id. at 621 (1890
Okla. Terr. Stats., Art. 47, § 7) (1890 Oklahoma law prohibiting carriage in places “where
persons are assembled for . . . amusement, or for educational or scientiﬁc purposes, or into any
circus, show or public exhibition of any kind, or into any ball room, or to any social party or
social gathering”).

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assembled for amusement,” J.A. 617 (1889 Ariz. Sess. Laws 17), or for

“educational [or] literary purposes,” id. at 602 (1870 Tex. Gen. Laws 63, ch. 46).

We need not stretch the analogy far to see that § 265.01-e(2)(p) is consistent with

this tradition in both senses. It regulates ﬁrearms in discrete, densely crowded

physical spaces wherein people assemble for amusement, educational, or literary

purposes, which fairly describes theaters. 104

       The district court failed to properly appreciate the National tradition of

which § 265.01-e(2)(p) is a part for several reasons.

       First, the court improperly discounted the Oklahoma and Arizona statutes

based on their origins as territorial laws from the late 19th Century. Second, it

improperly discounted the laws from Tennessee and Texas based on those states’

populations relative to that of the Nation at the time. 105 For the reasons we have

already described, supra Sensitive Locations § III.B.2, this was error.



       104We do not take the “silence” of the historical record, as it has so far been developed,
on carriage restrictions speciﬁc to theaters to indicate that regulating ﬁrearms in theaters is
unconstitutional. For one, the record also lacks any aﬃrmative evidence that gun regulations in
theaters were considered unlawful. Second, such regulations may not have been necessary
given that the statutes prohibiting carriage at social, amusement, literary, or educational
gatherings appear to have naturally covered theaters.
       105 Even if the Tennessee and Texas laws were the only laws cited by the State at this
point in the litigation, it is not clear to us that the relative populations of those states would
support the district court’s conclusion that the laws were neither well-established nor
representative. As we have mentioned elsewhere, Bruen discounted analogical statutes that


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       Third, the court dismissed the 1786 Virginia law prohibiting “go[ing[ []or

rid[ing] armed by night nor by day, in fairs or markets, or in other places, in

terror of the county,” J.A. at 670 (1786 Va. Acts 35, ch. 49), as insuﬃciently

analogous because the Virginia law was aimed at “terrorists” and not the type of

lawful gun-owners covered by § 265.01-e(2)(p). Antonyuk, 639 F. Supp. 3d at 338–

39. Even if we accept that the Virginia law was solely aimed at people who

terrorize, the district court failed to appreciate that the Founding-era North

Carolina statute prohibited ﬁrearms in fairs and markets with no reference to

terroristic conduct. 106 It also failed to consider that the tradition beginning with

the Virginia and North Carolina laws evolved over the years between the

Founding and Reconstruction toward the North Carolina model, i.e., to prohibit

ﬁrearms in quintessentially crowded places notwithstanding behavior. See, e.g.,

statutes cited supra at III.B.2.a n.74. Thus, in the context of regulating ﬁrearms in




covered less than 1 percent of the American population and ran directly contrary to a majority
of the country at the time. See Bruen, 142 S. Ct. at 2155. According to the district court itself, the
historical analogues from Tennessee and Texas covered 5.3 percent of the population.
       106The district court considered the North Carolina statute in a footnote and dismissed it
for “similar reasons (i.e., the lack of a reasonable analogy to terroristic behavior . . . .).”
Antonyuk, 639 F. Supp. 3d at 334 n.117. Yet, unlike the Virginia statute, the North Carolina
statute did not ban ﬁrearms based on terroristic conduct, it banned all carriage in fairs and
markets. See Collection of Statutes of the Parliament of England in Force in the State of North-
Carolina, pp. 60–61, ch. 3 (F. Martin Ed. 1792).

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discrete, crowded places, the Virginia law’s “terroristic” conduct requirement is

the outlier among the national tradition. 107 In any event, even without the

Virginia law, the State’s remaining historical analogues, and state case law

ﬁnding three of those analogues constitutional, are enough.

       Fourth, the district court improperly dismissed the remaining two

analogues it did consider—the statutes from Tennessee and Texas—because the

State failed to show that the need for gun-regulation in crowded places today is

comparable to the need for such traditional regulations in the past given the

CCIA’s extensive background check requirements. But that was not the State’s

burden. 108 The State’s burden was to prove that § 265.01-e(2)(p) is consistent

with a National tradition. It did so.

                                        *       *      *




       107As we discussed supra Sensitive Locations § III.B.2.a, Bruen’s discussion of the
Northampton statute is not relevant here because it considered that law when oﬀered as an
analogue for a broad prohibition on public carriage generally, not as oﬀered here for a speciﬁc
prohibition on carriage in conﬁned, crowded spaces. Bruen, 142 S. Ct. at 2139–43.
       108The district court’s logic suggests that, because enhanced licensure requirements
purportedly diminish the need for carriage restrictions, carriage restrictions are inconsistent
with their historical analogues if those analogues were enacted at times with lesser licensing
requirements. By this logic, a state must choose between regulating licensure and regulating
carriage even if both carriage and licensure requirements are constitutional. By its own terms,
Bruen does not so tie states’ hands. See 142. S. Ct. at 2133 (“[T]he Second Amendment is [not] a
regulatory straightjacket[.]”).

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      For the aforementioned reasons, the order of the district court

preliminarily enjoining the State from enforcing § 265.01-e(2)(p) is VACATED.

VI.   First Amendment Gatherings

      Section 265.01-e(2)(s) makes it a crime to possess a gun at “any gathering

of individuals to collectively express their constitutional rights to protest or

assemble.” The district court found that Plaintiﬀs Terrille and Mann both had

standing to challenge this restriction. The State has not argued otherwise, but “it

is well established that the court has an independent obligation to assure that

standing exists, regardless of whether it is challenged by any of the parties.”

Summers v. Earth Island Inst., 555 U.S. 488, 499 (2009); accord In re Clinton

Nurseries, Inc., 53 F.4th 15, 22 (2d Cir. 2022). Fulﬁlling that obligation here, we

conclude that neither Terrille nor Mann has presented justiciable constitutional

challenges to paragraph (2)(s).

      A.     Mann

      The district court concluded that Mann has standing because paragraph

(2)(s) applies to Sunday worship at Mann’s church—“expressive religious

assemblies,” in the district court’s words. Antonyuk, 639 F. Supp. 3d at 291. Since

Mann intends to carry a gun during worship services, the district court found

that Mann had alleged a credible threat of prosecution for violating paragraph

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(2)(s). Id.; see also J.A. 182 (Mann Decl. ¶ 32). However, as a matter of statutory

interpretation, neither a worship service nor other “expressive religious

assemblies” are even arguably covered by paragraph (2)(s).

      The inquiry depends on the provision’s purpose: guns are banned only

when people gather “to collectively express their constitutional rights to protest

or assemble.” It is unreasonable to interpret this text to include every gathering

or even every “expressive gathering.” For one thing, that would render wholly

superﬂuous § 265.01-e(2)(c), which speciﬁcally prohibits guns in “any place of

worship.” Other portions of § 265.01-e would also be swallowed by paragraph

(2)(s). “Theaters” and “performance venues”—included in paragraph (2)(p)—do

little else but host gatherings involving expression. Likewise, many events

hosted at “exhibits, conference centers, [and] banquet halls” can be categorized

as “expressive gatherings.” See N.Y. Penal L. § 265.01-e(2)(p). The CCIA may be

broad, but we will not read it to be redundant.

      Paragraph (2)(s)’s placement within § 265.01-e conﬁrms that it was aimed

at protests and other demonstrations rather than at an undiﬀerentiated category

of gatherings that would include worship services. Related sensitive locations

tend to be grouped together in § 265.01-e(2): childcare and other youth programs



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appear back-to-back with “nursery schools, preschools, and summer camps,”

N.Y. Penal L. § 265.01-e(2)(e)–(f); and programs for the vulnerable—persons

suﬀering from addiction, mental illness, poverty, disability, and homelessness—

all appear in sequence, see id. §§ 265.01-e(2)(g)–(k). It is thus probative that

paragraph (2)(s) immediately follows a ban on guns at:

             any public sidewalk or other public area restricted from
             general public access for a limited time or special event
             that has been issued a permit for such time or event by a
             governmental entity, or subject to speciﬁc, heightened
             law enforcement protection . . . .

Id. § 256.01-e(2)(r). This pattern of grouping by aﬃnity suggests that

subparagraph (s) deals with “assemblies” similar to those on a sidewalk or on a

road closed by police.

      Although some court decisions have suggested broad First Amendment

protection for “assemblies,” see Coates v. City of Cincinnati, 402 U.S. 611, 615 (1971)

(suggesting a First Amendment right to “gather in public places for social or

political purposes”); De Jonge v. Oregon, 299 U.S. 353, 365 (1937) (stating that

“peaceable assembly for lawful discussion cannot be made a crime” in part

because of the Assembly Clause), the “constitutional right to assemble” is more

usually discussed as being “cognate to those of free speech and free press,” De

Jonge, 299 U.S. at 364, and “intimately connected both in origin and in purpose[]

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with the other First Amendment rights of free speech and free press,” United

Mine Workers of Am., Dist. 12 v. Illinois State Bar Ass’n, 389 U.S. 217, 222 (1967).

      And the legislature’s pairing of “assembl[y]” with “protest” in § 265.01-

e(2)(s) strongly suggests that the legislature was concerned with protest-type

demonstrations rather than attempting to reach any assembly conceivably

protected by the First Amendment. Cf. McDonnell v. United States, 579 U.S. 550,

569 (2016) (“[Noscitur a sociis] is often wisely applied where a word is capable of

many meanings in order to avoid the giving of unintended breadth to the Acts of

Congress.” (quoting Jarecki v. G.D Searle & Co., 367 U.S. 303, 307 (1961)). It is

implausible that the New York legislature meant for paragraph (2)(s) to apply

wherever people gather for social or political purposes (which is everywhere), or

whenever people engage in lawful discussion (which is all the time). It is highly

unlikely that the legislature would slip in a prohibition of such sprawling

breadth as one of many entries in an enumeration of twenty sensitive locations.

Such a sweeping bar would also oﬀend the Supreme Court’s admonition against

“expanding the category of ‘sensitive places’ simply to all places of public

congregation that are not isolated from law enforcement.” Bruen, 142 S. Ct. at

2134. The CCIA is in conversation with Bruen: the legislature may have



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overreached in certain respects, but the general point was to revise New York’s

gun laws to withstand Bruen, not to attempt exactly what it forbade.

      Moreover, it is easy to infer what the legislature had in mind. Peaceful

demonstrations petitioning the government to take or desist from particular

actions are a vital part of democratic discourse; demonstrations by armed mobs

are something else. Similarly, counter-demonstrations often lead to dangerous

confrontations; how much more so if a peaceful protest is met by counter-

demonstrators who are armed. It is thus reasonable to assume that the

legislature was concerned that carrying ﬁrearms in connection with such protests

conveys intimidation rather than free expression, a concern that would not

extend to ordinary religious or social gatherings at which people exercise their

rights to gather and speak with each other.

      Accordingly, we conclude that worship services at Mann’s church are not

arguably “gathering[s] of individuals to collectively express their constitutional

rights to protest or assemble” and that he has thus not alleged injury-in-fact with

respect to § 265.01-e(2)(s).

      B.     Terrille

      The district court found that Alfred Terrille had standing to challenge the

constitutionality of paragraph (2)(s) based on his intention to attend the Polish

                                        237
Community Center Gun Show on October 8–9, 2022. But for the reasons

explained above with respect to conference centers and banquet halls, Terrille’s

failure to demonstrate that he attended the gun show while armed, was

dissuaded by law from doing so, or intends to attend another gun show in the

future means that Terrille’s challenge to paragraph (2)(s) is now moot.

      Moreover, a gun show is not arguably a “gathering of individuals to

collectively express their constitutional rights to protest or assemble” under

paragraph (2)(s). Though Terrille states that “one of [his] main reasons for

attending [the Polish Community Center Gun Show], and a huge part of any gun

show, is the conversations with fellow gun owners, which invariably includes

discussion of New York State’s tyrannical gun laws,” J.A. 191–92 (Terrille Decl.

¶ 16), that does not on its own bring a gun show within paragraph (2)(s). A gun

show is a commercial exhibition: that attendees might also engage in speech,

including on politically-charged topics, does not make it a gathering for the

purpose of expressing participants’ “constitutional right to protest or assemble.”

As discussed, the challenged law does not cover every gathering where

expression might occur. A book fair is not a qualifying gathering even if




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attendees anticipate conversations about censorship. So, even if Terrille’s claim

was not moot, it still would not be justiciable.

                                          *      *       *

       Since neither Mann nor Terrille present justiciable challenges § 265.01-

e(2)(s), the district court was without jurisdiction to enjoin its enforcement. 109 We

accordingly VACATE that portion of the district court’s preliminary injunction.

                                RESTRICTED LOCATIONS

       Under § 265.01-d of the CCIA, a “person is guilty of criminal possession of

a weapon in a restricted location when such person possesses a ﬁrearm, riﬂe, or

shotgun and enters into or remains on or in private property where such person

knows or reasonably should know that the owner or lessee of such property has

not permitted such possession by clear and conspicuous signage indicating that

the carrying of ﬁrearms, riﬂes, or shotguns on their property is permitted or by

otherwise giving express consent.” The eﬀect of this “restricted location”

provision is to create a default presumption that carriage on any private property

is unlawful —whether property is open or closed to the public—unless the


       109  Plaintiﬀs Johnson and Terrille alleged an intention to attend political protests in the
future, but the district court found those allegations insuﬃciently speciﬁc and/or imminent for
Article III standing. See Antonyuk, 639 F. Supp. 3d at 389–91. Since Plaintiﬀs do not challenge
this determination on appeal, the argument is forfeited and we do not consider it.

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property owner has indicated by “clear and conspicuous signage” or express

verbal consent that carriage is allowed.

      As discussed above, the Antonyuk and Christian Plaintiﬀs each moved in

their respective cases to preliminarily enjoin enforcement of the restricted

locations provision. In Antonyuk, all six individual Plaintiﬀs challenged the

provision as violative of the First Amendment and Second Amendment. After

ﬁnding that each of these Plaintiﬀs had standing to challenge this provision, the

district court enjoined the restricted-locations provision in its entirety on both

First Amendment compelled speech and Second Amendment grounds. See

Antonyuk, 639 F. Supp. 3d at 294, 339–47.

      In Christian, one individual Plaintiﬀ, Brett Christian, along with two

organizational Plaintiﬀs, FPC and SAF, brought a Second Amendment challenge

to the restricted locations provision “with respect to private property ‘open to the

public.’” Christian, 642 F. Supp. 3d at 399 n.5. In its order, the district court held

that the individual Plaintiﬀ had standing while the organizational Plaintiﬀs did

not, and proceeded to ﬁnd that the restricted locations provision facially violated

the Second Amendment. Accordingly, the Christian court granted the relief




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requested by Christian and enjoined enforcement of that provision “with respect

to private property open to the public.” Id. at 411.

I.    Standing

      In assessing standing, we need only consider the Second Amendment

challenge.

      The State argues that none of the Plaintiﬀs in Antonyuk or Christian has

standing to bring a Second Amendment challenge to § 265.01-d. “[A]n injunction

against defendants cannot vindicate plaintiﬀs’ asserted desire to carry guns onto

others’ property,” the State contends, because that “inability . . . would ﬂow not

from defendants’ enforcement of the CCIA, but rather from decisions by

property owners or lessees about whether to allow guns on the premises.”

Antonyuk Nigrelli Br. at 70.

      We disagree. Whether or not a property owner or lessee has decided to

allow guns on their premises, the relevant injury for standing purposes is the

credible threat of arrest and prosecution that Plaintiﬀs face if they do so without

ﬁrst receiving permission for armed entry, as they claim a right (and willingness)

to do. See, e.g., J.A. 140–41 (Johnson Decl. ¶¶ 18–21). Under § 265.01-d, an armed

entry without explicit prior permission would be prosecutable even if the



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property owner or lessee later discovers the entrant is armed and consents to his

carriage. And that injury is clearly redressable by an injunction against

enforcement of the private-property restriction. Further, although the State

contends that this injury is not traceable to the State (and thus not redressable)

because Plaintiﬀs’ exclusion occurs due to a decision by a third-party to deny

consent, that argument ignores the provision’s criminally enforceable

presumption against carriage. In other words, absent § 265.01-d, a licensed gun

owner could bring his concealed ﬁrearm into, for example, a privately owned

department store if the store owner did not clearly communicate to the public (or

to the gun owner directly) any position on whether guns were permitted, but the

passage of the law makes carrying a licensed gun into that store a crime even

though no such prohibition had been posted or communicated. That change in

the gun licensee’s rights is aﬀected by the statute, not by any action of the private

property owner. Accordingly, Plaintiﬀs have standing to challenge § 265.01-d as

violating the Second Amendment.




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II.   Merits

      A.     The District Court Decisions

             1.    Antonyuk

      The district court began its analysis of the restricted location provision by

noting that the provision applies both to “all privately owned property that is not

open to the public (and that is not a ‘sensitive location’ under Section 4 of the

CCIA)” as well as to “all privately owned property that is open for business to

the public (and that is not a ‘sensitive location’ under Section 4 of the CCIA).”

Antonyuk, 639 F. Supp. 3d at 339. The court focused its analysis on those

restricted locations open to the public, concluded that the CCIA’s restriction of

ﬁrearms in such locations “ﬁnds little historical precedent,” id. at 340, and

enjoined enforcement.

      The district court rejected the State’s eight proﬀered analogues, of which

six were state laws ranging from the early 18th-century to late 19th-century that

prohibited carrying ﬁrearms onto private property for the purpose of hunting

game. Id. at 340-41. The remaining two proﬀered statutes, a 1771 New Jersey

statute and an 1865 Louisiana statute, prohibited the carriage of ﬁrearms

generally on private property without the owner’s consent.



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      The court found that the six “anti-poaching” statutes were inapposite.

They were “aimed at preventing hunters (sometimes only hunters who are

convicted criminals) from taking game oﬀ of other people’s lands (usually

enclosed) without the owner’s permission.” Id at 340. Barring “some people from

openly carrying riﬂes on other people’s farms and lands in 19th century

America,” concluded the court, “is hardly analogous to barring all license holders

from carrying concealed handguns in virtually every commercial building now.” Id.

at 341. Moreover, the anti-poaching statutes served a disparate purpose.

According to the district court, “poaching was a speciﬁc and pernicious

problem” in each of the six states with anti-poaching laws, whereas § 265.01-d is

aimed at “ensu[ring] that property owners and lessees can make informed

decision.” Id. (internal quotation marks omitted). In sum, the court concluded

that the need to restrict poaching “appears of little comparable analogousness to

the need to restrict law-abiding responsible license holders in establishments that

are open for business to the public today.” Id.

      The district court also rejected the State’s remaining analogues—the 1771

New Jersey and 1865 Louisiana laws. Even assuming, arguendo, that they were

well-established, the court found that they were not representative, given that the



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populations of New Jersey and Louisiana together was 4.2 percent of the Nation

at that time.

      As to § 265.01-d’s ﬁrearm restrictions on private property closed to the

public, the district court agreed with the State. With no merits analysis, the court

was persuaded “that the Second Amendment is not the best place to look for

protection” of carriage rights on property closed to the public because “thus far

the Second Amendment has been found to protect the right to keep and bear

arms for self-defense only in one’s own home or in public.” Id. at 343. Having

concluded that regulations of ﬁrearms on private property closed to the public

are outside the scope of the Second Amendment, the court did not analyze this

aspect of the regulation under Bruen.

      Following its analysis of the Plaintiﬀs’ First Amendment challenge to the

restricted locations provision, the district court enjoined § 265.01-d in all of its

applications, i.e., as applied to private property that is both open and closed to

the public. Importantly, the district court explained that “even if its First

Amendment challenge were ﬂawed,” the Second Amendment grounds alone

were suﬃcient to “preliminary enjoin all of” § 265.01-d. Id. at 347. As discussed

below, that was error.



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             2.     Christian

      Christian’s pre-enforcement challenge to the restricted location provision

was limited to private property open to the public, and the district court’s

injunction was also so limited. Notwithstanding language in the district court

opinion that purports to analyze the entire provision, i.e., as it applies to private

property open and closed to the public alike, and the State’s defense of the entire

provision in the district court, the district court’s order is limited to enjoining the

provision only as it applies to private property open to the public. Accordingly,

our review on appeal is likewise limited. See Jennings v. Stephens, 574 U.S. 271,

277 (2015) (“This Court, like all federal appellate courts, does not review lower

courts’ opinions, but their judgments.”); see also Chevron, U.S.A., Inc. v. Nat. Res.

Def. Council, Inc., 467 U.S. 837, 842 (1984) (“[S]ince this Court reviews judgments,

not opinions, we must determine whether the Court of Appeals’ legal [reasoning]

error resulted in an erroneous judgment” (emphasis added; footnote omitted)).

      The district court in Christian began its analysis by holding that the

restricted location provision fell within the plain text of the Second Amendment

by infringing on the right—ﬁrst announced in Bruen—to carry ﬁrearms outside




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the home. Accordingly, the district court placed the burden on the State to prove

§ 265.01-d’s consistency with the Nation’s tradition of regulation.

      To carry its burden, the State cited the same analogues as it did in

Antonyuk: (1) a 1715 Maryland law barring people with certain convictions from

hunting or carrying on other peoples’ land without their permission, J.A. at 108

(1715 Md. Laws, No. 73 (An Act for the Speedy Tryal of Criminals, and

Ascertaining their Punishment, in the County-Courts, when Prosecuted there;

and for Payment of Fees due from Criminal Persons)); (2) a 1721 Pennsylvania

law and 1722 New Jersey law prohibiting carriage or hunting “on the improved

or inclosed lands of any plantation other than his own, unless have license or

permission,” id. at 113 (1721 Pa. Laws, ch. 246 (An Act to prevent the killing of

deer out of season, and against carrying of guns, or hunting, by persons not

qualiﬁed)); id. at 119 (1722 N.J. Laws, ch. 35 (An Act to prevent the killing of deer

out of season, and against carrying of guns and hunting by persons not

qualiﬁed)); (3) a 1763 New York law prohibiting “carry[ing], shoot[ing] or

discharg[ing]” any ﬁrearm on private land without permission from the

proprietor, id. at 124 (1763 N.Y. Laws, ch. 1233 (An Act to prevent hunting with

Fire-Arms in the City of New-York, and the Liberties thereof)); (4) an 1865



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Louisiana law and 1866 Texas law prohibiting carriage on plantations without an

owner’s permission, id. at 137 (1865 La. Acts 14); id. at 144 (1866 Tex. Gen. Laws

ch. 90); and (5) an 1893 Oregon law prohibiting “being armed . . . or trespass[ing]

upon any enclosed premises or lands without the consent of the owner,” id. at

151 (1893 Or. Laws 79).

      The Christian court, primarily by reference to the reasoning in Antonyuk,

held that the State’s analogues failed to establish a tradition consistent with

§ 265.01-d. As previously described, Antonyuk rejected the State’s analogues

because they were “aimed at preventing hunters (sometimes only hunters who

are convicted criminals) from taking game oﬀ of other people’s land (usually

enclosed) without the owner’s permission.” Antonyuk, 639 F. Supp. 3d at 340.

And barring “some people from openly carrying riﬂes on other people’s farms and

lands in 19th century America,” concluded the court, “is hardly analogous to

barring all license holders from carrying concealed handguns in virtually every

commercial building now.” Id. at 341.

      In addition to adopting Antonyuk’s rationale, the Christian court made a

few of its own observations. Though “property owners have always had the

right to exclude others from their property and, as such, may exclude those



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carrying concealed handguns,” the Christian court emphasized that “that right

has always been one belonging to the private property owner—not to the State.”

Christian, 642 F. Supp. 3d at 407. The district court concluded that “the scope of

the right codiﬁed in the Second Amendment demonstrates that this society—this

nation—has historically” had the default arrangement that carrying ﬁrearms on

private property is generally permitted absent the owner’s prohibition. Id. at 408

(emphasis removed). Finally, the court observed that because “the vast majority

of land in New York is held privately” the eﬀect of the restricted location

provision is to render most of the state “presumptively oﬀ limits.” Id.

      B.    Merits Analysis of Christian and Antonyuk

      We begin our analysis of the two cases in reverse and ﬁrst address the

narrower injunction issued by the Christian court.

            1.     Christian

                   a.    Scope of Second Amendment

      We agree with the district court that, to the extent the restricted location

provision applies to private property open to the public, the regulated conduct

falls within the Second Amendment right to carry ﬁrearms in self-defense

outside the home. See Bruen, 142 S. Ct. at 2135 (“the Second Amendment

guarantees a general right to public carry”). Otherwise, as the district court

                                        249
observed, because over 91 percent of land in New York state is privately held, the

restricted location provision would turn much of the state of New York into a

default no-carriage zone. 110 We need not and do not decide, however, whether

the Second Amendment includes a right to carry on private property not open to

the public. See Bruen, 142 S. Ct. at 2134 (explaining that though there is a general

right to public carriage “we do not undertake an exhaustive historical analysis of

the full scope of the Second Amendment” (ellipses omitted) (quoting Heller, 554

U.S. at 626).”

       On appeal, the State argues that because the district court failed to

consider whether there is a Second Amendment right to carry ﬁrearms on private

property not open to the public, it short-circuited the ﬁrst step of the analysis and

thus erroneously put the burden on the State to establish § 265.01-e’s consistency

with the National tradition. However, the Christian Plaintiﬀs bring an as-applied

pre-enforcement challenge to the restricted location provision only insofar as it

applies to private property open to the public, so they were only required to

show, and the district court was only required to consider, whether carrying a




        See Ruqaiyah Zarouk, Mapping Private vs. Public Land in the United States, Am.
       110

Geographical Soc’y, available at https://ubique.americangeo.org/map-of-the-week/map-of-the-
week-mapping-private-vs-public-land-in-the-united-states/ [https://perma.cc/4GFS-UPJL].

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ﬁrearm for self-defense on private property open to the public was within the

plain text of the Second Amendment. This is what the district court did. Guided

by Bruen’s holding that the Second Amendment protects the right to bear arms

for self-defense outside the home, the district court concluded that the conduct

regulated by § 265.01-d and challenged by Plaintiﬀs—carriage on private

property open to the public—fell within the Second Amendment’s plain text.

      We likewise reject the State’s argument in reliance on the Eleventh

Circuit’s pre-Bruen decision in GeorgiaCarry.Org, Inc. v. Georgia, 687 F.3d 1244

(11th Cir. 2012), that the conduct regulated by the restricted locations provision is

not within the Second Amendment’s plain text. GeorgiaCarry.Org involved “both

a facial and an as-applied challenge in pre-enforcement review.” Id. at 1244. Yet,

because the plaintiﬀs “ha[d] not included suﬃcient allegations to show how the

[Georgia law] would be applied in their speciﬁc case,” i.e., to bring an as-applied

pre-enforcement challenge, the GeorgiaCarry.Org court addressed only the

plaintiﬀ’s facial challenge. Id. at 1260 & 1260 n.34. As such, the GeorgiaCarry.Org

plaintiﬀs were required to advocate for a facial challenge, “tak[ing] the position

that the Second Amendment protects a right to bring a ﬁrearm on the private

property of another against the wishes of the owner.” Id. at 1261. It was against



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this background that the Eleventh Circuit concluded that “the Second

Amendment does not give an individual a right to carry a ﬁrearm on [private

property] against the owner’s wishes.” Id. at 1266.

        GeorgiaCarry.Org has no bearing on the scope of the Second Amendment as

it is invoked by Plaintiﬀs in this case, because these Plaintiﬀs, unlike those in

GeorgiaCarry.Org, have properly pleaded an as-applied, pre-enforcement

challenge to the restricted location provision’s default presumption against

carriage on private property open to the public. 111 See J.A. 25 (Christian Compl.

at ¶ 37) (challenging the “default anti-carry rule” with “respect to places open to

the public”). Accordingly, they are not required to show that carriage on private




        111Plaintiﬀs’ complaint pleads that the restricted location provision’s default rule
prevents them from exercising their Second Amendment rights because “the property owner
who does not know about the new presumption will fail to post clear and conspicuous signage
permitting the carrying of ﬁrearms or otherwise fail to give the express consent that the
property owner does not know is needed,” that an “indiﬀerent” property owner “will fail to
post clear and conspicuous signage or provide express consent, even though before the
enactment, he would have allowed individuals to carry as a result of being indiﬀerent to ban it,”
or that “a property owner, who would like to allow the carry of ﬁrearms, will fail to post the
required signage or give the required consent for fear of stigma.” J.A. 33–34 (Christian Compl.
¶ 40e). Thus, the Plaintiﬀs challenge the provision’s application only in those cases where the
property owner would, were it not for the regulation’s default, invite or consent to carriage.
Further, the Plaintiﬀs have suﬃciently alleged how the provision would apply in their speciﬁc
cases. See id. at 35–37 (Christian Complaint ¶¶ 42, 44); see, e.g., id. at 36–37 (Christian Compl. ¶ 44)
(“Christian typically brings his ﬁrearm with him on private property open to the public, such as
weekly visits to gas stations and monthly visits to hardware stores, and he intended to continue
to do so, but for the enactment and enforcement of [the restricted locations provision]”).

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property against a property owner’s expressed wishes is within the Second

Amendment’s plain text, and GeorgiaCarry.Org’s holding is inapplicable.

      Because the conduct at issue in this appeal regulated by § 265.01-d is

within the plain text of the Second Amendment, the district court properly

placed the burden on the State to demonstrate § 265.01-d’s consistency with a

well-established and representative National tradition. We now turn to this

analysis.

                    b.    The State’s Analogues on Appeal

      The State relies on the same analogues here as it did in the district court:

(1) the 1715 Maryland law barring people “convicted of [certain crimes] . . . or . . .

of evil fame, or any vagrant, or dissolute liver,” from “shoot[ing], kill[ing], or

hunt[ing], or . . . carry[ing] a gun, upon any person’s land, whereon there shall be

a seated plantation, without the owner’s leave,” J.A. 108 (1715 Md. Laws, No. 73);

(2) the 1721 Pennsylvania law and 1722 New Jersey law prohibiting carriage or

hunting “on the improved or inclosed lands of any plantation other than his

own, unless have license or permission,” id. at 113 (1721 Pa. Laws, ch. 246); see

also id. at 119 (1722 N.J. Laws, ch. 35); (3) the 1763 New York law prohibiting

“carry[ing], shoot[ing] or discharg[ing]” any ﬁrearm in any “Orchard, Garden,

Corn-Field, or other inclosed Land . . . without License” from the proprietor, id.

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at 124 (1763 N.Y. Laws, ch. 1233); (4) the 1865 Louisiana law and 1866 Texas law

prohibiting carriage on the “premises plantations of any citizen, without the

consent of the owner or proprietor,” id. at 137 (1865 La. Acts 14); see also id. at 144

(1866 Tex. Gen. Laws ch. 90); and (5) the 1893 Oregon law prohibiting anyone

“other than an oﬃcer on lawful business, [from] being armed . . . or trespass[ing]

upon any enclosed premises or lands without the consent of the owner,” id. at

151 (1893 Or. Laws 79). The State urges that the restricted locations regulation is

consistent with these historical statutes. We disagree.

      We assume without deciding that the State’s analogues demonstrate a

well-established and representative tradition of creating a presumption against

carriage on enclosed private lands, i.e., private land closed to the public. But we

do not agree that these laws support the broader tradition the State urges. These

analogues are inconsistent with the restricted location provision’s default

presumption against carriage on private property open to the public.

      The State fails to place § 265.01-d within a National tradition because at

least three of its proﬀered analogues burdened law-abiding citizens’ rights for

diﬀerent reasons than § 265.01-d, and all of its analogues burden Second

Amendment rights to a signiﬁcantly lesser extent than § 265.01-d. See Bruen, 142



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S. Ct. at 2133 (identifying “how and why the regulations burden a law-abiding

citizen’s right to armed self-defense” as central considerations in the history-and-

analogue test). We address each issue in turn.

       At least three of the State’s proﬀered analogues were explicitly motivated

by a substantially diﬀerent reason (deterring unlicensed hunting) than the

restricted location regulation (preventing gun violence). As the State’s own brief

concedes, the 1721 Pennsylvania statute, 1722 New Jersey statute, and 1763 New

York statute were all aimed at preventing the “damages and inconveniencies”

caused “by persons carrying guns and presuming to hunt on other people’s land.”

J.A. at 113 (1721 Pa. Laws, ch. 246) (emphasis added); id. at 119 (1722 N.J. Laws)

(1722 New Jersey statute driven by the “great Damages and Inconveniences

arisen by Persons carrying of Guns and presuming to hunt on other Peoples

Land); id. at 123–24 (1763 N.Y. Laws, ch. 1233) (1763 New York statute intended

to “more eﬀectually [] punish and prevent” the “Practice of Great Numbers of

idle and disorderly persons . . . to hunt with Fire-Arms”). 112 Similarly, the 1715

Maryland statute prohibited only convicted criminals from carrying a ﬁrearm on


         Though the remaining statutes are not by their own terms aimed at deterring
       112

poaching, the State has placed no evidence in the record regarding whether the motivation
behind these statutes was in line with the motivation behind § 265.01-d.



                                             255
“any person’s land, whereon there shall be a seated plantation, without the

owner’s leave,” id. at 108 (1715 Md. Laws, No. 73). No matter how expansively

we analogize, we do not see how a tradition of prohibiting illegal hunting on

private lands supports prohibiting the lawful carriage of ﬁrearms for self-defense

on private property open the public.

      What is more, none of the State’s proﬀered analogues burdened Second

Amendment rights in the same way as § 265.01-d. All of the State’s analogues

appear to, by their own terms, have created a default presumption against

carriage only on private lands not open to the public. The three analogues just

cited above, as well as the 1715 Maryland statute, prevented guns on “land,” J.A.

at 108 (1715 Md. Laws, No. 73), “improved or inclosed lands,” id. at 133 (1721 Pa.

Laws, ch. 246) and id. at 119 (1722 N.J. Laws, ch. 35) (prohibiting same), or on any

“Orchard, Garden, Cornﬁeld, or other inclosed Land,” id. at 124 (1763 N.Y. Laws,

ch. 1233). Meanwhile, even those statutes that were not limited by their terms to

hunting prevented carriage on “any Lands not [one’s] own,” id. at 127 (1771 N.J.

Laws, ch. 540 (An Act for the Preservation of Deer and other Game, and to

prevent trespassing with Guns)), “the premises or plantations of any citizen,” id.

at 137 (1865 La. Acts 14) and id. at 144 (1866 Tex. Gen. Laws ch. 90) (1866 Texas



                                        256
statute), or the “enclosed premises or lands” of another, id. at 151 (1893 Or. Laws

79). As it has been developed thus far, the historical record indicates that “land,”

“improved or inclosed land” and “premises or plantations” would have been

understood to refer to private land not open to the public. 113 The State has

produced no evidence that those terms were in fact otherwise understood to

apply to private property open to the public or that the statutes were in practice

applied to private property open to the public. Given that most spaces in a

community that are not private homes will be composed of private property

open to the public to which § 265.01-d applies, the restricted location provision

functionally creates a universal default presumption against carrying ﬁrearms in

public places, seriously burdening lawful gun owners’ Second Amendment

rights. That burden is entirely out of step with that imposed by the proﬀered




       113 See State v. Hopping, 18 N.J.L. 423, 424 (1842) (“improvements is a legal and technical
word, and means inclosures, or inclosed ﬁelds: lands fenced in, and thus withdrawn and
separated from the wastes or common lands”); Land, WEBSTER’S AM. DICTIONARY OF THE
ENGLISH LANG. (1828), available at https://webstersdictionary1828.com/Dictionary/land
[https://perma.cc/3A9Y-SKWQ] (“Any small portion of the superﬁcial part of the earth or
ground. We speak of the quantity of land in a manor. Five hundred acres of land is a large
farm.”); Plantation, WEBSTER’S AM. DICTIONARY OF THE ENGLISH LANG. (1828), available at
https://webstersdictionary1828.com/Dictionary/plantation [https://perma.cc/6DG8-QTFQ] (“In
the United States and the West Indies, a cultivated estate; a farm.”); Premises, WEBSTER’S AM.
DICTIONARY OF THE ENGLISH LANG. (1828), available at
https://webstersdictionary1828.com/Dictionary/premises [https://perma.cc/AKG7-DEL7]
(“In law, land or other things mentioned in the preceding part of a deed.”).

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analogues, which appear to have created a presumption against carriage only on

private property not open to the public.

      In sum, the State’s analogues fail to establish a National tradition

motivated by a similar “how” or “why” of regulating ﬁrearms in property open

to the public in the manner attempted by § 265.01-d. Accordingly, the State has

not carried its burden under Bruen.

      Because the State has failed to situate § 265.01-d’s prohibition on carriage on

private property open to the public, we aﬃrm the district court’s injunction.

             2.     Antonyuk

      We now turn to Antonyuk, in which the district court issued a broader

injunction that enjoined enforcement of § 265.01-d as applied to both private

property open to the public and private property not open to the public. For

their facial challenge to support the blanket injunction that was issued, the

Antonyuk Plaintiﬀs were required to show that § 265.01-d was unconstitutional in

all of its applications. See United States v. Hansen, 599 U.S. 762, 769 (2023)

(“[L]itigants mounting a facial challenge to a statute normally must establish that

no set of circumstances exists under which the statute would be valid” (internal

quotation marks omitted and alterations adopted)). Yet, per the district court’s



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own analysis, the Plaintiﬀs secured a blanket injunction without making this

necessary showing below.

       The district court accepted the State’s argument that § 265.01-d could,

consistent with the Second Amendment, be applied to restrict carriage on private

property closed to the public. Antonyuk, 639 F. Supp. 3d at 343 (“[T]o the extent

to which [§ 265.01-d] restricts concealed carry on privately owned property that

is not open to the public . . . the Second Amendment is not the best place to look for

protection from that restriction, because thus far the Second Amendment has

been found to protect the right to keep and bear arms for self-defense only in

one’s own home or in public.”) (emphasis in original). Having accepted the

State’s argument that there was at least one set of circumstances in which the

statute could be valid under the Second Amendment, it was error for the district

court to subsequently enjoin § 265.01-d in all its applications. 114 See Wash. State



       114  The State’s apparent willingness to adopt the district court’s approach, by declining to
draw a distinction in § 265.01-d or the Second Amendment between property open to the public
and property not open to the public, does not alter our analysis. The State cannot waive the rule
that courts cannot facially invalidate a statute unless it is unconstitutional in all of its
applications because this rule is a necessary “exercis[e] of judicial restraint” without which a
facial challenge would “run contrary to the fundamental principle of judicial restraint.” Wash.
State Grange, 552 U.S. at 450. This requirement of total facial invalidity is a salutary and
necessary limit on judicial power, not a protection for the defendant in constitutional litigation.
See id. (“[J]udicial restraint in a facial challenge frees the Court not only from unnecessary
pronouncement on constitutional issues, but also from premature interpretations of statutes in


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Grange, 552 U.S. at 449–50 (“[A] plaintiﬀ can only succeed in a facial challenge by

establishing that no set of circumstances exists under which the [statute] would

be valid, i.e., that the law is unconstitutional in all of its applications” (internal

quotation marks omitted and alterations adopted)). 115

                                        *       *       *

       For the reasons stated above, we AFFIRM the Christian court’s preliminary

injunction enjoining enforcement of § 265.01-d’s with respect to private property

open to the public; we MODIFY and AFFIRM the injunction issued in Antonyuk

to conform to that issued in Christian, enjoining enforcement of § 265.01-d with

respect to private property open to the public; and REMAND the preliminary




areas where their constitutional application might be cloudy” (internal quotation marks
omitted)).
       115 Because we conclude that the restricted locations provision of the CCIA violates the
Second Amendment, we need not address Plaintiﬀs’ contention that the provision violates the
First Amendment by requiring owners of private property generally open to the public who
wish to welcome visitors carrying concealed ﬁrearms to say so.
        We confess to a certain skepticism about that claim. If private property owners are free
either to grant or refuse access to visitors, a default rule that consent is presumed would compel
speech on the part of proprietors to forbid ﬁrearms just as much as the CCIA requires speech
from those who would welcome them. That someone will need to express his wishes regardless
of the chosen default rule is just a fact of life, and not a violation of the First Amendment.
Plaintiﬀs’ argument, however, points up a further reason why the restricted location default
rule impinges on the Second Amendment. If that Amendment grants a presumptive right to
carry ﬁrearms in public places, and the State must — even by its silence — create a default rule
as to the presumption to be applied when the owner of property open to the public does not
express a preference, the choice of a default rule that discriminates against the Second
Amendment right is inherently problematic.

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injunction as to § 265.01-d with respect to private property not open to the public

for further merits analysis consistent with this opinion.

                                        CONCLUSION

       For the reasons stated above, we AFFIRM the injunctions in part,

VACATE in part, and REMAND for proceedings consistent with this opinion.

In summary, we uphold the district court’s injunctions with respect to N.Y. Penal

L. § 400.00(1)(o)(iv) (social media disclosure); N.Y. Penal L. § 265.01-d (restricted

locations) as applied to private property held open to the general public; and

N.Y. Penal L. § 265.01-e(2)(c) as applied to Pastor Spencer, the Tabernacle Family

Church, its members, or their agents and licensees. We vacate the injunctions in

all other respects, having concluded either that the district court lacked

jurisdiction because no plaintiff had Article III standing to challenge the laws or

that the challenged laws do not violate the Constitution on their face. 116




       116 We emphasize that we are here reviewing facial challenges to these provisions at a
very early stage of this litigation. A preliminary injunction is not a full merits decision, but
rather addresses only the “likelihood of success on the merits.” Salinger v. Colting, 607 F.3d 68, 79
(2d Cir. 2010) (emphasis added); see also Amoco Prod. Co. v. Vill. of Gambell, AK, 480 U.S. 531, 546
n.12 (1987) (“The standard for a preliminary injunction is essentially the same as for a
permanent injunction with the exception that the plaintiﬀ must show a likelihood of success on
the merits rather than actual success.”). Our aﬃrmance or vacatur of the district courts’
injunctions does not determine the ultimate constitutionality of the challenged CCIA
provisions, which await further brieﬁng, discovery, and historical analysis, both in these cases
as they proceed and perhaps in other cases.

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